Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 1 of
                                    199                                   210


   1                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
   2
       Civil Action No. 18-cv-02914-JLK-MEH
   3
       TRACY HOUSTON,
   4
             Plaintiff,
   5
       vs.
   6
       THE UNITED STATES OF AMERICA,
   7
           Defendant.
   8   _______________________________________________________________

   9
                                REPORTER'S TRANSCRIPT
 10                           TRIAL TO COURT - DAY TWO

 11    _______________________________________________________________

 12               Proceedings before the HONORABLE JOHN L. KANE, JR.,

 13    Senior Judge, United States District Court for the District of

 14    Colorado, continuing at 9:03 a.m., on the 22nd day of

 15    September, 2020, via Video Teleconference.

 16                            A P P E A R A N C E S

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 19    Street, Suite 2700, Denver, Colorado, 80203, appearing for the

 20    Plaintiff.

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 22    Attorneys at Law, 1801 California Street, Suite 1600, Denver,

 23    Colorado, 80202, appearing for the Defendant.

 24                   THERESE LINDBLOM, Official Reporter
                    901 19th Street, Denver, Colorado 80294
 25              Proceedings Reported by Mechanical Stenography
                      Transcription Produced via Computer
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 2 of
                                      199                                 211
                             Kenneth Lewis, M.D. - Direct

   1                           P R O C E E D I N G S

   2              (In open court at 9:03 a.m.)

   3              THE COURT:   Thank you.    Good morning.     Please be

   4   seated, everyone.

   5              Plaintiff's counsel, can you hear her?

   6              THE WITNESS:    Are you talking to me --

   7              MR. SHAPIRO:    Yes, we can, Your Honor.

   8              THE COURT:   Now, if the witness will please raise his

   9   right hand, and the Clerk of the Court will administer an oath.

 10    Please go ahead.

 11            (KENNETH LEWIS, M.D., PLAINTIFF'S WITNESS, SWORN)

 12               THE COURT:   Thank you, sir.

 13               We're going to hear your testimony now, and you'll be

 14    examined by plaintiff's counsel first.

 15               Go ahead, please.

 16               MR. SHAPIRO:    Thank you, Your Honor.

 17                              DIRECT EXAMINATION

 18    BY MR. SHAPIRO:

 19    Q.   Doctor, can you please state your name for the record.

 20    A.   Kenneth Charles Lewis.      L-E-W-I-S.

 21    Q.   What is your professional address, sir?

 22    A.   Actually, here at the hospital, I -- 300 West Ottley,

 23    Fruita, Colorado.

 24    Q.   And what is your profession, sir?

 25    A.   I'm a board-certified anesthesiologist, now currently
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 3 of
                                      199                                 212
                             Kenneth Lewis, M.D. - Direct

   1   involved in 100 percent interventional pain management.

   2   Q.   Can you describe what it is that an interventional pain

   3   management doctor does.

   4   A.   Yes, we --

   5              THE COURT:   Hold on just a moment.      Somebody is not

   6   muted, and we've got some feedback going on.         If you all could

   7   check, counsel, in your respective rooms.

   8              Go ahead.

   9              THE WITNESS:    Yes.   As an interventional pain

 10    management anesthesiologist, we work to both diagnose and treat

 11    sources of chronic pain through a variety of techniques,

 12    usually needle-based, with advancement under fluoroscopy of

 13    needles in and around the spine, primarily, but also structures

 14    where there may be neural elements we could diagnose and treat

 15    to attempt to reduce the pathology of chronic pain.

 16    BY MR. SHAPIRO:

 17    Q.   How do you spend your time?      How much time percentage-wise

 18    do you spend doing what?

 19    A.   I have arranged my practice so that I spend 90 percent of

 20    time in the process of actually providing injections.           But also

 21    before each injection, there is, of course, a period of time

 22    where I'm interviewing the patient that day and counseling them

 23    as to what our options may be given either success or failure

 24    of that current day's treatment plan.

 25    Q.   What is your educational background, Doctor?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 4 of
                                      199                                 213
                             Kenneth Lewis, M.D. - Direct

   1   A.   Medical school training at the University of Arizona, and

   2   then an anesthesia residency also at the University of Arizona.

   3   And then I practiced as a cardiac anesthesiologist for the

   4   first ten years.     And then since that time, I have elected to

   5   spend the entirety of my time with interventional pain

   6   management.

   7   Q.   Okay.   And where do you practice, and what do you have set

   8   up at that hospital where you are to allow you to practice the

   9   way you do?

 10    A.   Yeah.   I'm the medical director of the Department of

 11    Anesthesia at the outpatient procedure center at Colorado

 12    Canyons Hospital and Medical Center in Fruita.          And I have a

 13    facility that has been designed specifically for my treatment

 14    process, with two treatment rooms and five preoperative areas,

 15    where patients go both for and following their treatments

 16    before they're discharged.       So I have about -- on any given day

 17    about eight nurses and radiology techs that help me move

 18    through the process of treating the patients.

 19    Q.   You said you are board certified.       What are you board

 20    certified in?

 21    A.   Anesthesiology.

 22    Q.   Have you held any positions with the American Society of

 23    Interventional Pain Physicians?

 24    A.   I'm president of the Colorado chapter of Interventional

 25    Pain Physicians.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 5 of
                                      199                                 214
                             Kenneth Lewis, M.D. - Direct

   1   Q.   How long have you been the president?

   2   A.   For eight years, I believe.

   3              MR. SHAPIRO:    Your Honor, at this time I'd move for

   4   the admission of Dr. Lewis as an expert in medicine with a

   5   specialty in pain management, anesthesiology, and

   6   interventional pain management.

   7              MR. SCARPATO:    No objection, Your Honor.

   8              THE COURT:   The tender is accepted.      The motion is

   9   granted.    The doctor is recognized by this court as an expert

 10    in medicine, with specialty in pain management, anesthesiology,

 11    and interventional pain management.

 12               MR. SHAPIRO:    Thank you, Your Honor.

 13    BY MR. SHAPIRO:

 14    Q.   How did you come to see Ms. Houston, Dr. Lewis?

 15    A.   She was referred to our practice for her post-injury

 16    chronic pain with a devastating injury to her foot and ankle

 17    that was not progressing despite what appeared to be, you know,

 18    aggressive and appropriate orthopedic repair.

 19    Q.   When did your office first see Ms. Houston?

 20               Doctor, if you need to look at your records, please

 21    let us know that you're looking at your records to refresh your

 22    memory.

 23    A.   I apologize for not having brought that in myself.

 24               THE COURT:   No need to apologize.      This is the first

 25    time all of us have done this by video.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 6 of
                                      199                                 215
                             Kenneth Lewis, M.D. - Direct

   1               THE WITNESS:    I'm kind of used to having this placed

   2   in front of me.     If you need me to, I can have them bring in my

   3   chart, but there will be a little delay.

   4               MR. SHAPIRO:    I would rather do that so we don't end

   5   up having to take breaks later.       Is that okay.     Your Honor?

   6               THE COURT:   Unless you have the records that you can

   7   put on the screen now.

   8               MR. SCARPATO:    It should be Exhibit 64, Mr. Shapiro.

   9               THE WITNESS:    I'm going to turn right behind, make the

 10    request out the door.       It will take me 30 seconds or less,

 11    here.

 12                I apologize, I have found what I need.

 13    BY MR. SHAPIRO:

 14    Q.   My question was, Doctor, when did you first see

 15    Ms. Houston?

 16    A.   And I am looking at my record, and it looks as if that may

 17    have been the original consult date of August 27 of -- no,

 18    that's -- I'm sorry.       Everything is out of order here.      I

 19    thought I was prepared.

 20    Q.   So did you see -- did your nurse practitioner see

 21    Ms. Houston before you?

 22    A.   Yes.    My nurse practitioner saw the patient before me.

 23    Q.   Do you have that date, or is that what you're looking for?

 24    A.   I think they have it backwards in here.        It looks like the

 25    one I'm looking at now is dated March 15, 2019.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 7 of
                                      199                                 216
                             Kenneth Lewis, M.D. - Direct

   1   Q.   And who is your nurse practitioner, and why does your nurse

   2   practitioner usually see the patients before you?

   3   A.   This is Heather Smith.      She's actually got a doctorate as

   4   well as nurse practitioner.       I utilize that because after I've

   5   trained them to collect the data that I need, do the physical

   6   exams and neurological exams I need, collect all the

   7   appropriate X rays, MRIs, and data, that allows them to now

   8   follow them and set them up for certain type of initial

   9   procedure.     That allows me to focus my time on the actual

 10    procedure, because I'd only be able to see a fourth as many

 11    people.     I have three nurse practitioners who work with me to

 12    accomplish that initial intake information gathering.

 13    Q.   Are you quite confident in this nurse practitioner?

 14    A.   She does a fantastic note, very thorough; and there is

 15    always, of course, communication with me in the process of

 16    bringing these patients to my first meeting.         And so, yes, they

 17    accomplish what most physicians would be very happy to

 18    accomplish.

 19    Q.   Why did Ms. Houston come to see you?        I know you mentioned

 20    her leg.    What specifically were the issues of why she came to

 21    see you and saw your nurse practitioner in March?

 22    A.   Yes.   Well, her recovery just did not seem to move the

 23    direction she needed.      The pain was bad, worse than before the

 24    injury itself, which, of course, is the type of chronic pain I

 25    see.   That is what brought her to us, just the fact that there
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 8 of
                                      199                                 217
                             Kenneth Lewis, M.D. - Direct

   1   was no progressive improvement in her pain condition.

   2   Q.   We know that Ms. Houston also saw Dr. Ellen Price.          What is

   3   your office's relationship with Dr. Ellen Price, and how do

   4   your practices complement each other?

   5   A.   She is a physiatrist.     She is more Eastern medicine, and

   6   mine is more of a Western medicine approach.         Sometimes there

   7   is patients that will respond better to one approach or the

   8   other.   We're fortunate in this program here that we can share,

   9   you know, therapy options with our patients under one roof and

 10    be able to actually speak about these patients in person.

 11    And -- but, otherwise, she has a completely separate practice

 12    from me, but we -- we -- I think it complements the patient's

 13    options when all of that is available in one facility.

 14    Q.   Did you have an impression after your office first saw

 15    Ms. Houston as to the type of care or procedures that she

 16    preferred, Ms. Houston, when she was looking into pain

 17    management assistance?

 18    A.   By the time I had seen her, she had already tried a variety

 19    of interventions, specifically medications and, of course, the

 20    surgeries, with some mild improvement with the gabapentin that

 21    she had been placed on.      But her level of pain was so high that

 22    the overall general impression of her condition was -- you

 23    know, failed the treatment of her chronic pain syndrome.           And

 24    she was going to move forward with a more nonsurgical approach,

 25    other than additional orthopedic surgeries.         She did understand
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 9 of
                                      199                                 218
                             Kenneth Lewis, M.D. - Direct

   1   in my practice, our treatments would be invasive as far as

   2   needles; but she wanted to go forward with some options that

   3   might give her relief she was unable to find at that point.

   4   Q.   What type of options did you have available to assist

   5   Ms. Houston?

   6   A.   Well, given my impression of her original presentation,

   7   which was a pain syndrome far exceeding the level of current

   8   injury and damage, given the fact that her surgery was remote

   9   at that point in time, the pain was so severe, I thought she

 10    was developing a chronic pain syndrome that was outside the

 11    realm of tissue damage.      I have described it as a complex

 12    regional pain syndrome, because it was very complex, and

 13    regionally, involving just the one extremity.          She didn't have

 14    a lot of other back pain or other issues that required

 15    evaluation, so this was a -- a non-progressing extremity injury

 16    pain that required treatment.       My first choice was to treat the

 17    sympathetic system that is involved with remembering and

 18    maintaining a pain after injury with sympathetic blocks.

 19    Q.   All right.    Let me ask a couple of questions to have you

 20    define a few things you just said.        What is chronic pain

 21    syndrome?

 22    A.   Well, it's relatively self-explanatory.        Pain which is not

 23    resolving.    Chronic would be anything longer than three months,

 24    and she was well past that.       Also included pain that notably

 25    exacerbates during that same period of time, and in her case no
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 10 of
                                      199                                 219
                             Kenneth Lewis, M.D. - Direct

   1    overall improvement.     Syndrome is just the fact that this is

   2    occurring in one person and is a known pathology after certain

   3    types of severe crush-type injury.

   4    Q.   Can you define the sympathetic system and what you do with

   5    you sympathetic nerve blocks?

   6    A.   I will try to; it is complex.      But there is the central

   7    nervous system that most people know, the brain, the spinal

   8    cord and roots; but then there is another component of the

   9    central nervous system which has more of an autonomic,

  10    non-self-driven control of certain functions in your body.           A

  11    good example would be controlled blood flow to the kidneys or

  12    liver or the movement of your bowels during digestion.          Things

  13    that need neuro input, but you don't want to spend time

  14    thinking about.    Automatic, autonomic system, one of those

  15    systems was involved in.

  16              Evolutionarily, we believe there is homeostasis after

  17    severe injury to specifically an extremity.         A good example

  18    would be, if there is a severe crush injury that also includes

  19    bleeding, there is neuro input from the sympathetic system to

  20    the small vessels around that injury area that causes the

  21    muscles to squeeze down and significantly decrease the amount

  22    of blood flow in the extremity with the hopes of salvaging the

  23    organism and the extremity.      So there is a lot of internal

  24    responses to severe injury that at least initially are very

  25    beneficial.    But if those signals of trauma and salvage
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 11 of
                                      199                                 220
                             Kenneth Lewis, M.D. - Direct

   1    continue well beyond what is seen as -- expected to be the

   2    healing phase, well, then, that can then turn into a pathology.

   3    Q.   Okay.    Thank you.

   4                Can you also compare, define, and contrast chronic

   5    pain syndrome and complex regional pain syndrome?

   6    A.   Could you say that one more time for me?

   7    Q.   Yes.    Can you compare, define, and contrast chronic pain

   8    syndrome and complex regional pain syndrome?

   9    A.   Well, chronic pain syndrome I think would be basically

  10    defined as pain that has extended beyond three months.          Complex

  11    regional pain syndrome is one that is believed to involve some

  12    component of the autonomic nervous system overreacting to the

  13    original pain signal that should have dispersed at that point

  14    in time.     Once again, that autonomic response is functional

  15    initially but can become nonfunctional if it is constantly

  16    triggered beyond what should be considered the normal healing

  17    phase.

  18    Q.   So I want to make sure that I get this foundation, as well.

  19    You treat chronic pain; correct?

  20    A.   Yes.

  21    Q.   Complex regional pain syndrome?

  22    A.   Yes.

  23    Q.   Traumatic arthritic chronic pain?

  24    A.   Yes.

  25    Q.   Do you treat post-traumatic stress disorder?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 12 of
                                      199                                 221
                             Kenneth Lewis, M.D. - Direct

   1    A.   I do not.

   2    Q.   Traumatic brain injury?

   3    A.   I do not.

   4    Q.   Depression or anxiety?

   5    A.   Yes.    Some degree with depression and anxiety in the sense

   6    that it's a known component of chronic pain that must be

   7    treated in order to have success with the treatment of chronic

   8    pain, but I usually refer that out for more professional

   9    follow-up.     But it is a component of my practice, where those

  10    things must be identified and not allowed to be untreated.

  11    Q.   So is depression and anxiety common in chronic pain

  12    patients?

  13    A.   Yes.

  14    Q.   All right.    A few more definitions to get some

  15    understanding of.     Can you distinguish between traumatic

  16    arthritic chronic pain, chronic pain, and complex regional pain

  17    syndrome?

  18    A.   That would be difficult to do with assurance.

  19    Q.   Okay.   Why is that?

  20    A.   Well, all of those include the word pain, which, of course,

  21    is the target for my treatment.       One of the sources of the pain

  22    is chronic arthritis, in other words, mechanical production of

  23    pain, versus a non-mechanical neuropathic -- in other words,

  24    nerve injury pain -- where the components were depression and

  25    anxiety, plays into the feedback of those symptoms.          It's
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 13 of
                                      199                                 222
                             Kenneth Lewis, M.D. - Direct

   1    sometimes difficult to distinguish.       In my practice, of course,

   2    the measurement of success is very simply that this -- the

   3    decrease in the patient's perceived level of pain.

   4    Q.   Does it matter if you can or can't distinguish in what

   5    you're doing to try to help these patients?

   6    A.   I believe it matters in the sense that if there is a true

   7    mechanical component -- and that is the majority of the source

   8    of their pain, then the mechanical component needs to at least

   9    be stabilized so that that portion of the pain can be removed

  10    from the equation, because my therapies are really treating the

  11    neuropathic component of that pain.       But that's not always

  12    evident, whether it be spine or extremity, whether or not the

  13    mechanical component has been optimized.

  14    Q.   And if you find a mechanical component, is that something

  15    that you refer to, let's say, orthopedic surgeons?

  16    A.   There are some mechanical components that I will treat with

  17    percutaneous procedures, but those are spines.         If there is a

  18    mechanical extremity component, that will always be referred to

  19    an orthopedic surgeon.

  20    Q.   Okay.   Now, this one I -- want to see if you can explain

  21    the distinction between nerve pain and complex regional pain

  22    syndrome.

  23    A.   They both are part of each other.       You cannot have a

  24    complex regional pain syndrome without the nervous system

  25    involved, and specifically -- we believe the sympathetic
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 14 of
                                      199                                 223
                             Kenneth Lewis, M.D. - Direct

   1    component of that nervous system being involved in what would

   2    be described as overplaying the previous trauma in a way that

   3    should have been resolved neurologically.

   4    Q.   Now, one other thing.     Can you have a combination of

   5    chronic pain syndrome, complex regional pain syndrome,

   6    mechanical chronic pain, and nerve pain?

   7    A.   Yes.

   8    Q.   Does that make it more complex?

   9    A.   That makes it more complex.

  10    Q.   Is it more difficult to treat that?

  11    A.   Yes.

  12    Q.   How do you diagnose chronic pain, or how do you dis-- let's

  13    do that first.    How do you diagnose chronic pain?

  14    A.   Most people would accept the diagnosis of pain at a level

  15    to be unbearable for more than three months.

  16    Q.   How about, how do you diagnose complex regional pain

  17    syndrome?

  18    A.   There is a lot of debate there, but I think most people

  19    would suggest that that is diagnosed by a -- a presentation of

  20    pain that clearly exceeds the known mechanical component or

  21    after a known mechanical component has had a time frame to

  22    heal, and where there appears to be a pathological,

  23    neurological component, which sometimes can include a -- for

  24    instance, as the blood vessels are contracting, a blanching of

  25    the skin, sensation of severe pain with brushing of the skin,
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 15 of
                                      199                                 224
                             Kenneth Lewis, M.D. - Direct

   1    where there appears to be an overall neurological pathology,

   2    where the nerves themselves seem to be nonfunctioning.

   3    Q.   How do you diagnose mechanical chronic pain?

   4    A.   I think that could be best diagnosed by simply movement of

   5    the structure area, and the fact that the structured area is

   6    being moved causes pain, which is a mechanical response, versus

   7    someone who may have just severe pain when they're lying and no

   8    weight and no actual pressure on the involved joint, where that

   9    pain is purely a neuro input regardless of any mechanical

  10    stress in the problem area.

  11    Q.   When you have the combination that we spoke about --

  12    chronic pain, complex regional pain, mechanical pain, and nerve

  13    pain -- how do you determine or can you determine how much of

  14    each is involved?

  15    A.   I will say that my approach to that situation would be very

  16    focused.   My goal as an interventional pain physician is to

  17    find therapies that treat the pain.       And in most presentations,

  18    there is a limited number of appropriate safe and reproducible

  19    procedures.    And so my practice frequently then weights itself

  20    highly on response to therapies that should be something that

  21    would reduce pain.     And I will have a list of therapies that

  22    may be reasonable, I will discuss those options with the

  23    patient, and then my further diagnostic algorithm will very

  24    quickly follow the responses to attempts to treatment.          Because

  25    in my practice, my goal is not a precise percentage of specific
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 16 of
                                      199                                 225
                             Kenneth Lewis, M.D. - Direct

   1    diagnoses versus what is, in my practice, an expected goal of

   2    just a simple reduction in pain that's reliable and permanent.

   3    Q.   Are you really trying to acquire pain reduction and

   4    increased function for your patients?

   5    A.   Yes.   That's the entire goal for my office.

   6    Q.   What level of pain do patients usually come to treat with

   7    you for?

   8    A.   That's quite variable.     I mean, even the typical pain scale

   9    of zero to ten, of course, is only valid for that individual

  10    patient.    And one patient's six may be somebody else's ten, and

  11    vice versa.    So I think most people when they find that the

  12    degree or pernicity of their pain affects their function or

  13    their mood to a degree that it's no longer acceptable, that's

  14    when they'll seek out care.

  15    Q.   What level of pain did Ms. Houston come to your office

  16    complaining of?

  17    A.   Give me a second.

  18    Q.   Actually, while you're doing that, I'm going to ask you

  19    what she told you and how she described her pain.

  20    A.   She described her pain as a numbness and tingling in her

  21    toes and right foot and some weakness of the right lower

  22    extremity, frequent pins and needles sensation in foot/ankle

  23    and halfway up shin and calf, accompanied by sensation of

  24    stiffness and tightness and overall vice grip on her foot.           She

  25    said the pain was aggravated by anything cold or walking or
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 17 of
                                      199                                 226
                             Kenneth Lewis, M.D. - Direct

   1    being in bare feet on tile.

   2    Q.   When you hear a description like that, what is your

   3    reaction?    What do you automatically think?

   4    A.   Those are sensations that would normally not be painful to

   5    a patient.    And when you have a sensation that is painful with

   6    otherwise non-painful stimulus, with pain involved, that sounds

   7    like a complex regional pain syndrome.

   8    Q.   What were the results of the evaluation and assessment by

   9    your nurse practitioner during the first visit?

  10    A.   The differential, neuropathic pain, ankle joint

  11    pathologies, sympathetically maintained pain, chronic

  12    post-procedural pain, and complex regional pain syndrome.

  13    Q.   What does sympathetically maintained pain mean?

  14    A.   That's the sympathetic system that we discussed earlier,

  15    which sometimes is functional with helping to reduce acute --

  16    short-term pathology changes in the organism.         But when that

  17    then becomes maintained, regardless evidence of otherwise

  18    healing of the original injury, then the maintenance of that

  19    response is no longer functional, and, in fact, dysfunctional.

  20    Q.   What history did your nurse practicer obtain from

  21    Ms. Houston?

  22    A.   Would you like me to read the history?        I'm not sure --

  23    Q.   If you can give me a summary of it or read it.

  24    A.   Sure.   I will read the discussion, which is usually a

  25    summary in her note.     One long paragraph.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 18 of
                                      199                                 227
                             Kenneth Lewis, M.D. - Direct

   1                MR. SCARPATO:   Your Honor --

   2                I'm sorry, sir.

   3                I've made a foundation objection to this question.

   4                THE WITNESS:    Okay.   Sorry.

   5                THE COURT:   All right.   Sustained.

   6                MR. SHAPIRO:    Thank you.

   7    BY MR. SHAPIRO:

   8    Q.   Doctor, when your nurse practitioner meets with a patient,

   9    does she obtain a history?

  10    A.   Yes, she does.

  11    Q.   Is that a history that you rely upon in formulating your

  12    treatment plan, diagnosis, and how you're going to manage this

  13    patient's care?

  14    A.   Yes.

  15    Q.   Is that done frequently or all the time with your patients

  16    in your practice, and is it routine for you to review those?

  17    A.   All the time, yes.     Routine for me to review those.

  18    Q.   Did you review this history in order to formulate what you

  19    were going to try to do in order to assist Ms. Houston?

  20    A.   Yes.

  21    Q.   What was the history that your nurse obtained?

  22    A.   As I described above, the description of her pain and the

  23    fact that that had occurred after her motor vehicle accident in

  24    2016, which also resulted in traumatic brain injury, medial

  25    malleolus fracture, with a number of other fractures.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 19 of
                                      199                                 228
                             Kenneth Lewis, M.D. - Direct

   1    Q.   Did your nurse practitioner do an evaluation?

   2    A.   Yes, she did.

   3    Q.   What were the results of that physical examination?

   4    A.   Gross motor function to be normal left and right other than

   5    there was pain with any attempt to maneuver the affected

   6    extremity.    So that was the pain finding.      There did not appear

   7    to be any muscular abnormalities.       It was purely a pain

   8    syndrome -- I'm sorry.     That also included deep tendon

   9    reflexes.    All the neurological and muscular components of the

  10    exam were normal, other than the extreme pain with otherwise

  11    gentle examination.

  12    Q.   What does that mean to you when an examination has those

  13    findings?

  14    A.   Well, there are two components to the examination findings,

  15    I believe, which is a clear continued mechanical component,

  16    versus if she would attempt to stand and walk, of course, there

  17    was increased pain.     But there is also severe response to pain

  18    with just simple touching of the ankle, and even her perception

  19    that we were going to touch her ankle resulted in a significant

  20    withdrawal and perception of pain.

  21    Q.   What was her assessment or diagnosis and treatment options

  22    that she would have for Ms. Houston?

  23    A.   I had read those earlier but I will again.        Original

  24    differential diagnosis at the end of her evaluation simply

  25    included neuropathic pain, ankle joint pathology,
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 20 of
                                      199                                 229
                             Kenneth Lewis, M.D. - Direct

   1    sympathetically maintained pain, chronic post-procedural pain,

   2    and a complex regional pain syndrome.

   3    Q.   So after you've had an opportunity to treat Ms. Houston for

   4    a while and you've seen her after this assessment, did you

   5    agree with the assessment and diagnosis of your nurse

   6    practitioner?

   7    A.   Yes.

   8    Q.   Did you think after that appointment she was going to be

   9    treating with your office or Dr. Ellen Price's office?

  10    A.   I knew she was going to be eventually treated in my office,

  11    and I was not aware -- at that point in time, at least -- of

  12    any combined or additional appointments with Dr. Price.

  13    Q.   After that initial visit when you began to see Ms. Houston

  14    again, did you think that this was just complex regional pain

  15    syndrome solely or a combination of different sources of pain?

  16    A.   I believe that within a very short period of time I was

  17    able to recognize there was a number of other issues involved,

  18    including her depression.      That was evident on most of her

  19    visits.     And I was clearly impressed by her dismay with the

  20    pain.   It seemed to not be resolving; and she felt as if it had

  21    really brought her -- her current life condition to a halt,

  22    where there was no other -- that was the main and only issue

  23    she dealt with each day.      It was an overwhelmingly

  24    psychological and painful scenario.

  25    Q.   What did you think were the pain generators or the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 21 of
                                      199                                 230
                             Kenneth Lewis, M.D. - Direct

   1    competing combination of pain generators and why?

   2    A.   There was the obvious initial very traumatic injury that

   3    involved significant orthopedic injury.        But whenever you have

   4    that type of injury, there is always associated other tissue

   5    injuries with ligaments and nerves and vessels.         And vessels

   6    have their own neuro component, as I described before.          So

   7    there is a significant overall general extremity tissue injury,

   8    and sometimes those tissue injuries far exceed a lingering pain

   9    syndrome with more associated than just the bone itself.

  10    Q.   What was significant about what she told you and why she

  11    wanted your help at that point?

  12    A.   She felt that the orthopedists attempting to treat her pain

  13    were simply ineffective in giving her the recovery that she was

  14    expecting.    I don't think she was expecting to have a normal

  15    ankle; she was expecting to have an injured ankle that wasn't

  16    chronically severely painful.

  17    Q.   Can you tell the judge, if you would, the type of patient

  18    that Ms. Houston has been -- before you do that, how many times

  19    have you seen her, and how many -- how long have you been

  20    treating her?

  21    A.   The most recent time -- I'll try -- was a spinal cord

  22    stimulator trial.     Of course, the initial time was back in the

  23    spring of 2019.    So she was here most recently to see her

  24    personally was the placement of the trial stimulator on

  25    August 24 of this year.      So from March of 2019 to August of
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 22 of
                                      199                                 231
                             Kenneth Lewis, M.D. - Direct

   1    this year, I could count up all the visits, but numerous.

   2    Q.   Okay.   Tell the judge, if you would, the type of patient

   3    Ms. Houston is and has been.

   4    A.   To summarize that as far as interventional pain physician

   5    or her as a person?

   6    Q.   As interventional pain specialist.

   7    A.   She is just a very complex patient with multiple facets to

   8    her pathology, including severe trauma, signs and symptoms of a

   9    chronic neuro component that is pathologically involved with

  10    that, and then, of course, the difficulty communicating with a

  11    patient that also suffers from a brain injury and has

  12    situational depression over her chronic pain.         And the

  13    combination of those four things make her a very complex

  14    patient, both to develop a treatment plan, but also to gauge

  15    the success of any of the treatments that you get.          It's very

  16    complex and not easy to derive the outcomes that would maybe

  17    change your treatment plan in the future.

  18    Q.   Is that type of patient unusual in your practice or fairly

  19    commonplace?

  20    A.   Very commonplace.

  21    Q.   When did you finally get an opportunity to do an

  22    examination of Ms. Houston, and what were the results of your

  23    examination?

  24    A.   It looks as if -- if I have things in the correct order,

  25    that my initial evaluation of her would have been July 11 of
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 23 of
                                      199                                 232
                             Kenneth Lewis, M.D. - Direct

   1    2019.   At that point in time, I had reviewed her evaluation

   2    with Heather Smith, confirming her perception of the beginning

   3    of this injury following a motor vehicle accident in 2016 and

   4    describing multiple surgeries that she had on her knee, her

   5    foot, and her ankle.     And then clearly describing her pain

   6    syndrome involving her knee, but specifically the foot and

   7    ankle, and with the combined sensations of hypersensitivity,

   8    temperature changes, and discoloration.        And the fact that she

   9    did have some perceived improvement with gabapentin, which has

  10    its therapy on the neuro component that we're describing.           I

  11    felt that she had all the signs and symptoms of a progressive

  12    poorly treated complex regional pain syndrome.

  13    Q.   So you agreed with your nurse practitioner?

  14    A.   Yes, I did.

  15    Q.   When you see a sympathetic nerve based problem, is it

  16    always discolored with temperature change, or does it fluctuate

  17    depending on what is going on?

  18    A.   If it did fluctuate with the same patient on a day-to-day

  19    level, certainly from patient to patient, you may not see all

  20    the components that would be classically involved with the

  21    description of a complex regional pain syndrome.         And -- so,

  22    yeah -- so it was very complex from the beginning.          There was

  23    times when she had all those symptoms and other times when she

  24    only had certain components.

  25    Q.   Okay.   What had she tried, what had not worked, and what
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 24 of
                                      199                                 233
                             Kenneth Lewis, M.D. - Direct

   1    was she asking you to do?

   2    A.   She had tried with some success using gabapentin, which I

   3    will try to simply describe.      It's a medication that decreases

   4    the production of a neurotransmitter within the spinal cord.

   5    And it is designed to specifically decrease those

   6    neurotransmitters in the fibers that transmit pain signals.

   7    Sometimes it can be completely focused to just those nerves,

   8    and other times there are other mental side effects where

   9    obviously non-targeted interventions have a decrease in the

  10    neurotransmitters.     But the fact that she had a decrease in her

  11    pain -- her perception -- using that type of medication would

  12    suggest that there was a clear neuro component with the

  13    transmission of her pain.

  14    Q.   Okay.   Anything else that she tried and had not worked?

  15    A.   Obviously, she had the multiple surgeries.        And I think

  16    that and the gabapentin were the main therapies that she had

  17    attempted prior to getting to me.

  18    Q.   Okay.   What did she want you to do?

  19    A.   Well, she never had any injections, so no interventional

  20    procedures for pain.     She knew, of course, that was what my

  21    practice involved; and she wanted to discuss the types of

  22    therapies that would be available to her, given the fact that

  23    her other more conservative treatments other than the

  24    surgery -- the conservative treatments had not resulted in the

  25    long-term benefit she hoped for.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 25 of
                                      199                                 234
                             Kenneth Lewis, M.D. - Direct

   1    Q.   Doctor, within a reasonable degree of medical probability,

   2    what are your diagnoses for Ms. Houston?

   3    A.   Chronic -- so a serious mechanical injury to the

   4    extremities, specifically her ankle, with subsequent trauma

   5    from the actual surgeries, because that's additional trauma.

   6    Whenever you actually do a surgery, attempting to treat things

   7    structurally, and then the combination of both the original

   8    severe injury and the subsequent surgeries, resulting in a

   9    constant level of neuropathic pain for well longer than what

  10    would be considered chronic.

  11    Q.   Did you think that this was all sympathetic nerve pain or a

  12    combination of the problems that we've already discussed?

  13    A.   A combination.    And I forgot to include, on the very first

  14    visit, it was obvious she also had a very significant

  15    psychological component to her perception of pain with both the

  16    anxiety and depression, which is always a significant

  17    impediment -- component to her treatment plan.         But, obviously,

  18    there was multiple factors involved, mechanical and

  19    neuropathic.

  20    Q.   Okay.   What did you hope to accomplish, and how were you

  21    going to accomplish that with her treatment plan?

  22    A.   I described to her that, you know, not being an orthopedic

  23    surgeon, I had no goal nor capacity to actually change the

  24    mechanical structure of her ankle and that my treatments would

  25    be gauged success-wise by one thing -- is her pain reduced?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 26 of
                                      199                                 235
                             Kenneth Lewis, M.D. - Direct

   1    And hopefully in the process of reducing that pain, maybe see

   2    some improvements in other associated issues with her -- in

   3    this case, anxiety and depression.       My goal in the practice is

   4    reduction of pain with interventional procedures.

   5    Q.   You utilized the Budapest criteria for determining whether

   6    there was complex regional pain syndrome?

   7    A.   There are components of that which I would certainly

   8    utilize.    But as I mention to my patients, my goal is not to

   9    provide them with some structured diagnosis, but to give them

  10    reasonable, well-thought-out treatment plans.         And if somebody

  11    doesn't fit into a cookie cutter description of a certain type

  12    of diagnosis, that doesn't mean that they're not a candidate

  13    for attempts to treat their pain.       In fact, I will not allow

  14    any diagnosis to exclude the options for therapy, because in my

  15    practice, the goal is simply not -- not a precise diagnosis,

  16    but a precise treatment outcome.

  17    Q.   Were you aware, Doctor, that a thermography was done and

  18    was negative?

  19    A.   Yes.

  20    Q.   What is a thermography?

  21    A.   Thermography is a look into the actual heat pattern of an

  22    extremity, typically, given different conditions that were

  23    placed upon that extremity and to see if there is an expected

  24    pathologic response to that heat image with certain stimuli.

  25    But that by itself cannot be considered the description of a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 27 of
                                      199                                 236
                             Kenneth Lewis, M.D. - Direct

   1    pain syndrome.    It's just one of the tools that is utilized.

   2    Q.   What did it mean to you that it was negative for

   3    Ms. Houston?

   4    A.   It meant that one of the descriptive signs that can be used

   5    for a complex regional pain syndrome was not present at the

   6    time that she had that test done.

   7    Q.   A triple-phase bone scan was not done as suggested by some

   8    other doctors.    What did that mean to you, and what would that

   9    have done to help you or not with regard to what you were doing

  10    to try to assist Ms. Houston?

  11    A.   Yeah, that's another lab that will just look at the body's

  12    response to injury and kind of a chronic lingering image of

  13    that response.    Once again, a tool that is utilized to just add

  14    check marks consistent with or not consistent with complex

  15    regional pain syndrome.      And it would have been useful; but,

  16    once again, positive or negative, the goal in my practice would

  17    be attempt to relieve pain with reasonable, safe procedures.

  18    Q.   What is the basis for your opinions about the diagnoses you

  19    just described for Ms. Houston, why do you believe that those

  20    are the diagnoses and how comfortable are you with those?

  21    A.   Well, initially, clearly, just the severe mechanical crush

  22    multi-tissue injury that was, by everybody's description, a

  23    very, very severe injury.      And despite thoughtful, careful,

  24    appropriate orthopedic treatment, there was a perception --

  25    again, pain is -- can only be described by that patient.           But
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 28 of
                                      199                                 237
                             Kenneth Lewis, M.D. - Direct

   1    the patient's description of severe, chronic, ongoing pain that

   2    was outside the realm of what would be expected given the time

   3    that she had for healing.      And this includes the

   4    hypersensitivity, occasional color changes, and the perception

   5    of severe pain, with which would otherwise be described as

   6    non-painful stimuli, brushing, touching or stepping on tile.

   7    Q.   What impact on your diagnosis and treatment was the fact

   8    that the gabapentin was working?

   9    A.   Well, as I mentioned before, gabapentin works by decreasing

  10    the frequency and intensity of pain signals, specifically pain

  11    signals being transmitted within the actual spinal cord.           And

  12    the fact that by decreasing the pain fiber component for her

  13    pain, regardless of any mechanical input, there was a perceived

  14    improvement in her perception of her pain.

  15    Q.   What did you do to treat Ms. Houston first?

  16    A.   A sympathetic block.

  17    Q.   Did it work?

  18    A.   It did work.   Briefly, it worked.

  19    Q.   Why did the sympathetic nerve blocks work, and how much

  20    pain relief did Ms. Houston get?

  21    A.   I have to go back to her follow-up evaluation following the

  22    treatment.    Give me one second, please.

  23    Q.   When did you do those, as well?

  24    A.   It looks as if my -- once again, if I have everything in

  25    order, it does appear that my first sympathetic block was done
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 29 of
                                      199                                 238
                             Kenneth Lewis, M.D. - Direct

   1    on December 9 of 2019, if I have this correct.

   2    Q.   And how long did it last?

   3    A.   I'd have to go to the next one.

   4    Q.   How much pain reduction did it provide?

   5    A.   I will tell you the way I typically look at a patient's

   6    note is with my computer, which is now being used entirely for

   7    this process, where I can go in and see both the nurse's

   8    follow-up notes and my notes on one page.        This process is a

   9    little alien, so one second -- here we go.

  10              So the follow-up, she indicated that she had gone home

  11    and slept the first time during the night, but she didn't

  12    believe that she had then enjoyed any notable improvement in

  13    the days following.     So there would have appeared at least

  14    initially to have a response, mostly to the local anesthetic

  15    effect, where the entire sympathetic nerve system was turned

  16    off.   So a very short but -- a diagnostically short but

  17    non-therapeutically lasting treatment for the initial

  18    treatment.

  19    Q.   It is my understanding that you did another set of blocks

  20    after that that impacted her more significantly.         Can you

  21    explain that for us?

  22    A.   Yeah.   Following the second block, if I'm looking at the

  23    correct note -- and I'm doing the best I can -- said that she

  24    believes she was 75 percent improved at the time that she was

  25    then being evaluated.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 30 of
                                      199                                 239
                             Kenneth Lewis, M.D. - Direct

   1    Q.   And when was that second block, and how long did that last?

   2    A.   If I have it correct, that may have been on December 17.          I

   3    will say at that point in time it was my new partner,

   4    Dr. Christopherson, who has exactly the same treatment approach

   5    I have, as far as how we actually go about placing needles,

   6    treating that area.     I believe that was her second injection.

   7    Q.   Okay.   And how long did that last?      Did that take her up to

   8    and into the pandemic?

   9    A.   I'm seeing a note again where she is seen by Heather Smith

  10    on March 15, so I guess that would be -- is that before --

  11    Q.   Right around.

  12    A.   Yeah.   At that point in time she states she was having lots

  13    of physical therapy done.      And while it was helpful with her

  14    mobility, it did not alleviate her pain.        I'm trying to find

  15    the right order.     I am so sorry.

  16              This does look like -- on February 4 of 2020, that's

  17    where she is telling me on the visit -- not my nurse, but me --

  18    overall she believes she is 75 percent improved, when compared

  19    to her most severe pain presentation.        And she said she credits

  20    that improvement to the combination of lumbar sympathetic

  21    blocks, gabapentin, and her physical therapy.         She was also

  22    using what is called mirror box therapy, that lets her focus on

  23    her left foot while using a mirror box, where she believes that

  24    she's looking at her right foot.       So there appears to be just

  25    that kind of neurological, psychological component to the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 31 of
                                      199                                 240
                             Kenneth Lewis, M.D. - Direct

   1    perception of her pain.

   2    Q.   Was that result that you noted in 2020 a success?

   3    A.   I consider that success at the time, yes.

   4    Q.   Did you feel that that confirmed your diagnosis, as well?

   5    A.   I think it confirmed my decision to use sympathetic blocks.

   6    Again, my goal is not to confirm a diagnosis but to confirm a

   7    treatment outcome.

   8    Q.   Okay.   What was the impact, based on your observations, on

   9    her psychologically as a result of the reduction in pain that

  10    you created over a period of almost three months?

  11    A.   She was notably less anxious and depressed; and, actually,

  12    it seemed as if she was beginning to kind of move out of the

  13    chronic pain syndrome she was in.       It seemed like on all levels

  14    she was recovering.

  15    Q.   Was she going to the gym and working out on a regular basis

  16    for hours?

  17    A.   That was my understanding.      Yes.

  18    Q.   Did she enjoy that?

  19    A.   She did.

  20    Q.   Okay.   Didn't remove all the pain.      Is there any way to

  21    remove all the pain?

  22    A.   I believe that given the severity of the multi-tissue crush

  23    trauma injury she had, that that would be probably an

  24    unrealistic expectation.

  25    Q.   At your deposition, which took place right in this time
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 32 of
                                      199                                 241
                             Kenneth Lewis, M.D. - Direct

   1    frame, were you hopeful that this would last for a long time?

   2    A.   Yes.

   3    Q.   Was there any way for you to know how long it was going to

   4    last?

   5    A.   No.

   6    Q.   Did you think she was cured?

   7    A.   No.

   8    Q.   Were you hopeful at that point that she would not need a

   9    spinal stimulator?

  10    A.   Yes.

  11    Q.   Were you hopeful she wouldn't need further sympathetic

  12    blocks?

  13    A.   Yes.

  14    Q.   Did you think she wouldn't need a stimulator or further

  15    sympathetic blocks?

  16    A.   At that time, at 75 percent improvement and her increased

  17    activity, there was no -- there was no consideration of

  18    additional interventional procedures, no.

  19    Q.   All right.   During the pandemic, how did things change for

  20    Ms. Houston?    What did you learn?     And, first, was your office

  21    closed for a period of time?

  22    A.   Our office was closed -- I can't give you the exact dates,

  23    but I think we saw absolutely no patients for a month; and then

  24    we began to see the most severe chronic pain patients a couple

  25    of days a week, that was another two to three weeks, before
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 33 of
                                      199                                 242
                             Kenneth Lewis, M.D. - Direct

   1    going back to a more full schedule.

   2    Q.   How did it change for Ms. Houston, and when did you learn

   3    about the change?

   4    A.   I have a note where I am providing her with a new

   5    sympathetic nerve block on June 5.       And it's a very, very short

   6    description, but she arrived prepared for another sympathetic

   7    block, indicating she had 70 percent reduction of her pain for

   8    three months, and her pain was beginning to return, and given

   9    that success, she wanted to continue the therapy that had given

  10    her that relief.

  11    Q.   Was she happy about what she just had?

  12    A.   The three months of improvement, of course.        Yes.

  13    Q.   Okay.    What impact do you usually see on the psychological

  14    issues when the pain is significantly reduced?

  15    A.   As was expected -- the majority of her anxiety and

  16    depression was the fact that her pain was not improving.           As

  17    expected, thankfully true, when the pain was notably improved,

  18    her mood and anxiety were improved, as well.

  19    Q.   Is that something you see quite commonly in your practice?

  20    A.   Yes.    That's the most rewarding part of my practice.

  21    Q.   When she came back to see you for the additional set of

  22    sympathetic nerve blocks -- well, let me ask this first:           Why

  23    did the blocks stop working?

  24    A.   I don't know.

  25    Q.   Is there any way to know?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 34 of
                                      199                                 243
                             Kenneth Lewis, M.D. - Direct

   1    A.   No.

   2    Q.   Okay.   When she came back to see you after the sympathetic

   3    nerve blocks wore off or to have another set of blocks, were

   4    you able to offer her another set of sympathetic blocks?

   5    A.   We had discussed that option.      But given what at that point

   6    in time with that injection appeared to be failure of treatment

   7    even during the diagnostic phase, I felt that even though it's

   8    a safe procedure, it's invasive, that there was other options,

   9    given the chronicity of her treatment at that point in time,

  10    that needed to be at least on the table at that point in time,

  11    which is when we started talking about a spinal trial.

  12    Q.   Did the second round of sympathetic blocks work when she

  13    came to see you in June of 2020?

  14    A.   No.

  15    Q.   I ask this question -- I think I know the answer -- but why

  16    not, if they worked before?

  17    A.   I don't know.    I can't tell you with the same exact

  18    process, treatment, image pattern during the treatment, where

  19    we use contrast, everything else still appeared to be, you

  20    know, the same type of block.       And the fact that there was

  21    really no therapeutic event really did not bode well to the

  22    idea of just continuing that invasive procedure.

  23    Q.   Were you disappointed?

  24    A.   I was disappointed.     But as I mentioned to her earlier,

  25    there were fortunately still some options to be evaluated, and
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 35 of
                                      199                                 244
                             Kenneth Lewis, M.D. - Direct

   1    that it wasn't the end of her treatment.        It just -- in fact,

   2    we even mentioned, if other things didn't help, we might still

   3    consider -- go back, and just as a final Hail Mary pass,

   4    attempt some sympathetic blocks.       But I felt that given the

   5    amount of time I had seen, the results of her recent

   6    sympathetic block, it was most reasonable to at least look at

   7    other therapies first.

   8    Q.   When she came back in June, how much -- where was her pain

   9    level, and how was she psychologically?

  10    A.   Again, I -- here we go.     So she had a visual analogue scale

  11    of zero to ten, she was describing four that day, with an

  12    Oswestry Disability Index, which basically grades her overall

  13    disability from that pain, at 72 percent, which is relatively

  14    high.   Those are the ongoing numbers that we will follow to

  15    look at people's long-term improvement, both with their

  16    functional disability and their perceived level of pain.

  17    Q.   What does that mean, the Oswestry scale and it being at

  18    72 percent?    How does the scale work?

  19    A.   Well, you know, it's a disability index.        So zero would

  20    mean that you're not disabled at all, 100 percent would be

  21    completely disabled.     So it's a range in there that we like to

  22    follow so we're not just looking at pain, but looking at

  23    functional improvement from pain.       And it's -- it's a useful

  24    tool just for long-term review, to make sure that we're not --

  25    that we're not missing other cues that might be useful.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 36 of
                                      199                                 245
                             Kenneth Lewis, M.D. - Direct

   1    Somebody might say that their pain is improving, but their

   2    Oswestry Index Score is actually increasing.         That would

   3    suggest there is components of their pain they don't recognize

   4    that still affect them as a disability.

   5    Q.   In Ms. Houston's --

   6    A.   I'm sorry.    Since I said I would tell the truth, the whole

   7    truth, and nothing but the truth, I just want to give you an

   8    example of a previous Oswestry Disability Index.         Back in

   9    February 4 of 2020, she had described her visual analogue scale

  10    pain at level 2 with her Oswestry disability index at only 44.

  11    So, you know, there was obviously an increase in her overall

  12    disability index score and an increase in her visual analogue

  13    scale when she came back in June that we couldn't then bring

  14    back down to what we considered successful levels of treatment.

  15    Thank you for that.

  16    Q.   No problem.    That Oswestry scale when she was dealing with

  17    the positive impact of the sympathetic nerve blocks indicated

  18    that she was doing significantly better?

  19    A.   She was functionally improving, and her perception of her

  20    pain was improving.

  21    Q.   Okay.   All right.   Was Ms. Houston willing to consider the

  22    spinal stimulator trial?

  23    A.   I think she had the appropriate levels of concern of the

  24    idea of both testing and potentially implantation of the device

  25    in her central nervous system, but it did give her some hope
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 37 of
                                      199                                 246
                             Kenneth Lewis, M.D. - Direct

   1    that there was a potential therapy that could be considered.

   2    And her pain was severe enough that she didn't want to have any

   3    options taken off the table at that point.

   4    Q.   Okay.   And what is a spinal stimulator and a spinal

   5    stimulator trial, how does it work, and what do you do?

   6    A.   The whole idea of a spinal cord stimulator is that, of

   7    course, pain is perceived in the brain, but there is going to

   8    be what is described as a pain generator somewhere in the body.

   9    Once the pain is generated -- in her case it was from the

  10    trauma in her ankle -- that signal of pain has to be

  11    transmitted through the spinal cord, which, of course, is where

  12    the gabapentin works by decreasing the signals.

  13              A good example would be if someone is paralyzed, they

  14    could have a crush injury, as well, but there is no perceived

  15    pain.   When we place a spinal stimulator, we place it inside

  16    the spinal canal on the back of the spinal cord immediately

  17    adjacent to the pain fibers as they track towards the brain,

  18    which are in the posterior aspect, dorsal column.          The other

  19    name for the procedure is called dorsal column stimulator.           And

  20    we can place the initial trial with basically the same

  21    invasiveness, nearly identical as a labor epidural.          That trial

  22    has small titanium electrodes that sit next to the pain fibers.

  23    For three or four days we can stimulate the fibers with high

  24    frequency so we interrupt what is a pain signal and

  25    preferentially send a signal as what the brain perceives as
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 38 of
                                      199                                 247
                             Kenneth Lewis, M.D. - Direct

   1    pleasant.    It interrupts pain and exchanges it for a pleasant

   2    signal.

   3    Q.    In order to implant or do the spinal stimulator trial, what

   4    requirements do you have?      What has to happen before you do

   5    that?

   6    A.    We wanted to have exhausted other procedures, first, not in

   7    small part due to the fact that they're less expensive, but

   8    also may be effective with a commitment to lesser procedure.

   9    And it also -- we need to make sure that this is something that

  10    she was psychologically prepared to expose herself to, had an

  11    optimistic view of that type of therapy.

  12    Q.    Did she get psychological clearance for you to do the

  13    stimulator trial?

  14    A.    I don't have that paperwork in front of me.       I apologize.

  15    But by definition, she did, because I put a trial stimulator

  16    in.

  17    Q.    How did she get through that procedure?

  18    A.    Of course, again -- so they will come in on the day of the

  19    procedure, which, of course, is the trial.         So the leads extend

  20    through the skin to an external generator so that the patient

  21    can test the therapy without committing to the implant of the

  22    entire device.    And, of course, that's a challenging procedure,

  23    just as much as when receiving a labor epidural.         But there was

  24    also -- at that point in time, just the leads, re-exacerbation

  25    of depression and anxiety.      And I have a very capable
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 39 of
                                      199                                 248
                             Kenneth Lewis, M.D. - Direct

   1    programmer who will then program the leads and follow the

   2    patient during the trial to make sure that there are

   3    opportunities to optimize the treatment in the brief period of

   4    time we have to evaluate its success.

   5               Throughout that entire process, it was just a very --

   6    a very hard process for Ms. Houston, both from just a

   7    discomfort of the procedure, and just the constant requirement

   8    for data to be collected.      And it was unfortunate that her

   9    psychological component at that point in time I think

  10    significantly impacted at least my perception of her results.

  11    But she felt that she slept great for a few nights and that

  12    there was some notable improvement in her pain, but never a

  13    notable improvement when she was actually functionally using

  14    her extremity, which was really kind of the -- kind of the most

  15    negative component of the test was that it didn't seem to give

  16    her the expected relief when actually using her extremity.

  17    Q.   So she didn't get the relief that she got from the

  18    sympathetic nerve blocks?

  19    A.   No.

  20    Q.   Was she disappointed?

  21    A.   Very.   Because I think it was a surprise to her that we

  22    considered her outcome to be a failure, because she felt that

  23    it at least was something that was providing her with some

  24    benefit, and she was desperate for any therapy that might be

  25    provided.    And so it was -- I think she was surprised of our
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 40 of
                                      199                                 249
                             Kenneth Lewis, M.D. - Direct

   1    perception that the trial had in its totality -- in fact, I

   2    guess -- I think in my note I didn't even call it a failure.           I

   3    called it inconclusive, because I didn't want to end the

   4    discussion.     I just felt that the data derived at that point in

   5    time was inconclusive enough to move forward with a permanent

   6    implant.

   7    Q.    Why inconclusive?

   8    A.    Because I could clearly tell that she perceived treatment

   9    function, but I believe for the first time that there was such

  10    a large mechanical component to the production of her pain that

  11    it overwhelmed the neuropathic treatment.        I felt like she had

  12    a very profound neuropathic treatment component to her

  13    stimulator which failed because of the overwhelming mechanical

  14    component at that point.

  15    Q.    So, again, establishing what you've said, that this injury

  16    and pain is a combination, multifactoral combination?

  17    A.    Yes.

  18    Q.    Did you think that the pandemic and the amount of time in

  19    the pandemic impacted the psychological issues that were going

  20    on?

  21                 MR. SCARPATO:    Objection.   Foundation.

  22                 THE COURT:   Overruled.

  23                 THE WITNESS:    I -- everybody was anxious, across the

  24    board.    Any time somebody has pain where the normal timeline

  25    for treatment is disrupted, that causes additional anxiety and
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 41 of
                                      199                                 250
                             Kenneth Lewis, M.D. - Direct

   1    depression.    And so, yeah, I think there was certainly a

   2    component of the failure of just routine therapy that certainly

   3    didn't make it better.

   4    BY MR. SHAPIRO:

   5    Q.   Ms. Houston has described those two nights that she got

   6    sleep; and she uses the term, "I slept like a dog."          But she

   7    mentions that that stimulator creates a buzzing or a humming

   8    that helped her sleep.     Does -- have you ever heard something

   9    like that before?

  10    A.   Yeah.   I mean, that is actually the whole therapy.        When we

  11    provide the high-frequency but low-current therapy onto the

  12    pain fibers, there is -- the patient actually perceives a

  13    sensation in their extremity.       But the sensation is hopefully

  14    overwhelmed by non-painful stimuli, which people describe as a

  15    buzzing or humming.     Now, there are some settings where we can

  16    have the frequency so high that it disrupts the pain signal

  17    without perception of any signal; but we found that to be less

  18    useful during the trial phase, because the patient is not

  19    perceiving that the therapy is actually present.         They're just

  20    thinking that the pain is gone.       We want them to be able to

  21    know the pain is gone and in exchange for what was described

  22    frequently as a buzzing and tingling sensation in the

  23    treatment.    So she had all the expectations that we were in

  24    fact stimulating the appropriate pain fibers.

  25    Q.   Okay.   Are you still keeping the stimulator on the table as
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 42 of
                                      199                                 251
                             Kenneth Lewis, M.D. - Direct

   1    a future treatment option?

   2    A.   I would.   And if it hadn't been for what was clearly a

   3    failed mechanical production of her pain, I believe it would

   4    have been perceived as successful.       But I felt it was going to

   5    interfere -- that the overall process would be considered

   6    failed by her because of the overwhelming mechanical component

   7    that simply was not removed yet.

   8    Q.   What does Ms. Houston need to do in order to proceed with

   9    another stimulator trial or permanent implantation?

  10    A.   I would hope that she would get additional -- maybe even,

  11    in fact, a second opinion for orthopedic options.          And while I

  12    know that she is concerned about the idea of having her ankle

  13    simply fused, I do believe that if the mechanical component

  14    could be stabilized so that the actual mechanical component of

  15    the pain is removed and all she has is the neuropathic

  16    component, I believe we could have an overwhelmingly positive

  17    trial, hopefully lead to an implant.

  18    Q.   And did you also require psychological counseling with a

  19    specific counselor, and can you explain why?

  20    A.   Yes.   It was obvious that her -- even during the trial,

  21    just that her overwhelming at that point in time actually

  22    increased depression and anxiety was interfering just with

  23    normal patient-physician and patient-staff communications to

  24    the point that I felt it was now becoming a significant

  25    component of her pathology and interfering with attempts for
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 43 of
                                      199                                 252
                             Kenneth Lewis, M.D. - Direct

   1    future treatment.     That's not my specialty, but I knew -- I

   2    think I had identified a patient that needed that additional

   3    support, and sent her to Dr. Gustavson.

   4    Q.   Why Dr. Gustavson?

   5    A.   Because I trust his input and his therapy plans.

   6    Q.   Is that someone that you work with regularly with regard

   7    for stimulator trials, psychological assessments, and

   8    evaluations?

   9    A.   Every patient has to have a pain psychology assessment of

  10    one form or another that will show that there is not such a

  11    severe psychological component that they can't perceive

  12    success.   We don't want failure because of a psychological

  13    component.    And because that was done, allowing her to have the

  14    trial -- but I think we recognized during the trial that there

  15    was actually even more psychological components to her overall

  16    pain than we had originally known.       That was one of the main

  17    contributions to her failure.       I just felt like she just was

  18    not psychologically prepared for this therapy, that in

  19    combination with the mechanical pain to overall be perceived as

  20    successful.

  21    Q.   Are sympathetic nerve blocks still on the table?

  22    A.   I believe that given the fact that we are now waiting for

  23    further orthopedic stabilization and the fact that she is not

  24    currently a candidate for the stimulator because of its

  25    outcome, given the success in the past, I think it wouldn't be
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 44 of
                                      199                                 253
                             Kenneth Lewis, M.D. - Direct

   1    unreasonable to evaluate that again and, of course, be very

   2    critical of the outcomes.

   3    Q.    How about injections into the damaged parts, into the joint

   4    of the ankle and foot?

   5    A.    I leave that entirely up to the experts in that field,

   6    which would be clearly the orthopedic surgeons themselves.

   7    There are options that might be available with platelet-rich

   8    plasma or stem cells; but, again, I'm not going to suggest that

   9    would be a treatment process that I'm well versed in.

  10    Q.    How about ketamine infusion?

  11    A.    That is a very vogue treatment now for treatment of both

  12    pain, but specifically also chronic depression, as a

  13    dissociative anesthetic.      In anesthesia it's actually used as

  14    an induction agent to put off to sleep to begin other

  15    anesthetics for surgeries.      But, you know, once again, a

  16    therapy that I don't provide, for a number of reasons.          It's

  17    not covered by insurance; but, also, it's really more of an

  18    IV-like general anesthetic, will require multiple treatments.

  19    I'm not saying it wouldn't be beneficial to her, but I don't

  20    provide that therapy, and I don't propose to be an expert on

  21    it.

  22    Q.    Doctor, do you think there will be changes or progress with

  23    other options for Ms. Houston's type of issues in the future?

  24    A.    I don't believe that I can describe options for the

  25    orthopedic procedures that might be available to her.          But I
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 45 of
                                      199                                 254
                             Kenneth Lewis, M.D. - Direct

   1    will say that in the field of dorsal column stimulation, there

   2    is a robust and very vigorous research process undergoing,

   3    specifically with the company that I used, Boston Scientific.

   4    To my knowledge, there is four or five new generators and

   5    therapy options coming out just within the next twelve months.

   6    So I have seen that therapy change profoundly in just the last

   7    five years, and I'm hoping that will continue to show progress

   8    and treatment options.

   9    Q.   What are your future plans for assisting and helping

  10    Ms. Houston with her chronic pain?

  11    A.   Well, I would like to see her continue routinely with her

  12    psychological evaluation and treatment so that she can learn to

  13    deal and perceive her chronic pain more appropriately.          I would

  14    like for her to get some second opinions and maybe some

  15    additional treatment options to stabilize the mechanical pain

  16    that is present in her ankle and then in the meantime, get --

  17    if it feels like it's beneficial, maybe consider some

  18    sympathetic blocks.     And then once both the psychological

  19    component and the mechanical component appear to be stabilized,

  20    I think given her perception, she might be an excellent

  21    candidate for another trial.

  22    Q.   What options will Ms. Houston within a reasonable degree of

  23    medical probability likely need over the course of her lifetime

  24    with regard to her pain?

  25    A.   Once again, I don't know what the terminal treatment might
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 46 of
                                      199                                 255
                             Kenneth Lewis, M.D. - Direct

   1    be orthopedically.     I'm hoping it's stabilized, that the

   2    mechanical component is gone.       And hopefully at that point in

   3    time -- as an example, after a total ankle fusion, that should

   4    be done, what other components they might have may require

   5    multiple orthopedic interventions.       In a best-case scenario, I

   6    will see her when things are stabilized and she has the

   7    component she needs to then control the need for predominantly

   8    neuropathic pain syndrome.

   9    Q.   Is a spinal stimulator trial and implantation an option for

  10    the future, within a reasonable degree of medical probability?

  11    A.   Yes.

  12    Q.   Sympathetic nerve blocks?

  13    A.   Yes.

  14    Q.   How many can she do over the course of a year?

  15    A.   I've had people have as many as six, as long as the

  16    progression of treatment both in percentage of pain relieved

  17    and duration of treatment are appropriate.         Sometimes much less

  18    than that.    You can tell that it's not going to reach that

  19    level of fruition, and the smart thing would be to stop

  20    treatments.

  21    Q.   Will she continue to need the psychological counseling and

  22    the psychological medications dealing with her chronic pain?

  23    A.   I would expect that that would be maybe the most permanent

  24    component of what she needs to have.

  25    Q.   The medication continuation with gabapentin?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 47 of
                                      199                                 256
                             Kenneth Lewis, M.D. - Direct

   1    A.   That's a -- the risk-benefit is very much in her favor, and

   2    I would strongly encourage her to continue that.

   3    Q.   What do you think about upping the dosage from

   4    1,800 milligrams a day?

   5    A.   I would have to review what her response was.         I can't tell

   6    you whether or not that has been attempted.         I've had people as

   7    high as 2,700 milligrams a day.       And it is a dose-dependent

   8    therapy; some doses that seem to be ineffective, but a small

   9    increase in dose can be significantly effective.         But it's also

  10    a dose profile that has to be observed.        I don't recall where

  11    she is in that trial process.

  12    Q.   How about stem cells or platelet-rich therapy?

  13    A.   Stem cells are not FDA approved for anything.         While they

  14    are very encouraging, I don't think there is a valid set of

  15    literature that would support that in this setting.          But,

  16    again, I would leave that up to her and her orthopedic

  17    surgeons.   I know that platelet-rich plasma may provide her

  18    with some significant benefits, given what is clearly also some

  19    tendinous injuries in her ankle.

  20    Q.   How about physical therapy?

  21    A.   She has always indicated that was of some benefit, yes.

  22    Q.   Is there any reason to stop that over the course of her

  23    lifetime?   And how much would you recommend per month, per

  24    week?   What are your thoughts over the course of her life?

  25    A.   I always would evaluate that level of chronicity for
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 48 of
                                      199                                 257
                             Kenneth Lewis, M.D. - Direct

   1    physical therapy based upon the physical therapist's

   2    evaluation, what they're seeing, accomplishing, what needs to

   3    be accomplished.    Sometimes you have progress that then is lost

   4    and has to be reestablished.      I can't tell you.     I rely on my

   5    physical therapist to create a treatment plan.         I will review

   6    that and sign off; but I count on them, and should, to evaluate

   7    the patient for physical therapy.

   8    Q.   What happens when you stop physical therapy when you have

   9    problems like Ms. Houston?

  10    A.   Well, obviously, we want people moving.        The function that

  11    she wants is to be able to move.       Sometimes pain and depression

  12    are so severe that you stop doing those things, and then you

  13    lose the functional capacity to do it and lose the desire to do

  14    it and your perception of the pain is higher, which, then,

  15    just -- the whole thing is circles.       So sometimes you just need

  16    a physical therapist to keep you on task and to keep the

  17    process graded objectively.

  18    Q.   Thank you.   If the spinal stimulator is effective, would

  19    you still continue her on the 1,800 milligrams of gabapentin?

  20    A.   I would use every successful tool available.        If the

  21    stimulator works better with gabapentin, then I'm keeping the

  22    gabapentin.

  23    Q.   Within a reasonable degree of medical probability, what was

  24    the cause of the problems that you've been treating Ms. Houston

  25    for?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 49 of
                                      199                                 258
                             Kenneth Lewis, M.D. - Direct

   1    A.   Clearly, the motor vehicle accident and the injury to her

   2    knee, ankle, and foot.

   3    Q.   Within a reasonable degree of medical probability, what is

   4    your prognosis for Ms. Houston with regard to the injuries and

   5    damages she sustained that caused the injuries in question?

   6    A.   Optimistic and guarded, only because I don't have control

   7    over the orthopedic component.

   8    Q.   Within a reasonable degree of medical probability, are the

   9    problems that Ms. Houston is suffering from permanent?

  10    A.   Yes.

  11    Q.   Does she have a permanent physical impairment?

  12    A.   Yes.

  13    Q.   Does she have a disability?

  14    A.   Yes.

  15    Q.   Did you review the reports of Dr. Goldman, a physical

  16    medicine and rehabilitation doctor retained by the United

  17    States?

  18    A.   Yes, I did.

  19    Q.   Did you agree or disagree with him, and can you explain?

  20    A.   I would agree and disagree.      And the reason I say that is

  21    that all of the diagnostic criteria that he refers to are

  22    completely valid.     Our disagreement would be what to do.        For

  23    me, I gauge the success of my patients to an improvement in

  24    their pain when provided with therapy.        I am not a fan of

  25    diagnostic criteria removing options from my treatment regimen.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 50 of
                                      199                                 259
                             Kenneth Lewis, M.D. - Direct

   1    If we had followed the Budapest criteria completely for the

   2    description of a complex regional pain syndrome, then she would

   3    never even had the sympathetic nerve blocks, which were clearly

   4    successful to her.     She would never have had complex regional

   5    pain syndrome which had profound neuropathic pain but not

   6    mechanical pain.    So I believe that he is a very good

   7    academician and diagnostician, but I don't know what his

   8    treatment background is.      And I am a treatment physician; in

   9    that sense, we would disagree as to the processes available to

  10    a patient.    I am looking for ways to open treatment options,

  11    and I think sometimes diagnostic rigidity decreases treatment

  12    options.

  13    Q.   What impact does complex regional pain syndrome have on

  14    Ms. Houston undergoing orthopedic surgery, if that is a choice

  15    that she makes?

  16    A.   Well, orthopedic surgery is additional trauma, and it is

  17    the repetitive trauma to her ankle that has reduced her

  18    neuropathic component.     Now, there is a tradeoff.       If it turns

  19    out that the surgery is successful and not to notably decrease

  20    the mechanical production of her pain, then the overall trauma

  21    may be perceived as beneficial.       But, you know, surgery is

  22    trauma; and trauma in a patient with an overactive, you know,

  23    sympathetic system can sometimes actually increase the

  24    perception of the discomfort.       It's a difficult decision to

  25    make.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 51 of
                                      199                                 260
                             Kenneth Lewis, M.D. - Direct

   1    Q.   What precautions need to be taken when having surgery when

   2    a patient has complex regional pain syndrome?

   3    A.   And this is one I would revert to my pure anesthesia

   4    training.   Which in that situation, probably the best approach

   5    would be to place the epidural before the surgery, completely

   6    anesthetize the central nervous system from the waist down so

   7    that there is no neuro input to the central nervous system,

   8    both with the primary central nervous system or sympathetic

   9    nervous system, then allow the surgery to be performed.           And

  10    then during at least the next three days, minimum, run a very

  11    high, continued epidural infusion so there is no immediate

  12    post-surgical perception of pain.       And slowly wean that

  13    epidural infusion off so that hopefully the patient can get

  14    through the new trauma of surgery and not have that

  15    instantaneous initial impact to her central nervous system,

  16    which may simply flare up her neuropathic pain syndrome.

  17    Q.   Does that increase the cost of the surgery?

  18    A.   She's going to have an anesthesiologist anyhow; but, yes,

  19    the preoperative epidural and the post-surgical epidural

  20    infusion would be increased cost.

  21    Q.   Doctor, I'd like to pull up Plaintiff's Exhibit 13 and call

  22    your attention to your bills, which are listed under No. 23.

  23    It's going to pop up in a second.

  24              There it is.    If we could scroll up, you could see

  25    those.   That takes us to August 24, 2020.       Were those bills
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 52 of
                                      199                                 261
                             Kenneth Lewis, M.D. - Direct

   1    reasonable, necessary, and causally related to the injuries she

   2    sustained in the crash in question?

   3                MR. SCARPATO:   Objection, Your Honor.     We need a

   4    foundation as to the reasonability of these amounts.

   5                THE COURT:   Overruled.   He can testify, and you can

   6    cross-examine him on that.

   7                THE WITNESS:    I do need to point out that some of the

   8    fees you're noting are from the hospital, some are from the

   9    radiology department, some are nursing, like the conscious

  10    sedation.    I have my own billing company, and I'm not sure how

  11    many of these actually represent my fees -- which are always

  12    the smaller ones, by the way.       But these are reasonable

  13    treatment and hospital costs for the procedures that she had,

  14    yes.

  15    BY MR. SHAPIRO:

  16    Q.   Thank you.   Is managing chronic pain over a long period of

  17    time complicated, and does it change over time?

  18    A.   Yes, it's complicated; and it can change, as we've seen.

  19    Q.   Do medications stop working and then need to be changed or

  20    altered?

  21    A.   Yes.

  22    Q.   Do injections not work and other options have to be

  23    considered over time?

  24    A.   Yes.

  25    Q.   And has your field been changing and progressing, and do
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 53 of
                                     199                                  262
                             Kenneth Lewis, M.D. - Cross

   1    you think that will continue over time?

   2    A.   Yes.

   3    Q.   Thank you, Doctor.      I have no further questions.

   4                THE COURT:   We'll take our mid-morning break for

   5    15 minutes.    Please be ready to come back.       Thank you.

   6                (Recess at 10:40 a.m.)

   7                (In open court at 11:01 a.m.)

   8                THE COURT:   Thank you.   Begin your cross-examination.

   9                MR. SCARPATO:    Thank you, Your Honor.

  10                                CROSS-EXAMINATION

  11    BY MR. SCARPATO:

  12    Q.   Good morning, Dr. Lewis.      We haven't met yet.     My name is

  13    Bill Scarpato.    I'm here on behalf of the United States.         Thank

  14    you for joining us today.

  15    A.   Thank you.

  16    Q.   It's your opinion that Ms. Houston has complex regional

  17    pain syndrome; true?

  18    A.   Yes.

  19    Q.   And it's also your opinion that there could be another

  20    explanation for her pain besides CRPS; true?

  21    A.   Yes.

  22    Q.   One possible explanation for her pain other than CRPS is

  23    some psychological reason; right?

  24    A.   I do not believe that's the source of her pain.         I believe

  25    that's the source of maybe inappropriate perception of her real
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 54 of
                                     199                                  263
                             Kenneth Lewis, M.D. - Cross

   1    pain.

   2    Q.   And it was your testimony earlier this morning that we can

   3    only know the amount of the patient's pain through their

   4    subjective point?

   5    A.   Yes.

   6    Q.   As an interventional pain doctor, you try to find something

   7    you can fix; right?

   8    A.   Yes.

   9    Q.   Your diagnosis that Ms. Houston has CRPS turns on the fact

  10    that you have a treatment for CRPS; right?

  11    A.   Yes.

  12    Q.   And so it's your belief that diagnosis of CRPS is

  13    appropriate and reasonable until proven otherwise; right?

  14    A.   Can you say that once again?

  15    Q.   Sure.    It's your belief that diagnosis of CRPS -- I'll

  16    start that over again.

  17                It's your belief that a diagnosis of CRPS is

  18    appropriate and reasonable until proven otherwise; true?

  19    A.   I'm not sure I understand the question.        I think it was

  20    appropriate and reasonable with her presentation.          And "till

  21    proven otherwise," I'm not sure what you meant by that.           Sorry.

  22    Q.   Did you prepare an expert report in this matter?

  23    A.   Report or my notes?

  24    Q.   An expert report for the purpose of this litigation.

  25    A.   I'm not sure what the definition of that would be, other
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 55 of
                                     199                                  264
                             Kenneth Lewis, M.D. - Cross

   1    than my notes.     Is that maybe my original conversations with

   2    the attorney?

   3    Q.   Perhaps we can help you out.      I'm going to turn your

   4    attention to an exhibit that's been marked for identification

   5    in this matter as Exhibit 33.       This is not an admitted exhibit,

   6    and we won't be seeking to admit it.

   7                Dr. Lewis, I have pulled up what has been marked for

   8    identification in this case as Exhibit 33.         Are you able to

   9    view that on your screen?

  10    A.   Yes, I do now.    Yes.

  11    Q.   Are you familiar with this document?

  12    A.   Not -- I'm familiar with the process but not the document,

  13    I guess.

  14                MR. SCARPATO:   Can you scroll down, please.

  15    BY MR. SCARPATO:

  16    Q.   Is that your signature at the top of this document?

  17    A.   I can't see it if it's not scrolled down.        Yes, that's my

  18    signature.

  19                MR. SCARPATO:   Okay.   And Ms. Robinson, if you could

  20    go to the second paragraph in this down.

  21    BY MR. SCARPATO:

  22    Q.   So this document was not prepared by you; correct?

  23    A.   No.

  24    Q.   This document was prepared by Ms. Houston's law firm; true?

  25    A.   Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 56 of
                                     199                                  265
                             Kenneth Lewis, M.D. - Cross

   1    Q.   And you thought that was your signature at the bottom;

   2    correct?

   3    A.   Yes.    I recall seeing this now.    Thank you.

   4    Q.   Sure.   And that last sentence in the paragraph that we're

   5    highlighting says that you'll testify -- "he" -- you -- "will

   6    testify that his" -- yours -- "diagnosis of CRPS is appropriate

   7    and reasonable until proven otherwise."        Did I read that

   8    correctly?

   9    A.   I can't see it; but if it says that, then, yes, I signed

  10    that.

  11    Q.   Okay.   CRPS is a type of neuropathic pain; right?

  12    A.   Yes.

  13    Q.   And that is caused by the nervous system rather than some

  14    other mechanical issue; true?

  15    A.   It is supported by the nervous system, not caused by the

  16    nervous system.

  17    Q.   And it's treated by addressing the nervous system; correct?

  18    A.   Correct.

  19    Q.   Lumbar sympathetic block is one of those treatments; true?

  20    A.   Yes.

  21    Q.   And the lumbar sympathetic block is specific to complex

  22    regional pain syndrome; correct?

  23    A.   It would be a specific treatment for that.        I don't know if

  24    it's the only diagnosis that would be useful -- specific for

  25    that treatment.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 57 of
                                     199                                  266
                             Kenneth Lewis, M.D. - Cross

   1    Q.   That injection is aimed at the sympathetic nervous system;

   2    true?

   3    A.   Yes.

   4    Q.   The sympathetic nervous system is part of the response to

   5    trauma; correct?

   6    A.   Yes.

   7    Q.   And so what happens with CRPS is that the nervous system is

   8    continuing to provide a perception to the central nervous

   9    system of ongoing injury and pain even though the tissues have

  10    actually healed; correct?

  11    A.   I'd like to just say that the tissues may have partially

  12    healed, maybe completely healed; but, yes there is an ongoing

  13    perception of pain exacerbated by that system.

  14    Q.   You used the sympathetic block injection to interrupt that

  15    process in the hopes of having improvement in the patient's

  16    perception of pain; correct?

  17    A.   Yes.

  18    Q.   And this process of turning the system off is very specific

  19    to the complex regional pain syndrome; correct?

  20    A.   Yes.

  21    Q.   And that approach isn't really used for anything but CRPS;

  22    true?

  23    A.   Yes, fair.   Yes.

  24    Q.   So the ideal goal of doing a sympathetic block injection is

  25    it cures CRPS, right?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 58 of
                                     199                                  267
                             Kenneth Lewis, M.D. - Cross

   1    A.   To treat its negative results.      Cure is always a hope, but

   2    treatment is fine.

   3    Q.   And just so I'm clear, spinal cord stimulator is another

   4    type of CRPS treatment; right?

   5    A.   It can treat things beyond CRPS; but it treats specifically

   6    pain signals within the spinal cord, regardless of the nature

   7    of the production.

   8    Q.   And so turning back to sympathetic block injections.          In

   9    Ms. Houston's case, you administered three lumbar sympathetic

  10    block injections; correct?

  11    A.   Yes.

  12    Q.   Those injections failed to give Ms. Houston lasting relief?

  13    A.   The second one gave her three months of relief.         If the

  14    definition is permanent, no; but lasting as pain relief for

  15    three months would be considered lasting.

  16    Q.   Okay.   So you discussed that a bit on your direct

  17    examination.    She reported after that second shot on

  18    February 4, 2020, a 75 percent pain improvement; right?

  19    A.   Yes.

  20    Q.   And she was going to the gym at that time, I believe you

  21    testified; right?

  22    A.   Yes.

  23    Q.   And she had been working out for a couple of hours a day?

  24    A.   I don't recall the duration.

  25    Q.   Are you aware that she was on an antidepressant in
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 59 of
                                     199                                  268
                             Kenneth Lewis, M.D. - Cross

   1    February 2020?

   2    A.   No, but that would be expected.

   3    Q.   And during that point she attributed her reduction in pain

   4    to the combination of sympathetic block injection, gabapentin,

   5    and her physical therapy; correct?

   6    A.   Yes.

   7    Q.   So a couple of months after that, that second shot, the

   8    injections wore off; right?

   9    A.   Yes.

  10    Q.   And you did your third injection in June of this year; do I

  11    have that right?

  12    A.   Yes.

  13    Q.   And that injection provided no relief; right?

  14    A.   Yes.   True.

  15    Q.   And so twelve days after that, she was in your office to

  16    consult for a spinal cord stimulator trial; correct?

  17    A.   Yes.

  18    Q.   And the spinal cord stimulator is the treatment of last

  19    resort for complex regional pain syndrome; true?

  20    A.   It is one of the last treatments that is frequently used.

  21    I don't know if it's last resort; but, yes, it's a pinnacle

  22    treatment.    Yes.

  23    Q.   It's also the gold standard for CRPS treatment; right?

  24    A.   Yes.

  25    Q.   In your view, it works to cure 80 or 90 percent of CRPS
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 60 of
                                     199                                  269
                             Kenneth Lewis, M.D. - Cross

   1    patients; right?

   2    A.   I don't use the word "cure"; I use the word "treat."

   3    Q.   Okay.    So it's your testimony today that a spinal cord

   4    stimulator does not cure 80 or 90 percent of CRPS patients that

   5    you see?

   6    A.   It treats 80 or 90 percent of the patients.

   7    Q.   Just looking at the -- this isn't the first testimony

   8    you've given in this case; correct?

   9    A.   Today, meaning, with the original attorney?        I'm sorry.

  10    Q.   You were -- you sat for a deposition in this case; correct?

  11    A.   Oh, yes.    Yes, I did.

  12    Q.   And you swore an oath on that day; true?

  13    A.   I did.

  14    Q.   And you swore an oath to tell the truth; right?

  15    A.   Yes.

  16    Q.   Just like you did this morning?

  17    A.   Yes.

  18                MR. SCARPATO:   Can we have page 78, lines 17 through

  19    21 of the deposition.

  20    BY MR. SCARPATO:

  21    Q.   Dr. Lewis, I pulled up the deposition transcript from your

  22    deposition in this matter; and I call your attention to

  23    page 78, lines 17 through 21.       Are you able to see the text

  24    that is being highlighted on the screen?

  25    A.   I cannot.   I can see something highlighted but not of a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 61 of
                                     199                                  270
                             Kenneth Lewis, M.D. - Cross

   1    size that I can read it.

   2    Q.   We'll try to zoom that in for you.       Can you see that now?

   3    A.   Yes.

   4    Q.   So I'm going to read that.      And my question will be whether

   5    I've read that correctly.

   6                Question:   "So when you say 80 percent, that's a

   7          patient that you see with CRPS that got the

   8          stimulator, 80 percent of them are essentially

   9          cured?"

  10                Answer:   "Maybe 90.   Profoundly high, to the

  11          point that it's really amazing."

  12                Did I read that correctly?

  13    A.   Yes.

  14    Q.   But the spinal cord stimulator didn't end up working for

  15    Ms. Houston in this case; correct?

  16    A.   It worked but not enough to consider implant at this time.

  17    Q.   So your specific conclusion was that moving forward, there

  18    is -- a permanent implant would likely lead to eventual failure

  19    of treatment; true?

  20    A.   If nothing else were done, yes.      That was my feeling.

  21    Q.   And you specifically explained placebo effect which

  22    Ms. Houston enjoyed for a short period of time, followed by

  23    what was clearly less than 50 percent improvement in her actual

  24    pain; true?

  25    A.   Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 62 of
                                     199                                  271
                             Kenneth Lewis, M.D. - Cross

   1    Q.   And you've also come to believe that there is a significant

   2    continual mechanical component to her ankle pain; right?

   3    A.   Yes.

   4    Q.   Because a spinal cord stimulator is designed for

   5    neuropathic pain; correct?

   6    A.   Yes.

   7    Q.   And CRPS is a type of neuropathic pain?

   8    A.   Yes.

   9    Q.   And so you concluded that the spinal cord stimulator is not

  10    of use to her now; right?

  11    A.   Not of enough use.

  12    Q.   And I would just like to ask you a couple of questions

  13    about your treatment notes.      You rely on your notes; right?

  14    A.   Yes.

  15    Q.   You relied on them to refresh your recollection this

  16    morning, in fact; correct?

  17    A.   Yes.

  18    Q.   And you take care to ensure those notes are accurate;

  19    right?

  20    A.   As much as I can.    Yes.

  21    Q.   And as much as you can, you try to ensure that your

  22    treatment notes are complete; correct?

  23    A.   Yes.

  24    Q.   So if there is a discrepancy between your recollection as

  25    you related it today and your treatment notes, we should rely
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 63 of
                                     199                                  272
                             Kenneth Lewis, M.D. - Cross

   1    on those treatment notes; right?

   2    A.   My notes are my notes.     I can't or won't change them, but I

   3    am here speaking and thinking now.

   4    Q.   Have you see the life care plan presented in this case?

   5    A.   I didn't hear you.

   6    Q.   Have you seen the life care plan that was prepared for

   7    Ms. Houston in this case?

   8    A.   I think I have reviewed it once, and I couldn't recite it

   9    for you.

  10    Q.   And you provided some recommendations that found their way

  11    into that life care plan; correct?

  12    A.   I may have.   I don't recall that specific description or

  13    process.

  14    Q.   Are you familiar with an individual named Francine Mazone?

  15    A.   Mazone.   Not offhand, no.

  16    Q.   You just can't recall ever having had a telephone

  17    conversation or any other type of communication with Francine

  18    Mazone?

  19    A.   I do not recall, no.

  20    Q.   I believe you testified this morning that stem cell

  21    treatment is still experimental.       Did I remember your testimony

  22    from this morning correctly?

  23    A.   I believe that would be fair to describe it that way.          Yes,

  24    that's what I said this morning.

  25    Q.   And would the same thing be true for platelet-rich plasma
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 64 of
                                     199                                  273
                             Kenneth Lewis, M.D. - Cross

   1    treatment?

   2    A.   I do believe that the orthopedic field's use of

   3    platelet-rich plasma, especially for tendinous injury is much

   4    more sound.

   5    Q.   But for platelet-rich plasma, there is less than 10 percent

   6    possibility Ms. Houston would ever need that; correct?

   7    A.   I do not know how to answer that question either way.

   8              MR. SCARPATO:    Pull up the deposition, page 116,

   9    lines 9 to --

  10              MR. SHAPIRO:    What page?

  11              MR. SCARPATO:    116, lines 9 through 16.

  12    BY MR. SCARPATO:

  13    Q.   Dr. Lewis, are you able to see the lines that we're

  14    highlighting here?

  15    A.   I do not see any highlighted lines yet.        I do now, yes.

  16              MR. SCARPATO:    Okay.    And so if we scroll up on so

  17    that we have lines 9 through 16 showing.        Thank you.

  18    BY MR. SCARPATO:

  19    Q.   The question was:

  20              Question:    "So would it be more accurate to say

  21          that stem cell therapy and PRP" -- platelet-rich

  22          plasma -- "treatment would be a possibility?"

  23              Answer:   "Would be a possibility, that would be

  24          fair."

  25              Question:    "What would you put the likelihood
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 65 of
                                     199                                  274
                             Kenneth Lewis, M.D. - Cross

   1          percentage-wise that she'll need either stem cell or

   2          PRP treatment?"

   3                Answer:   "Less than 10 percent."

   4                Did I read that correctly?

   5    A.   You did.

   6    Q.   And there was some discussion this morning about physical

   7    therapy.     And was it your testimony that you rely on a physical

   8    therapist to evaluate a patient and tell you what physical

   9    therapy Ms. Houston needs?

  10    A.   Yes.

  11    Q.   The physical therapist is the one with the expertise to

  12    decide how much PT is actually needed; right?

  13    A.   Yes.

  14    Q.   You wouldn't micromanage the PT process; true?

  15    A.   I might be involved if there was something I thought would

  16    be useful; but, I guess, micromanage, I would not do.

  17    Q.   So I'll turn to a couple of additional potential treatments

  18    or therapies for Ms. Houston now.

  19                You would agree that pool therapy can be helpful for

  20    chronic pain; right?

  21    A.   In the sense that any activity is useful for an extremity

  22    that would otherwise maybe not be used.        So I'm not sure what

  23    the context of that answer was.

  24    Q.   So any physical activity can help with chronic pain in the

  25    lower extremity?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 66 of
                                     199                                  275
                             Kenneth Lewis, M.D. - Cross

   1    A.   In her case, activity that doesn't require actually placing

   2    weight on the fractured ankle might be very useful.

   3    Q.   You would agree with recommendations for treatment that are

   4    designed to help Ms. Houston become more physically active in

   5    that manner you've described?

   6    A.   Yes.

   7    Q.   And you also think it's reasonable for Ms. Houston to have

   8    ongoing psychological evaluations and treatment to deal with

   9    her chronic pain; true?

  10    A.   Yes.

  11    Q.   And you've continued her on her pain medication,

  12    gabapentin; right?

  13    A.   Yes.

  14    Q.   So I'd like to talk a little bit about the interaction

  15    between psychological illness and pain, if we could, for a

  16    couple of minutes.

  17                Many of the same chemical imbalances that occur with

  18    chronic depression are similar to those that occur with chronic

  19    pain; true?

  20    A.   True.

  21    Q.   And so chronic pain can make depression worse; right?

  22    A.   Yes.

  23    Q.   And depression can make chronic pain worse?

  24    A.   Yes.

  25    Q.   So treating both chronic pain and depression at the same
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 67 of
                                     199                                  276
                             Kenneth Lewis, M.D. - Cross

   1    time is usually beneficial; correct?

   2    A.   Yes.

   3    Q.   And so you'd agree it's possible that Ms. Houston might

   4    have some psychological disorder where she's describing pain

   5    that doesn't exist as a physical matter; right?

   6    A.   No.    I believe that her depression may make her perceive

   7    her true pain as something more than might be otherwise.

   8    Q.   And so from your perspective, there is no reason why

   9    Ms. Houston shouldn't be on an antidepressant; true?

  10    A.   No.

  11    Q.   And I'd like to just ask a couple of questions about

  12    Ms. Houston's first visit to your office, or how she came to

  13    your door.     When a new patient comes into your office, they're

  14    typically seen by a nurse practitioner; right?

  15    A.   Yes.

  16    Q.   And in Ms. Houston's case, that was Heather Smith; true?

  17    A.   Yes.

  18    Q.   And the nurse practitioner applies some suspected diagnoses

  19    based on their visit with the patient; right?

  20    A.   Yes.

  21    Q.   And the treatment -- the patient's history that the nurse

  22    practitioner gets, that comes from the patient's report; right?

  23    A.   Yes.

  24    Q.   So what the patient says?

  25    A.   Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 68 of
                                     199                                  277
                             Kenneth Lewis, M.D. - Cross

   1    Q.   And you don't treat traumatic brain injury; correct?

   2    A.   No.

   3    Q.   And you wouldn't have an opinion on the diagnosis

   4    Ms. Houston might carry that is not directly relevant to your

   5    treatment; true?

   6    A.   True.

   7    Q.   And you said this morning, you're 100 percent in the pain

   8    management field; correct?

   9    A.   Yes.

  10    Q.   And about 98 percent of your practice is doing injections;

  11    true?

  12    A.   Yes.

  13    Q.   And so it's fair to say that when patients come to your

  14    office, they know what kind of practice it is that you have;

  15    right?

  16    A.   Usually they are aware.     Yes.

  17    Q.   And the procedures that you do are expensive; true?

  18    A.   Yes.

  19    Q.   And you see about 100 patients a week; right?

  20    A.   I would -- probably be pretty close.       Yes.

  21    Q.   And when Ms. Houston came to you, you diagnosed her with

  22    CRPS because you have a treatment for CRPS; right?

  23    A.   Yes.

  24    Q.   And so Ms. Houston did in fact become one of your patients;

  25    right?     We've established that.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 69 of
                                     199                                  278
                             Kenneth Lewis, M.D. - Cross

   1    A.   Yes.

   2    Q.   And are you aware that she referred herself to your

   3    practice?

   4    A.   It's not surprising.     That happens a lot.     If that's true,

   5    then, yes.     But I wasn't aware of the referral source, but

   6    that's not surprising.

   7    Q.   And so I'd like to talk with you now a little bit about

   8    your billing.     You have no say in the billing for the

   9    outpatient procedure center where you do your work; right?

  10    Those are the bigger numbers that were shown to you earlier

  11    this morning; right?

  12    A.   True.

  13    Q.   And you have a billing company that does your billing

  14    specifically; correct?

  15    A.   Yes.

  16    Q.   And you try to have as little knowledge in the billing

  17    process as possible; right?

  18    A.   I try not to let the insurance brand affect my

  19    decision-making.     I try to make a real point of that, yes.

  20    Q.   And you don't review your bills before they get sent out;

  21    correct?

  22    A.   No.    I have a compliance officer within the billing company

  23    who is very good at making sure my bills are appropriate.

  24    Q.   And you don't know how much patients are charged for your

  25    specific services; correct?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 70 of
                                     199                                  279
                             Kenneth Lewis, M.D. - Cross

   1    A.   I have some ideas; but, once again, I do not want the value

   2    or disvalue of a procedure to affect my decision-making.           I

   3    want that to be medically based.

   4    Q.   You mentioned a couple of surgeries this morning.         I just

   5    want to be clear, those were orthopedic surgeries; right?

   6    A.   Other than the possibility of a stimulator implant, yes,

   7    all of her surgeries I believe were orthopedic, that were at

   8    least appropriate to this discussion.

   9    Q.   Yes, I should have made that clear.       The surgeries that

  10    Ms. Houston has already received, those are all orthopedic

  11    surgeries; right?

  12    A.   To my knowledge, yes.

  13    Q.   And those surgeries aren't designed specifically to treat

  14    pain; true?

  15    A.   Well, part of their process is to treat pain.         Stabilizing

  16    an injured tissue would certainly have as one of its very real

  17    goals to reduce the pain that's due to the injury.

  18    Q.   The primary purpose of those surgeries is to repair the

  19    mechanical structures in the joint; correct?

  20    A.   That's a component of the surgery that can be controlled by

  21    the surgeon.    Yes.

  22    Q.   Are you aware that Ms. Houston has already gotten a second

  23    opinion from an orthopedist in this case?

  24    A.   I don't recall.    I may have been told that; but I'm not

  25    aware of that, no.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 71 of
                                     199                                  280
                             Kenneth Lewis, M.D. - Cross

   1    Q.   And so you're not aware that that other -- second

   2    orthopedist recommended no surgery in Ms. Houston's case?

   3    A.   I guess, no, I was not aware of that.

   4    Q.   I'd like to talk a little bit more about chronic regional

   5    pain syndrome, that diagnosis.       You diagnosed Ms. Houston with

   6    CRPS in her right ankle and right knee; correct?

   7    A.   Yes.

   8    Q.   And your treatment, lumbar sympathetic block and spinal

   9    cord stimulator, were designed specifically for CRPS in the

  10    ankle; true?

  11    A.   Yes.

  12    Q.   And your definition of CRPS is a presentation by the

  13    patient, where the perception and presentation of pain far

  14    outweigh any physical source or ongoing source of pain

  15    generation; right?

  16    A.   Yes.

  17    Q.   A good example of that would be where a person gets a paper

  18    cut and after that, it results in a complete loss in the use of

  19    an extremity; true?

  20    A.   That would be one example.      Yes.

  21    Q.   And only about 5 percent of your patients present with

  22    CRPS; true?

  23    A.   I believe that would be a fair number.

  24    Q.   And in the general population, CRPS is much less than that;

  25    correct?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 72 of
                                     199                                  281
                             Kenneth Lewis, M.D. - Cross

   1    A.   Yes.

   2    Q.   So I guess you've heard of the Budapest criteria, because

   3    you were asked a couple of questions about that this morning.

   4    So are you familiar with the Budapest criteria?

   5    A.   I am.

   6    Q.   And so that's a set of diagnostic tools or questions that

   7    physicians use to diagnose CRPS; correct?

   8    A.   Yes.

   9    Q.   So let me ask you a couple of questions about those

  10    Budapest criteria.     One of those is that a patient won't be

  11    able to tolerate light touch on the affected area; correct?

  12    A.   That can happen.    Yes.

  13    Q.   And so fair to say that a patient who has constant

  14    light-touch sensitivity, that person is more likely to have

  15    CRPS than one with only intermittent light-touch sensitivity;

  16    true?

  17    A.   More likely, yes.

  18    Q.   Another of those Budapest criteria is discoloration of the

  19    affected extremity; correct?

  20    A.   Correct.

  21    Q.   If a person doesn't have discoloration in the affected

  22    area, that would mean that there are fewer things in the

  23    positive column for a CRPS diagnosis; correct?

  24    A.   Yes.    But I would have to add that that symptom can change

  25    on the same person during the same day, during the same visit.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 73 of
                                     199                                  282
                             Kenneth Lewis, M.D. - Cross

   1    Q.   And if a person doesn't have temperature asymmetry in the

   2    affected area versus the unaffected area, there means there

   3    would be fewer things in the positive column for a CRPS

   4    diagnosis as well; true?

   5    A.   Are you speaking about specifically thermography, is that

   6    the temperature changes?      Are you talking about just by touch?

   7    Q.   We can do the thermography first.       If the thermography exam

   8    presents as negative for CRPS, that's one thing less in the

   9    positive column for a CRPS diagnosis; true?

  10    A.   It is.    But do you mind if I just read one brief statement

  11    written by your expert, Mr. Goldman, specifically regarding

  12    that?   Because I think it's important.

  13    Q.   Sure.

  14    A.   Okay.    "Thermal imaging is not a stand-alone screening

  15    examination and cannot diagnose or rule out the presentation of

  16    injury, infection, or disease.       It's a tool, and a very gross

  17    and frequently inaccurate tool."

  18    Q.   Okay.    How about feeling it just with your hand,

  19    temperature asymmetry between the affected area and the

  20    unaffected area?     If you feel no temperature asymmetry, is that

  21    another thing less in the positive column for a CRPS diagnosis?

  22    A.   Yes.    But the value of that exam is it can be done

  23    repetitively and specifically when the patient is actually

  24    suffering those changes.

  25    Q.   And another of the Budapest criteria for diagnosing CRPS is
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 74 of
                                     199                                  283
                             Kenneth Lewis, M.D. - Cross

   1    swelling in the affected area; correct?

   2    A.   Yes.

   3    Q.   And if you don't observe swelling in the affected area,

   4    that's another thing that wouldn't be in the positive column

   5    for CRPS; right?

   6    A.   Yes.

   7    Q.   And you spoke a little bit about a three-phase bone scan

   8    this morning.    A three-phase bone scan is another diagnostic

   9    tool that could be used to help diagnose CRPS; right?

  10    A.   Yes.

  11    Q.   And so if Ms. Houston were to have gotten a three-phase

  12    bone scan and if it was negative, that would decrease the

  13    likelihood of CRPS; right?

  14    A.   It would decrease the likelihood.

  15    Q.   Are you aware that Ms. Houston was recommended to get a

  16    three-phase bone scan?

  17    A.   Yes.

  18    Q.   And are you aware that she never had that recommended bone

  19    scan?

  20    A.   Yes.

  21    Q.   And so for you, the gold standard for diagnosis of CRPS is

  22    to treat things that would treat CRPS and hope for improvement;

  23    right?

  24    A.   I would phrase it in my practice is that the gold standard

  25    for treating symptoms consistent with CRPS is to gauge the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 75 of
                                     199                                  284
                             Kenneth Lewis, M.D. - Cross

   1    outcome of treatments of things for CRPS.        I'm not in the

   2    businesses of diagnosis; I'm in the business of positive

   3    outcomes of treatment of pain.

   4    Q.   Okay.    Your goal is the treatment of pain; right?

   5    A.   Yes.

   6    Q.   And your goal wasn't to diagnose the source of the pain;

   7    right?

   8    A.   Sometimes the diagnosis of a source of the pain occurs with

   9    treatment; sometimes you get treatment without a diagnosis of

  10    the reason why.     Both are successful.

  11    Q.   So you're familiar with Dr. Ellen Price; right?

  12    A.   Yes.

  13    Q.   You spoke of her this morning.      And you said Dr. Price is a

  14    physiatrist.     Is that the same thing as a physical medicine and

  15    rehabilitation doctor?

  16    A.   Yes.

  17                MR. SCARPATO:   Can we have Exhibit 63, please.

  18    BY MR. SCARPATO:

  19    Q.   I'd like to pull up for you some of Dr. Price's treatment

  20    notes, which are Exhibit 63 for identification and have been

  21    admitted into evidence.      The top paragraph on page 1.

  22                And my first question, Dr. Lewis, is, are you able to

  23    see the paragraph that we've called up on the screen?

  24    A.   I can see it and make out some of the words.

  25    Q.   Okay.    So the third line from the bottom of that first
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 76 of
                                     199                                  285
                             Kenneth Lewis, M.D. - Cross

   1    paragraph, I read, "I do not see any evidence of CRPS.          She has

   2    no swelling, no edema, no light-touch pain, and no color

   3    changes."    Did I read that correctly?

   4    A.   I see that.    Yes.

   5    Q.   So you and Dr. Price -- Dr. Ellen Price have made this

   6    different diagnosis here; right?

   7    A.   Yes.

   8    Q.   And that's because you relied on a patient's self-report

   9    more than these objective -- objective criteria; right?

  10    A.   I try to incorporate every piece of evidence that I can

  11    find.

  12                MR. SCARPATO:   Okay.   Can we pull up the deposition at

  13    page 101, please.       Lines 1 through 8.

  14    BY MR. SCARPATO:

  15    Q.   Thank you, Dr. Lewis, for your patience with the

  16    technology.     We're all kind of figuring it out as we go.

  17    A.   I understand.

  18    Q.   So, Dr. Lewis, are you able to see the text that we pulled

  19    up on to the screen?

  20    A.   Not yet.   Something is coming up now.      Yes, I can see; and

  21    I can read most of it.

  22    Q.   Okay.   So I'll read; and my question will be, did I read

  23    that correctly?

  24                Question:   "So Dr. Price in her notes wrote that

  25         she did not see any evidence of CRPS.         Do you have a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 77 of
                                     199                                  286
                             Kenneth Lewis, M.D. - Cross

   1           sense of where the difference in your diagnosis is

   2           coming in?"

   3                Answer:   "I'm listening to the patient more than

   4           I'm looking at the signs.     Yeah.   For me, a patient

   5           that has horrible pain well past the healing phase

   6           for the type of trauma they have, that's the

   7           overwhelming piece of evidence for me.       That

   8           overwhelms everything else."

   9                Did I read that correctly?

  10    A.   Yes.

  11    Q.   And so in your view, if you decide to treat a person for

  12    CRPS, you consider them to have CRPS until proved otherwise;

  13    right?

  14    A.   I think that would be a fair intention of your thought.

  15    Yes.

  16    Q.   And CRPS is harder to treat than ordinary, run-of-the-mill

  17    chronic pain; right?

  18    A.   Yes.

  19    Q.   CRPS is usually more expensive to treat than other more

  20    run-of-the-mill chronic pain; right?

  21    A.   Yes.

  22    Q.   You didn't treat Ms. Houston for chronic regional pain

  23    syndrome in her -- I apologize if I asked that question

  24    already.

  25    A.   Say it one more time.     I'm sorry.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 78 of
                                      199                                 287
                            Kenneth Lewis, M.D. - Redirect

   1    Q.   Sure.    You didn't treat Ms. Houston for chronic regional

   2    pain -- excuse me -- complex regional pain syndrome in her

   3    knee; correct?

   4    A.   No.    I don't believe the knee was ever the focus.

   5    Q.   And you referred to the Oswestry scores earlier in your

   6    testimony; do I have that right?

   7    A.   Yes.

   8    Q.   Can the results of that sort of testing be influenced by

   9    depression or anxiety?

  10    A.   Absolutely.

  11    Q.   Stand by, Dr. Lewis, for just a moment.

  12    A.   Uh-huh.

  13    Q.   Thank you, Dr. Lewis.      Those are my questions.

  14                THE COURT:    Redirect.

  15                              REDIRECT EXAMINATION

  16    BY MR. SHAPIRO:

  17    Q.   Doctor, I was looking at Exhibit 63, the defendant's

  18    Exhibit 63.     And in note of a Dr. Price's -- and it is

  19    page Price 006 -- and she uses an interesting assessment or

  20    plan or diagnosis.       She says, "Chronic pain and probable

  21    sympathetically maintained but unlikely complex regional pain

  22    syndrome."     What does that mean?

  23    A.   I do not know what her point is, at least on a therapeutic

  24    level.     For me, as I say, I'm looking at data -- at least the

  25    potential therapies.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 79 of
                                      199                                 288
                            Kenneth Lewis, M.D. - Redirect

   1    Q.   But if you have sympathetically maintained pain, do you

   2    have complex regional pain syndrome?

   3    A.   I would argue that, yes, it doesn't -- that statement

   4    doesn't make sense to me.

   5    Q.   Okay.   So Dr. Price believes that Ms. Houston had -- has

   6    chronic pain and probably sympathetically maintained pain --

   7              MR. SCARPATO:    Objection.    Foundation.

   8              THE COURT:    Overruled.

   9    BY MR. SHAPIRO:

  10    Q.   -- but not complex regional pain syndrome.        How would you

  11    treat sympathetically maintained pain any different than

  12    complex regional pain syndrome?

  13    A.   No difference at all.

  14    Q.   So I want to talk about cure, the word "cure."         Can you

  15    cure complex regional pain syndrome?

  16    A.   I would not use the word "cure."       Treat.

  17    Q.   Why, sir?

  18    A.   The trauma in this case -- in this specific situation, the

  19    trauma is there and permanent.       It doesn't mean that the

  20    perception and the disability from that trauma needs to be

  21    untreated, even if you can't cure the reason for it.

  22    Q.   Is there any way for anyone to cure complex regional pain

  23    syndrome?

  24    A.   I've had patients after a stimulator has been placed and on

  25    gabapentin and psychological therapy and physical therapy that,
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 80 of
                                      199                                 289
                            Kenneth Lewis, M.D. - Redirect

   1    essentially, have no pain; so I think it would be reasonable in

   2    some subsets of patients to actually describe that as an actual

   3    cure.

   4              MR. SHAPIRO:    Thank you, Doctor.     Appreciate your

   5    time.

   6              THE COURT:    Thank you, Doctor.

   7              May this witness be excused?

   8              MR. SHAPIRO:    Yes, sir.

   9              THE COURT:    Any objection?

  10              MR. SCARPATO:    No.

  11              THE COURT:    Doctor, you're excused.      Thank you.

  12              THE WITNESS:    Thank you, gentlemen.

  13              THE COURT:    Who is your next witness, please?

  14              MR. OGBORN:    We are calling Dave Lester.

  15              We are bringing up another camera, Your Honor, so it's

  16    taking us one second here.       Have it plugged in and ready to go,

  17    but we lost the connection, unfortunately.

  18              COURTROOM DEPUTY:      I show you connected twice, so you

  19    only need to be in there one time.

  20              MR. OGBORN:    Our paralegal doing double her job.

  21              THE COURT:    Just go ahead.    I can hear him.

  22              Swear him in, please.

  23    There, you've got one witness.

  24

  25
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 81 of
                                     199                                  290
                                David Lester - Direct

   1                 (DAVID LESTER, PLAINTIFF'S WITNESS, SWORN)

   2                COURTROOM DEPUTY:    Please state your name and spell

   3    your first and last name for the record.

   4                THE WITNESS:    My name is David Lester.    L-E S T E-R.

   5                MR. OGBORN:    I want to make sure, is the volume okay

   6    for everybody?

   7                COURTROOM DEPUTY:    Yes.

   8                               DIRECT EXAMINATION

   9    BY MR. OGBORN:

  10    Q.   Mr. Lester, I'm going to have you start off and tell us a

  11    little bit about yourself.       What do you do for a living?

  12    A.   I'm a professional independent director for a number of

  13    corporations.    I have started running a number of companies,

  14    taking a couple public and on NASDAQ.        I'm involved in both

  15    profit and nonprofit organizations and serve on boards, and I'm

  16    a trustee of some foundations.

  17    Q.   You have been a friend of Tracy Houston for some time?

  18    A.   Yes.

  19    Q.   How did you originally meet Tracy Houston?

  20    A.   Tracy and I both attended the University of Denver.          I have

  21    an MBA from the University of Denver, and we have common

  22    interests in terms of corporate directorships.         And my main

  23    first connection with Tracy was learning about her interest and

  24    her involvement and her support for helping corporate directors

  25    be more aware of rules and more aware of the best way to serve
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 82 of
                                     199                                  291
                                David Lester - Direct

   1    the boards that they were members of.

   2    Q.   And when you talk about Tracy Houston's job being to help

   3    these board members understand the rules, were you familiar

   4    with how she went about doing that?

   5    A.   Yes, I was.   Indeed.

   6    Q.   Help us understand a little bit, please.        What would she do

   7    in order to accomplish that task -- those tasks?

   8    A.   She had several ways to do that.       The most important way

   9    was she communicated with potential directors and people who

  10    were on boards.    She provided information on things that were

  11    happening, current rules and regulations that were changing,

  12    corporate governing issues, and she communicated these things

  13    in multiple ways.     She communicated with them in in-person

  14    kinds of meetings with different groups.        But very importantly,

  15    she communicated these both in publications she prepared; and

  16    she communicated these in what you might call blog or

  17    informational, circulated on a regular basis when new

  18    information came out.

  19    Q.   Did you personally have access to some of the materials

  20    that were being used by Ms. Houston?

  21    A.   I did, indeed.    Yes, I got regular input.

  22    Q.   Was that something you appreciated and relied upon in doing

  23    your job?

  24    A.   I found that she was always very much aware of the changes

  25    and new rules and also aware of ways to improve performance of
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 83 of
                                     199                                  292
                                David Lester - Direct

   1    boards, and it was very helpful.

   2    Q.   Mr. Lester, prior to 2016, how much contact would you

   3    typically have with Ms. Houston?

   4    A.   When she was living in the Denver area, a few times, I

   5    would have information coming to me by email, roughly weekly;

   6    and Tracy and I would talk from time to time.         And as we became

   7    more aware of our personal interest, as well, we would do

   8    hiking sometimes and just go out and have a business discussion

   9    on the trail, as opposed to doing it on a -- in an office.

  10    Q.   When you say "share personal interest," hiking was one of

  11    those interests?

  12    A.   Very much, yes.    It was for me.

  13    Q.   How often would you engage in hiking or outdoor-type

  14    activities with Ms. Houston?

  15    A.   Oh, I don't know, eight or ten times a year.        Maybe more

  16    often, just depending upon the given year and our activities,

  17    how much we were in town.

  18    Q.   Would you say she was an avid hiker or kind of part time?

  19    A.   I would say she was a very avid, very active hiker.

  20    Q.   When you say "active," why do you add active?

  21    A.   Well, I always enjoyed my hikes with Tracy in that time

  22    period, because she would get out, and we would hike along.

  23    There wouldn't be delay or stopping to take a breather or

  24    anything.   We would move right along on the trails, and that's

  25    the way I prefer to do it.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 84 of
                                     199                                  293
                                David Lester - Direct

   1    Q.   At some point in the end of 2016 or early 2017, did you

   2    come to learn that Ms. Houston had been involved in a car

   3    collision?

   4    A.   I certainly did.     Yes.

   5    Q.   How did you find out, sir?

   6    A.   Tracy and I would keep in touch fairly regularly.         We have

   7    mutual friends.      And I probably learned directly from Tracy,

   8    but could have been mutual friends.

   9    Q.   How -- after that collision, did you continue to stay in

  10    touch with Ms. Houston, as before?

  11    A.   My most recent contact with Ms. Houston was when she was

  12    living in the Denver area.       And when she moved to Grand

  13    Junction, our contact became more on the phone, as opposed --

  14    or by email, as opposed to the personal connections.          But,

  15    yes, I continued very much to stay in contact with her.

  16    Q.   Did you ever see her physically after the 2016 collision?

  17    A.   I did.   Yes.

  18    Q.   Help us understand, were there any differences in her

  19    behavior and her activity level?

  20    A.   Significant differences.      She remains, you know, friendly

  21    and personable and knowledgeable; but in several ways, I

  22    noticed changes.     For example, we would have discussions on the

  23    phone; and there would be certain times or sometimes during the

  24    day -- certain times when her cognitive ability seemed

  25    diminished.    She would not be able to follow the line of
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 85 of
                                     199                                  294
                                David Lester - Direct

   1    thought as easily as she always had before.         And physically, we

   2    had occasion to do a couple of walks -- and this was not a

   3    hike.   These were walks in the Denver area -- and I noticed

   4    that she was way diminished in terms of her ability to move

   5    along in a brisk fashion that she had in the past.

   6    Q.   You mentioned the fact that her cognitive abilities seemed

   7    better in parts of the day, maybe not so good in other parts of

   8    the day.   Were you able to discern a pattern?

   9    A.   Not a regular pattern; perhaps a little more in the

  10    mornings things were better.      But I became aware there were

  11    times when she would or wouldn't be particularly cognizant, so

  12    I kind of let her initiate the contacts, because I knew she

  13    could pick a time when she was comfortable with discussions.

  14    Whereas, when I would call without any kind of advance notice,

  15    sometimes she might be less -- maybe seemed more tired or less

  16    organized.

  17    Q.   In 2018 and 2019, did you perceive any difference in the

  18    materials she was putting out or the type of business contact

  19    she was maintaining?

  20    A.   Oh, yes, definitely.     In the prior times before her

  21    accident, she was actively involved; and there would be regular

  22    communications with directors that were part of her following.

  23    And after that, it dropped off dramatically.         I would often

  24    share something that I would find or become aware of that might

  25    be of interest to her.     One of the areas she specialized very
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 86 of
                                     199                                  295
                                David Lester - Direct

   1    much was in women directors.      And during that period of time,

   2    the state of California was going through a process of making

   3    it easier for women to be involved with and actually be a part

   4    of the major boards.     And when I find something on that topic,

   5    I would certainly share that.       But the sharing from her

   6    direction was much less intense.

   7    Q.   You talked about helping put women on boards, especially in

   8    California.    In fact, California passed a law that said, in

   9    certain boards, board of directors, you had to have --

  10    A.   Yes.

  11    Q.   -- representation by a woman?

  12    A.   Uh-huh.

  13    Q.   Is that something you thought that Ms. Houston was ready or

  14    able to take advantage of prior to 2016?

  15    A.   Oh, most certainly.     She was very much aware of what was

  16    going on, very actively involved.       And when I say "actively

  17    involved," I mean, a participant and a driving force in some of

  18    the women getting involved with boards, kind of activities.

  19    She would often make connections that she and I might discuss

  20    with a woman who was well qualified for a particular board

  21    position she became aware of opening up.

  22    Q.   And prior to 2016 -- let me be specific, Mr. Lester -- did

  23    she actually help any members of your boards?

  24    A.   She helped members of my boards, mostly by pass-ons that I

  25    would provide to them with information she became aware of.           So
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 87 of
                                     199                                  296
                                David Lester - Direct

   1    if it were something that would be crucial to a particular

   2    board that I was on, I would often share that information with

   3    the other members of the board so they would become aware of it

   4    as soon as that became a policy or law.

   5    Q.   Now I want to go post-2016.      Has she -- have you been able

   6    to use any materials she's provided you to assist with your

   7    boards?

   8    A.   That has changed dramatically.      Before that date and time,

   9    she was actively regularly disseminating information.          And

  10    after that point in time, that became only occasional and when

  11    we would discuss something, but not in the routine basis.

  12    Q.   Mr. Lester, as it relates to her project of getting women

  13    on boards, is that something that could be monetized?

  14    A.   Oh, yes.   Most certainly.     There are a lot of very capable

  15    women that need to be matched with companies who have openings

  16    or who could potentially benefit from the skills those women

  17    had.   So being a matching service, that sort of thing,

  18    certainly is a way to monetize it.       There are other ways, just

  19    providing general information.

  20    Q.   Post-collision, after 2016 -- so into 2018, 2019 -- have

  21    you seen Ms. Houston or -- do you have any knowledge of

  22    Ms. Houston being involved in any of those activities of

  23    helping match qualified women with boards that need them?

  24    A.   None specifically, no.

  25    Q.   As you compare Ms. Houston, pre-2016, post-2016, as a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 88 of
                                     199                                  297
                                David Lester - Direct

   1    friend and as a business colleague, what do you see as the

   2    biggest differences that you attribute to this collision?

   3    A.   Well, certainly -- obvious differences in terms of her

   4    ability to be as physically active in the outdoors and manage

   5    her property, things like that.       Clearly, a change in

   6    spontaneity and going out, limitation in terms of the amount of

   7    time or energy she can put into a walk.        You might -- sort of

   8    changes we're talking about here are a hike of miles versus a

   9    walk of a couple of blocks.      And that's dramatic change and

  10    very noticeable change.

  11              In terms of the cognitive things and all, she has

  12    always been very impressive in terms of her knowledge and her

  13    communication skills and things like that.         And now you find

  14    that if she's in a window of time when she is energized, that

  15    remains, by and large; but if she is in a situation where she's

  16    either extended in terms of the length of time she has to be

  17    involved or engaged in discussions, it's hard for her.          There

  18    are some times when she might be moving along pretty much in an

  19    open conversation and just feel like she forgot where she was

  20    going on something like that.       That was not the case at all

  21    before.

  22              MR. OGBORN:    Mr. Lester, thank you very much for your

  23    time.   I know Ms. Bobet may have a couple of questions for you.

  24    She's on the screen in front of you.        I'll let her take over.

  25              THE WITNESS:    Yes, ma'am.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 89 of
                                     199                                  298
                                David Lester - Cross

   1                              CROSS-EXAMINATION

   2    BY MS. BOBET:

   3    Q.   Good afternoon -- good afternoon, Mr. Lester.         How are you?

   4    A.   I'm fine.   Thank you.

   5    Q.   Now, you talked to Ms. Houston about the accident; right?

   6    A.   Yes, I did.

   7    Q.   You talked to her about this litigation; correct?

   8    A.   Yes, I have.

   9    Q.   After the accident, you encouraged her to file a lawsuit?

  10    A.   I didn't personally encourage her to.       I felt like those

  11    decisions were hers, and I would support whatever she thought

  12    was of value and important after the accident.

  13    Q.   You helped her find a referral to a lawyer to represent her

  14    in a suit; right?

  15    A.   I was passively involved.      My brother-in-law is an

  16    attorney, and I know a number of attorneys in the Denver area

  17    on a personal basis.     So we shared names, but I didn't

  18    specifically bring her to the firm that she is working with now

  19    or anything like that.     More giving her a sense of the

  20    community.

  21    Q.   You talked with her about how much money she should demand

  22    from the United States in this lawsuit; right?

  23    A.   We talked in general about that.       Not anything specific.     I

  24    learned there was a cap on the amount that the Postal Service

  25    was allowed to go forward with without entering a litigation.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 90 of
                                     199                                  299
                                David Lester - Cross

   1    We also talked in general about the kinds of expenses that she

   2    has now from a standpoint of trying to return to normal and

   3    trying to avoid the kind of constant background pain

   4    situations.    But I wasn't -- I wasn't specifically focused on

   5    those things, but more trying to provide some general oversight

   6    and guidance and support.

   7    Q.   I just want to clarify one thing you just said about a cap

   8    on the amount the Postal Service can pay.        Could you say that

   9    part again?

  10              MR. OGBORN:    Objection.    Relevance.

  11              THE COURT:    Overruled.

  12              MS. BOBET:    Well --

  13              THE WITNESS:    My understanding was that the Postal

  14    Service as a pseudo-government agency was able to make an open

  15    offer for settlements up to a million dollars.         Anything beyond

  16    that would not be within their realm of providing support for

  17    ongoing use.

  18    BY MS. BOBET:

  19    Q.   Your understanding wasn't from any communication with a

  20    Postal Service representative, though; right?

  21    A.   That's correct.    It was not.

  22    Q.   And, obviously, it sounds like that understanding

  23    influenced or came up in your conversations with Ms. Houston

  24    about potentially filing a lawsuit; right?

  25    A.   Generally, yes.    I guess I'd say so.     I left those kinds of
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 91 of
                                     199                                  300
                                David Lester - Cross

   1    things very much to her to make the decisions and what she

   2    felt, because I didn't have specific visibility of the kinds of

   3    expenses that she was incurring or expected to incur in the

   4    future.    But I certainly knew other people who had ongoing pain

   5    from injuries and things like that, and I knew that could be

   6    quite expensive.

   7    Q.   How many times have you seen Ms. Houston in person since

   8    the accident?

   9    A.   In person, only a handful of times.       I travel to the

  10    Western Slope occasionally, but I haven't visited her in her

  11    home during the -- since the accident.        And she's been in

  12    Denver a couple of times, and we have tried to spend a little

  13    time together at those times.

  14    Q.   So Ms. Houston traveled to Denver a couple of times since

  15    the accident?

  16    A.   Two that I'm consciously aware of, and that was related to

  17    the case.

  18    Q.   You don't have any medical training, do you?

  19    A.   I do not have specific medical training.        I have a degree

  20    in psychology, and I have technical degrees and business

  21    degrees.    I also have been the president of a publicly traded

  22    medical corporation, and I've been on the board of directors of

  23    other medical companies.      I have no medical degree.

  24    Q.   And those positions on the boards or with the medical

  25    companies, that was on the corporate side, not the actual
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 92 of
                                     199                                  301
                               David Lester - Redirect

   1    practice of medicine; correct?

   2    A.   That's correct.

   3    Q.   And you never worked as a medical professional at any time?

   4    A.   That is correct.

   5    Q.   You're not a psychologist?

   6    A.   I am not a psychologist in any practicing sense.

   7    Q.   Not a psychologist in a practicing sense.        Are you in a

   8    non-practicing sense?

   9    A.   I tried to use my degree in psychology to give me a better

  10    understanding of human interactions.

  11    Q.   You've never had a job in the field of psychology?

  12    A.   That's correct.    I never have.

  13              MS. BOBET:    That's all for me, thank you.

  14              THE WITNESS:    Thank you very much.

  15              MR. OGBORN:    One follow-up topic.

  16                             REDIRECT EXAMINATION

  17    BY MR. OGBORN:

  18    Q.   Mr. Lester, there was a discussion about a million dollar

  19    cap, so to speak.     Were you having that discussion in

  20    conjunction with filing a lawsuit; or was that discussion in

  21    conjunction with, what are your expenses and needs going to be

  22    going into the future and helping Ms. Houston with some

  23    financial planning?

  24    A.   My sense was only just a knowledge of it.        I had no

  25    discussions about filing a lawsuit related to that at all.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 93 of
                                     199                                  302
                               David Lester - Redirect

   1    Q.   Very good.

   2              MR. OGBORN:    No further questions, Your Honor.

   3              THE COURT:    All right.    Thank you.

   4              May this witness be excused?

   5              THE WITNESS:    Thank you, sir.

   6              MR. OGBORN:    Yes, please, Your Honor.

   7              MS. BOBET:    Yes, Your Honor.

   8              THE COURT:    All right.    Witness is excused.

   9              And we will stand in recess until five minutes after

  10    1:00.   Now, when Dr. Price is -- she's given up or rearranged

  11    her schedule, so I want to stop promptly with whatever witness

  12    we have at 3:30 so Dr. Price can be cross-examined and have the

  13    redirect before today's proceedings are over.         Can you schedule

  14    accordingly?

  15              MR. OGBORN:    Yes, sir.

  16              THE COURT:    All right.    We'll be in recess.     Thank

  17    you.

  18              (Recess at 12:06 p.m.)

  19              (In open court at 1:10 p.m.)

  20              THE COURT:    Thank you.    Please be seated.

  21              We have a witness to be sworn.       Would you please swear

  22    in the witness.

  23

  24

  25
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 94 of
                                     199                                  303
                               John Gustavson - Direct

   1                (JOHN GUSTAVSON, PLAINTIFF'S WITNESS, SWORN)

   2                COURTROOM DEPUTY:   Please state your name and spell

   3    your first and last name for the record.

   4                THE WITNESS:   My name is John Gustavson.      My last name

   5    is spelled G-U-S-T-A-V-S-O-N.

   6                MR. SHAPIRO:   May I proceed, Your Honor?

   7                THE COURT:   Yes.   There seems to be some delay in the

   8    speech on the screen from this witness.

   9                COURTROOM DEPUTY:    That's on his end, Your Honor.

  10                THE COURT:   All right.   Let's go ahead.

  11                MR. SHAPIRO:   Thank you.

  12                               DIRECT EXAMINATION

  13    BY MR. SHAPIRO:

  14    Q.   Dr. Gustavson, can you please provide us with your

  15    professional address.

  16    A.   My work address is 2530 North Eighth Street, Suite 204,

  17    Grand Junction, Colorado.

  18    Q.   Can you tell us your profession, please?

  19    A.   I am a licensed clinical psychologist.

  20    Q.   Are you also a neuropsychologist?

  21    A.   Yes.

  22    Q.   How long have you been a psychologist and

  23    neuropsychologist?

  24    A.   Since -- a clinical psychologist since 1981; I was a school

  25    psychologist for a few years before that.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 95 of
                                     199                                  304
                               John Gustavson - Direct

   1    Q.   How about a neuropsychologist?

   2    A.   I completed a post-doctoral fellowship in neuropsychology

   3    in 1981 and have practiced neuropsychology in various forms

   4    since that time.

   5    Q.   How long have you practiced as a psychologist and

   6    neuropsychologist in the Grand Junction area?

   7    A.   Since 1984.

   8    Q.   Can you tell the judge about your practice as a

   9    psychologist and neuropsychologist and explain what it is that

  10    you do and the types of patients that you treat or assist?

  11    A.   I came to Grand Junction in 1984 to take a position with

  12    what was then Hilltop Rehabilitation Hospital, which is a

  13    hospital that was designed to treat people that have had

  14    traumatic head or spinal cord injuries or other serious

  15    illnesses; and I worked there as an employee for two years.

  16    Later, my partner, Dr. Dale Bowen, and I developed a private

  17    practice.   We continued to provide services for Hilltop

  18    hospital for a few years, and then we moved out of the facility

  19    and into our own office in about 1988.        And I've been in

  20    private practice since then.

  21              I see a general variety of mental health patients,

  22    people suffering from depression, anxiety, post-traumatic

  23    stress disorder, obsessive-compulsive disorder.         And included

  24    in my practice, I do evaluations on people that have had brain

  25    injuries, brain trauma, brain insults of one sort or another; I
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 96 of
                                     199                                  305
                               John Gustavson - Direct

   1    undertake testing to evaluate the nature, extent, magnitude of

   2    those types of problems; and I provide treatment or

   3    consultation for treatment for those individuals.          As an

   4    extension of my practice, my private practice, I consult one

   5    half day a week at the Hilltop Life Adjustment program, which

   6    is a residential facility, akin to an assisted living facility,

   7    for survivors of trauma brain injury; I also have worked in the

   8    area of chronic pain management; and I currently have a

   9    contract to provide mental health services at Family Health

  10    West Hospital the equivalent of one day a month.         In addition

  11    to that I do presurgical psychological evaluations on patients

  12    that are applying for procedures like weight loss surgery or

  13    spinal cord stimulator surgery.

  14    Q.   Do you work with patients in addition with post-traumatic

  15    stress disorder?

  16    A.   I do.

  17    Q.   Complex regional pain syndrome?

  18    A.   Yes.

  19    Q.   Chronic pain?

  20    A.   Yes.

  21    Q.   Do you treat, diagnose, and determine causal connections

  22    regarding brain injuries, post-traumatic stress disorder, and

  23    chronic pain with your patients on a routine basis?

  24    A.   Yes, I do.

  25    Q.   Have you worked with any of the doctors that are involved
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 97 of
                                     199                                  306
                               John Gustavson - Direct

   1    with Ms. Houston's care and treatment before this case?

   2    A.   I have worked with Dr. Kenneth Lewis, who is a pain

   3    specialist and I know had some interest in trying different

   4    pain management strategies with Ms. Houston.         I have a close

   5    working relationship with Ellen Price, who has been involved in

   6    this case; I know of Lynn Price, who is a family physician in

   7    the Grand Junction area; I have worked with and shared patients

   8    with Dr. Ann Marie Collier, who is a neurologist; and I've also

   9    had some dealings with Dr. Kalat, the other neuropsychologist

  10    involved in this case.     And I think there are others.       I am

  11    aware that Ms. Houston has been participating in cognitive

  12    retraining therapy with a speech therapist at Family Health

  13    West, and I know that.     There may be others.

  14    Q.   How about Dr. Cota?

  15    A.   I only know him by name.     I received records from his care

  16    of Ms. Houston prior to my initial consultation, but I don't

  17    know him personally.

  18    Q.   How about Dr. Burnbaum, the neurologist?

  19    A.   I do know and have worked with -- in fact, my office is

  20    right next door to Dr. Burnbaum's neurology clinic, except that

  21    he moved away recently and opened an office in Fruita.

  22    Q.   Do you have a specialty?

  23    A.   Well, I advertise my specialty -- because I have an

  24    additional year of post-doctoral training in neuropsychology --

  25    as a specialist in the field of neuropsychology, which deals
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 98 of
                                     199                                  307
                               John Gustavson - Direct

   1    with a variety of aspects of injury and trauma and problems

   2    with the brain and central nervous system.

   3    Q.   What is the difference between a psychologist and a

   4    neuropsychology?

   5    A.   A clinical psychologist is more of an all-encompassing

   6    term.   It is designed -- the individual is designed -- trained

   7    and educated to treat patients who have all varieties of mood,

   8    emotional, behavioral, and mental health problems.          A

   9    neuropsychologist is typically a clinical psychologist who

  10    specializes in the treatment of brain trauma, brain injury, and

  11    evaluating and providing therapy for individuals, and that's in

  12    that particular subset of mental health problems.

  13    Q.   How much of your practice is psychology versus

  14    neuropsychology?

  15    A.   I would say probably 60 to 70 percent is general

  16    psychology, I see a variety of patients for variable kinds of

  17    problems; and then maybe 30 or 40 percent is focused on

  18    different aspects of neuropsychology.

  19    Q.   Can you tell us your educational background to become a

  20    psychologist and a neuropsychologist?

  21    A.   I have a bachelor's degree in psychology -- general

  22    psychology from Brigham Young University; I followed that

  23    with -- by earning a master's degree in school psychology from

  24    the same institution; and then I transitioned into the clinical

  25    psychology program also at Brigham Young University.            That's a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 99 of
                                     199                                  308
                               John Gustavson - Direct

   1    three-year academic program and one-year internship.          I

   2    completed my internship at the University of Nebraska Medical

   3    Center.   And then following my internship, I completed a

   4    post-doctoral fellowship, which was an additional year of

   5    study, focused solely on neuropsychology, also at the

   6    University of Nebraska Medical Center.

   7    Q.   Do you need to be fellowship trained in order to be a

   8    neuropsychologist, or is that the preferred path?

   9    A.   That is the preferred path.

  10    Q.   Okay.   Is there a board certification for neuropsychology?

  11    A.   Yes, there is.

  12    Q.   Are there many board-certified neuropsychologists, or most

  13    have chosen not to go through that route?

  14    A.   There are a few of whom I'm aware in the state of Colorado.

  15    But it's a special designation that requires extra work, and I

  16    think it's to the credit of the individual who has done that,

  17    but it's not necessary to practice as a neuropsychologist.

  18    Q.   What is your role in treating brain injury, post-traumatic

  19    stress disorder, chronic pain patients?

  20    A.   My initial role typically is an evaluative role.         That is,

  21    I get referrals from providers -- healthcare providers in the

  22    community, family physicians, neurologists, physiatrists --

  23    that would be doctors in the area of physical medicine and

  24    rehabilitation -- and other specialists who are interested in

  25    having me conduct an initial evaluation, sometimes called a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 100 of
                                     199                                   309
                               John Gustavson - Direct

    1   neuropsychological consultation.       That consists typically of a

    2   diagnostic interview; what we refer to as a mental status

    3   examination; and a gathering of data regarding an individual's

    4   background, their developmental history, academic and work

    5   history, relationship history, and that sort of thing.

    6              And then on the strength of that information, I

    7   prepare a -- I typically prepare a written report for my own

    8   benefit, as well as for reference to the referring physician.

    9   And ordinarily, I will describe a treatment plan, if one is

  10    necessary, which may involve psychological treatment, which

  11    takes on a variety of forms.       And if necessary, I may propose

  12    treatment in other areas of specialty, such as speech,

  13    occupational, or physical therapy.        And then I will typically

  14    follow up if needed in providing mental health counseling and

  15    psychological treatment for those individuals.          And whether

  16    it's a brain injury or post-traumatic stress disorder or

  17    chronic pain, the format is always the same.

  18    Q.   Do brain injuries, post-traumatic stress disorder, and

  19    chronic pain provide similar presentations of signs and

  20    symptoms?

  21    A.   Each is its own distinct entity, but there is an overlap.

  22    Q.   Can you describe that?      Can you explain?

  23    A.   Well, post-traumatic stress disorder has a constellation of

  24    symptoms that define the disorder.        And that would be things

  25    like exposure to a particular kind of trauma; intrusive
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 101 of
                                     199                                   310
                               John Gustavson - Direct

    1   symptoms like nightmares, flashbacks, things of that nature;

    2   then there is a tendency for the individual to avoid stimuli

    3   that remind them of the event or the situation that caused the

    4   trauma; and then there are typically changes in mood or

    5   personality as a result of that.

    6              Someone that has chronic pain, their presentation

    7   symptoms may overlap, in the sense that they can be depressed

    8   or have anxiety or change in life circumstances.          But typically

    9   the focus is on a localized injury, for example, low back,

  10    shoulder, knee, or foot.      With someone who has a brain injury,

  11    there has been an event or situation that has brought that

  12    individual to the attention of healthcare providers, often

  13    neurologists or neurosurgeons or physiatrists; and they want

  14    information that helps them to understand the nature and the

  15    extent of problems related to the brain injury.          And then

  16    they're looking for supporting treatment.         So there may also be

  17    mood, emotional, and personality changes that go along with a

  18    brain injury.     So there are some overlaps between those three

  19    clinical entities; but there are distinguishing

  20    characteristics, as well.

  21    Q.   Do all three present with cognitive issues?

  22    A.   No.

  23    Q.   Which ones would present with cognitive issues?

  24    A.   I should say, not necessarily; they may.        Individuals in

  25    each one of those categories may present with cognitive
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 102 of
                                     199                                   311
                               John Gustavson - Direct

    1   problems.    We don't necessarily see cognitive issues with

    2   chronic pain unless there are also significant mood and

    3   emotional overlay, depression, anxiety, and that sort of thing,

    4   which may interfere with the clarity or the efficiency of

    5   cognitive processes.

    6              There is an overlap, certainly, between post-traumatic

    7   stress disorder and brain injuries on the order of concussive

    8   head injuries, mild and moderate traumatic brain injuries, and

    9   so forth, in that it's not uncommon for people with either/or

  10    both of those syndromes to complain of forgetfulness,

  11    distractibility, inattention, difficulty concentrating,

  12    difficulty focusing, problems with loss of mental sharpness,

  13    mental efficiency.

  14    Q.   Are the treatments similar for all three when there is

  15    cognitive issues?

  16    A.   I would say there are appreciable differences.         With

  17    someone who has post-traumatic stress disorder, the focus of

  18    attention is on the stress, the residuals of the intrusive

  19    thoughts and memories and flashbacks and the exaggerated

  20    startle reaction and that sort of thing.         That becomes the

  21    greater focus in a therapeutic context.         Whereas, with somebody

  22    who has a brain injury, the emphasis may be on understanding

  23    the nature and the implications of the brain injury, depending

  24    on what kind of brain injury it was, what are the symptoms that

  25    go along with it?     I think the focus, at least from my
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 103 of
                                     199                                   312
                               John Gustavson - Direct

    1   perspective, with someone who has sustained brain injury has

    2   always been on helping them to understand, almost in a didactic

    3   way, because I want people that I treat to be as expert as they

    4   can be in understanding those kinds of problems, which gives

    5   them a greater tool to be able to learn coping strategies and

    6   ways of adjusting to that.

    7   Q.   How do you know what the diagnosis really is, and does it

    8   really matter what the actual name that you put on the

    9   diagnosis is?

  10    A.   That's an interesting question.       Because it seems to me

  11    that there are those who get caught up in the idea of "we need

  12    to make the most accurate diagnosis."        And whether somebody is

  13    suffering from acute stress disorder, post-traumatic stress

  14    disorder, prolonged grief disorder, all of which present in

  15    similar ways, and there are some physicians who think, we need

  16    to get the exact diagnosis.       From my perspective, it's more

  17    important to describe what the symptoms are.         And if we have a

  18    clear sense of what the difficulties -- the mood or the

  19    behavioral or the emotional difficulties are, we can direct our

  20    treatment at ameliorating those symptoms.

  21               But there are distinguishing features, for example,

  22    between post-traumatic stress disorder and traumatic brain

  23    injury.    Where the person has traumatic brain injury,

  24    typically, there was an event or a condition that resulted in

  25    the injuries, an individual striking their head or being struck
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 104 of
                                     199                                   313
                               John Gustavson - Direct

    1   on the head or sustaining a penetrating injury to the head, as

    2   if from, for example, a stabbing or a bullet wound or something

    3   of that nature.     Whereas, with post-traumatic stress disorder,

    4   there was an event or situation or prolonged exposure to some

    5   situation that was terrifying, upsetting, potentially

    6   dangerous, life threatening, or where other individuals may

    7   have been maimed or even lost their lives.         So the

    8   precipitating event, if you will, the situation that caused the

    9   trauma, becomes kind of the distinguishing feature.

  10    Q.   You also do psychotherapy and also test your patients;

  11    right?

  12    A.   I do both of those.

  13    Q.   Were you involved in the treatment of Ms. Houston?

  14    A.   I was.

  15    Q.   Are you still involved in treating Ms. Houston?

  16    A.   I am not.

  17    Q.   Are you aware that Dr. Lewis is sending her or wants you to

  18    treat her with regard to future implantation of the spinal

  19    stimulator?

  20    A.   I have been apprised that that is something that he is

  21    thinking of doing.     Yes.

  22    Q.   Okay.    How was Ms. Houston referred to you?

  23    A.   I was trying to figure that out, and I looked back at the

  24    intake materials when a call was initiated to my office.           And

  25    the very first time that happened, the call came from your
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 105 of
                                     199                                   314
                               John Gustavson - Direct

    1   office, Mr. Shapiro.      And I don't know if she got my name from

    2   your office and called and said, Mr. Shapiro has asked me to

    3   see you, or if someone from your office called and scheduled an

    4   appointment.     That's not clear.

    5               When Ms. Houston filled out the initial paperwork in

    6   my office, she said that the referral had come from her then

    7   orthopedic surgeon, Dr. Cota, and that he was the referring

    8   source.     And in conjunction with her enlisting in therapy in my

    9   office, I received copies of his notes.         So one or other or

  10    both of you.

  11    Q.   Okay.    Have we had other cases together?

  12    A.   Yes.

  13    Q.   How many, do you know?

  14    A.   One or two.

  15    Q.   In this case, what did you review in order to treat and

  16    formulate your opinions regarding Ms. Houston?

  17    A.   At the time that she came to my office, I had only received

  18    the office notes of Dr. Cota regarding her leg injury.           And I

  19    typically have -- when patients present in my office for the

  20    first time, I have a questionnaire that asks a lot of nosy

  21    questions about their history, upbringing, family life, prior

  22    history of mental health problems or treatment, history of

  23    alcohol or substance abuse, and a lot of other things; and I

  24    had Ms. Houston fill that out.       So I had that paperwork

  25    available to me, and reviewed those materials prior to meeting
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 106 of
                                     199                                   315
                               John Gustavson - Direct

    1   her face to face.     And then met with her in my office on the

    2   6th of June of 2017 for an hour-long what is sometimes called a

    3   diagnostic interview or just a clinical interview, where I go

    4   over the history of the problem -- that is, what happened --

    5   what is it that led up to her seeking psychological treatment;

    6   and I cover the areas that I mentioned about her prior history.

    7   And then I do what is called a mental status examination, where

    8   I consider such things as the clarity of her thinking, her

    9   speech, her orientation, whether or not she shows any evidence

  10    of disorganized thinking or psychotic symptoms and get a

  11    history of the symptoms that she is displaying, such symptoms

  12    as feelings of discouragement, helplessness, hopelessness,

  13    obsessive worry, and things of that nature.

  14    Q.   Since you've seen Dr. Cota's records, have you reviewed

  15    other records later on after your care of Ms. Houston?

  16    A.   I don't believe that I had any other records during the

  17    course of time that I was treating her; but subsequent to that,

  18    I have reviewed a stack full of records.

  19    Q.   Did you also review the raw data from Dr. Kalat, the

  20    defense neuropsychologist?

  21    A.   Yes.

  22    Q.   His reports, as well as Dr. Goldman's reports?

  23    A.   Yes.

  24                MR. SHAPIRO:   At this time, Your Honor, I'd move for

  25    the admission of Dr. Gustavson as an expert in the field of
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 107 of
                                     199                                   316
                               John Gustavson - Direct

    1   psychology and neuropsychology.

    2              MS. BOBET:   No objection.

    3              THE COURT:   The tender is accepted.      The doctor is

    4   qualified in this court in this case as an expert in psychology

    5   and neuropsychology.

    6              Go ahead, please.

    7              MR. SHAPIRO:    Thank you, Your Honor.

    8   BY MR. SHAPIRO:

    9   Q.   When did you first see Ms. Houston after the crash of

  10    December 1, 2016?

  11    A.   June 6, 2017, was the first time I had face-to-face contact

  12    with her.

  13    Q.   How many times did you see Ms. Houston for treatment?

  14    A.   In addition to my initial visit, I saw her for five

  15    sessions.

  16    Q.   When you first saw Ms. Houston, how did she present

  17    herself, and how was she physically?

  18    A.   She was hobbled by a leg injury, and she was using a crutch

  19    for support as she walked in.       My impression was that she was

  20    pleasant, cooperative, appropriately engaged in our discussion.

  21    I ascertained that she had a number of symptoms that suggested

  22    to me that she was suffering from an emotional disorder.           I

  23    chose to -- based on that set of symptoms, diagnose

  24    post-traumatic stress disorder.       Those symptoms included such

  25    things as having intrusive memories and flashbacks of the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 108 of
                                     199                                   317
                               John Gustavson - Direct

    1   accident.    She was unable to drive at the time partly because

    2   of her leg injury and partly because she had a phobia that

    3   was -- she was afraid to try to operate a vehicle.          She

    4   described to me anxiety, a sense of worry and foreboding, as

    5   well as a tendency to have an exaggerated startle reaction to

    6   things that reminded her of her accident.

    7   Q.   Was she using crutches or a cane all the way through your

    8   care and treatment?

    9   A.   No.   She gradually weaned away from -- seemed like she used

  10    a crutch for a while; then she transitioned to a cane; and on

  11    or about the last session, she was walking independently,

  12    although she was wearing some kind of support garment on her

  13    foot.

  14    Q.   You gave part of the history.       Can you give us the history

  15    and the reason Ms. Houston was there to see you?

  16    A.   I'm referring to my neuropsychological consultation of

  17    June 6, 2017.     She had told me about the automobile accident of

  18    12/1/2016, where it had happened, some of the circumstances of

  19    the accident.     She said that she was wearing restraints; that

  20    the airbag of the vehicle had deployed; she described some

  21    things that happened immediately after the accident on the

  22    scene; and her acute care hospitalization, surgery that she

  23    underwent on her leg; and how she was then transitioned to a

  24    post-acute recovery center.       So she gave me the history of

  25    that, told me that she was still seeing a physical therapist in
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 109 of
                                     199                                   318
                               John Gustavson - Direct

    1   the office of her orthopedic surgeon.        She told me that she

    2   felt like she was making reasonable progress, and she gave me a

    3   list of what I would consider to be the primary symptoms that

    4   she was experiencing, they included such things as reliving the

    5   accident, feeling depressed, having a lot of pain, being unable

    6   to drive.

    7              And then after those present -- what I would call

    8   presenting symptoms, she gave me a history of what it was like

    9   growing up, her academic work, what kind of employment she had

  10    done, relationship history, other mental health, medical and

  11    mental -- and medical history.       Then as I had mentioned

  12    earlier, I did a mental status examination.         And then I sort of

  13    cobbled together all of my thoughts and came up with what I

  14    thought was a reasonable diagnosis and proposed treatment

  15    plan.

  16    Q.   What was significant in her past medical history, if

  17    anything?

  18    A.   She said she was in good health, aside from seasonal

  19    allergies.    She told me that she had history of surgery for

  20    tonsils and a tubal ligation and then the surgeries related to

  21    her automobile accident and that she was on medication for pain

  22    management.    Otherwise, it was what I would consider fairly

  23    unremarkable.     She was in pretty good health.

  24    Q.   Did you subsequently learn about any history of

  25    psychological counseling sometime in her past?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 110 of
                                     199                                   319
                               John Gustavson - Direct

    1   A.   I would sort of classify that at a mental health history.

    2   Q.   All right.

    3   A.   Which I would distinguish from medical history.         And

    4   Ms. Houston told me that she had had cognitive behavioral

    5   counseling for low self-esteem in her 20s, which she related to

    6   the way she had been treated by her mother.         And she told me

    7   that she had taken Paxil, which is an antidepressant, at that

    8   time.

    9   Q.   Anything else in her past psychological or mental health

  10    history?

  11    A.   She had no history of alcohol or substance abuse, did not

  12    use nicotine, and had no history of recreational drug use.

  13    Q.   Did you have any information about a divorce in 2005 and

  14    some psychological treatment for a period of time with Kaiser?

  15    A.   She told me she had been married twice.        The first time for

  16    four years, but her husband filed for divorce for unspecified

  17    reasons; and a second marriage ended after two years because of

  18    incompatibility.     And she told me that she had been on her own

  19    since her early 40s.      She was 55 at the time she came to see

  20    me, so that would have been 15 -- 13, 14, 15 years earlier.

  21    She did not tell me about counseling that she had regarding

  22    that divorce.

  23    Q.   Okay.   Did you subsequently see those prior Kaiser

  24    counseling notes, and what was significant for you in

  25    helping -- excuse me -- in formulating your opinions?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 111 of
                                     199                                   320
                               John Gustavson - Direct

    1   A.   I had been provided copies of notes from that counseling,

    2   and it was clear that she had been going through some

    3   adjustment and emotional issues at that time, and that she

    4   underwent treatment.

    5   Q.   Okay.   Did you also have a chance to review a

    6   neuropsychological evaluation after the crash by Dr. Jacob

    7   Jones?

    8   A.   Yes.

    9   Q.   Was there anything significant about that assessment?

  10    A.   It was unimpressive.

  11    Q.   Okay.   What is the significance -- why do you say that, it

  12    was unimpressive?

  13    A.   Well, it was not particularly thorough.        It seems like it

  14    was an evaluation that was done for purposes of application for

  15    disability benefits.      And I -- I could not tell that Dr. Jones

  16    had reviewed any medical records and that he had accepted

  17    everything that Ms. Houston had told him at face value -- and

  18    some of which may not have been supported by the evidence --

  19    and that his test findings seemed a little spurious.           So that

  20    is to say, I just did not put a lot of confidence in that

  21    evaluation.

  22    Q.   That was going to be my next question.        What was

  23    significant in her prior health and mental health history when

  24    you were assessing and determining how to treat her after the

  25    crash and formulating your opinion?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 112 of
                                     199                                   321
                               John Gustavson - Direct

    1   A.   With respect to health history, she seemed to be in

    2   relatively good health prior to the December 1, 2016, accident.

    3   She had conveyed to me that she was a professional in the area

    4   of executive coaching and that she had had some success doing

    5   that.   She impressed me as being relatively bright and

    6   insightful.    So with respect to overall health and functional

    7   status, I got the impression that she was fairly high

    8   functioning, all things told.

    9              With her mental health history -- and we didn't get

  10    into the counseling too much, that counseling that she had

  11    prior -- except that she had had a difficult time with her

  12    mother.    And when her parents divorced, she told me that she

  13    had gone to live with her father, which was a little bit

  14    unusual, but suggested to me that there was some kind of

  15    friction or caustic relationship between her and her mother

  16    that would have caused her to make that decision or maybe the

  17    court to make that decision.       She told me she characterized her

  18    counseling in her early 20s as to work on self-esteem issues

  19    that were a product of this dysfunctional relationship she had

  20    with her mother.     It seemed like later data, after I completed

  21    my treatment with Ms. Houston, suggested that she may have had

  22    symptoms of -- similar to post-traumatic stress disorder

  23    related to those early events in her life.

  24    Q.   Was there any indication in the records of prior

  25    depression?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 113 of
                                     199                                   322
                               John Gustavson - Direct

    1   A.   Yes.    The records indicated that she was depressed.

    2   Q.   Where?    What time frame?

    3   A.   I don't recall.

    4   Q.   Okay.    Was there any prior abuse?

    5   A.   I'm sorry?    Prior abuse?

    6   Q.   Yes.

    7   A.   It seemed like it made reference to an abusive relationship

    8   with her mother.

    9   Q.   Does her prior medical as well as psychological history

  10    create a predisposition of vulnerability with subsequent

  11    trauma, like the crash in question?

  12    A.   There is a general rule of thumb in the field of

  13    psychological treatment that it's important to understand the

  14    nature and the implications of mental health events or

  15    circumstances that occurred earlier in a person's life.           So if

  16    the person is -- a child was abused -- let's say an adult woman

  17    who may have been abused as a child by a parent -- that that is

  18    something that we need to understand and include in our

  19    assessment and treatment of the patient, because events like

  20    that can shape a person's view of themselves or view of the

  21    world or their capacity for trust or developing warm,

  22    companionable relationships with people.         So it's important to

  23    know that.

  24                My impression at the time that I saw Ms. Houston was

  25    that in the years predating her automobile accident, that she
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 114 of
                                     199                                   323
                               John Gustavson - Direct

    1   had functioned fairly well.       And if she had had problems in the

    2   past, that they had been in remission -- that is, that she had

    3   dealt with them, and they were not ongoing.

    4              So in reference to your question in particular, she

    5   had problems that I think predated her -- the problems she

    6   developed after her automobile accident, but she was not

    7   experiencing depression or adjustment or emotional difficulties

    8   at the time she got hurt.

    9   Q.   Was there any indication of prior cognitive deficits before

  10    the crash?

  11    A.   Not that I recall.

  12    Q.   Any prior disabilities before the crash?

  13    A.   No.

  14    Q.   What specific facts did you have regarding the crash, and

  15    how did that assist you in formulating opinions and treating

  16    Ms. Houston?

  17    A.   I had the report of the orthopedist, as I mentioned

  18    earlier; and then I had Ms. Houston's description, which seemed

  19    to correlate with the information in the record.          And those

  20    were the main sources of material that I used in formulating my

  21    treatment plans.

  22    Q.   What were those facts, and how did they assist you?

  23    A.   That she had had a serious and debilitating injury to her

  24    leg, and she had had a couple surgeries.         Something called an

  25    open reduction and internal fixation on her ankle that was
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 115 of
                                     199                                   324
                               John Gustavson - Direct

    1   fairly complex, and that she had had a surgery on her knee.

    2   And that the expectation was that she would require a year to

    3   rehabilitate, and that she may have lingering pain from that

    4   injury.

    5   Q.   Why was that important in helping you treat and formulate

    6   opinions for her?

    7   A.   Two issues.    One is that persistent pain can take its toll

    8   on one's outlook, their sense of hope, their mood.          Rarely have

    9   I met someone who suffers chronic unremitting pain who is not

  10    also discouraged, frustrated, or depressed; so that was an

  11    issue.    The other is, if this injury left her with, you know,

  12    life-altering changes -- for example, a permanent limp or

  13    difficulty walking or exercising -- that that would have an

  14    effect in terms of reshaping -- forcing her to reshape her view

  15    of herself as a person and causing her to make adjustments in

  16    her living circumstances, daily routine, and activity patterns,

  17    and that that would bear on her mood and her emotional state.

  18    Q.   Why is that?

  19    A.   I think it's fair to say that anyone who experiences a

  20    major life-altering event has to deal with that in some form or

  21    fashion.

  22    Q.   What is the impact of chronic pain on a person's cognition,

  23    as well as their psychological reaction?

  24    A.   Well, I'll start with the psychological reaction first.

  25    And chronic pain, as I mentioned a few moments ago, has a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 116 of
                                     199                                   325
                               John Gustavson - Direct

    1   corrosive effect on one's mood.       People that suffer persistent

    2   pain that does not abate, it gets discouraging, it's

    3   disheartening, it's frustrating, it causes them to have to

    4   remold their sense of who they are and how they deal with life.

    5   And it's very common for those individuals to suffer depression

    6   or anxiety, to have to take medication, or seek psychological

    7   therapy for those problems.

    8               The problem with pain and cognition is that -- well,

    9   there are two issues.      One is that depression -- chronic

  10    depression, in particular -- can have a disruptive effect on

  11    such things as memory, concentration, attention to detail, and

  12    that sort of thing.     And then in addition to that, the effect

  13    of pain -- if you could imagine, let's say hypothetically,

  14    someone poking you in the back with a cattle prod.          You know,

  15    that happens all the time.       It not only hurts, but it's

  16    distracting, and you have trouble concentrating.          If you're not

  17    concentrating, you're not remembering and consolidating

  18    information; and so it can -- it can compromise the sharpness

  19    of one's thinking and the efficiency of one's cognitive

  20    function.

  21    Q.   After the initial few visits, did you form an impression or

  22    diagnosis with regard to Ms. Houston?

  23    A.   I diagnosed her with post-traumatic stress disorder.

  24    Q.   Why?

  25    A.   She had the array of symptoms that correlates with that.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 117 of
                                     199                                   326
                               John Gustavson - Direct

    1   Q.   Is that opinion to a reasonable degree of

    2   neuropsychological or psychological probability?

    3   A.   Yes.

    4   Q.   What were you able to do in your visits with her to assist

    5   her, and were you helpful?

    6   A.   One really needs to understand, with an injury of the kind

    7   that she sustained, where there is severe orthopedic injury,

    8   that the primary focus in the aftermath of that kind of

    9   accident, the -- the focus tends to be on physical recovery.

  10    And so attention is paid to the mending of the bone and the

  11    physical rehabilitation, the ability to walk without

  12    assistance, to get around.       And so part of my role as her

  13    therapist was to provide support during that recovery time and

  14    to engage in therapy that was encouraging her to retain a sense

  15    of hope, a sense of promise about the future, a sense that

  16    we're going to get through this, at some point that she would

  17    be back on her feet, be able to return to driving and normal

  18    activities.

  19                And so part of therapy was designed to help

  20    desensitize her to the anxiety that she had about driving.            And

  21    over the course of time, she gradually improved in her ability

  22    to drive, to be in a car, and to not be waylaid by anxiety or

  23    startle reaction, that sort of thing.        So that was one piece of

  24    therapy.

  25                The second part was to deal with the psychological
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 118 of
                                     199                                   327
                               John Gustavson - Direct

    1   trauma.    That would be such things as the intrusive thoughts

    2   and the flashbacks and the avoidant behavior that she developed

    3   and the depression and those kind of things.         And my general

    4   thinking in therapy tends to be on the conservative side.           In

    5   other words, while there is a concept in mental health

    6   treatment that is sometimes referred to as the

    7   least-restrictive or the least-aggressive alternatives, and

    8   that is, you know, you don't crack a nut with a sledgehammer.

    9   You -- if there is something that can be handled through talk

  10    therapy rather than putting somebody on medication, then you do

  11    talk therapy.     If that doesn't work, then you may want to add

  12    medication.    For example, in the case of severe depression, if

  13    that doesn't work and the person is in crisis, maybe you would

  14    look at psychiatric hospitalization.

  15               My approach was to be relatively conservative and

  16    gentle and supportive.      I wanted her to understand -- I wanted

  17    Ms. Houston to understand the nature and the effects of

  18    post-traumatic stress disorder.       I recommended some reading

  19    material to her.     And, you know, based on my understanding of

  20    her professional background as a personal or an executive coach

  21    and her training in college and so forth, I felt like she had

  22    the academic or intellectual ability to understand and benefit

  23    from that.    So she participated in reading that material,

  24    because my understanding, it gives us greater ability to master

  25    whatever problems we may be facing.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 119 of
                                     199                                   328
                               John Gustavson - Direct

    1              We worked on what we call systematic desensitization,

    2   which is exposing the person to the kinds of things that are --

    3   that would be upsetting or anxiety provoking and getting them

    4   used to that.     You know, there is a sort of a -- what I call

    5   grandma's wisdom about, if you get bucked off the horse, get

    6   back in the saddle kind of thing.        Because if you stay away

    7   from it, you're going to be afraid of horses the rest of your

    8   life.   And I think that's a sort of crude way of saying it; but

    9   the idea is get a person back to the normal activities that

  10    they were doing before, including driving, and by doing that,

  11    by making headway, by gaining ground, by improving those areas,

  12    then you anticipate that the other problems will subside with

  13    time.

  14               And so as I look back through my notes about the

  15    sessions we had together, it felt like Ms. Houston was very

  16    motivated, she was engaged in the therapy process, she

  17    gradually increased her ability to do things, and by the last

  18    session had made what I would consider a fairly substantial

  19    drive on the interstate highway from one end of the Valley to

  20    another to attend some function.       And she felt pretty pleased

  21    with her accomplishment.      So we considered progress that she

  22    had made, and she felt like she was in a good place.           And she

  23    was interested in exploring some other avenues of self-growth,

  24    and by mutual agreement we decided not to schedule any further

  25    sessions at that point.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 120 of
                                     199                                   329
                               John Gustavson - Direct

    1   Q.   What was the book that you got her or gave her to read?

    2   A.   It was a best-selling book by Bessel van der Kolk called

    3   The Body Keeps the Score.      And he is a well-known expert in the

    4   field of post-traumatic stress disorder and wrote this book

    5   several years ago.      It became a best seller and one of the

    6   top-rated books.     And it gives a clear and detailed description

    7   of the nature and effects of PTSD, gave some -- the book gives

    8   some fairly detailed examples of individuals who have

    9   experienced that and methods of treating that disorder.

  10    Q.   Did that book help Ms. Houston, and did you discuss that

  11    with her so -- so you understood she had read it and sort of

  12    got it?

  13    A.   She told me that she had read parts of it and that it was

  14    instructive to her and helped her to understand what she was

  15    going through at the time.

  16    Q.   What is the impact, Doctor, of continual issues with pain

  17    on your psychological makeup or your psychological reaction as

  18    well as your cognitive reaction?       What I mean by that is, what

  19    happens when pain goes up, and what happens when pain goes

  20    down, and how does that impact psychological as well as

  21    cognitive issues?

  22               MS. BOBET:   Objection, Your Honor.      Form and

  23    foundation.

  24               THE COURT:   Overruled.

  25               THE WITNESS:    There are three aspects of pain which
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 121 of
                                     199                                   330
                               John Gustavson - Direct

    1   are important as I treat someone with persistent, severe pain.

    2   One aspect is the intensity of the pain; how bad is it?           On a

    3   scale one to ten, where would you rate your pain?          The second

    4   dimension of pain is, how frequently does it happen?           Does it

    5   happen three times a day; does it happen once a week; how often

    6   do you have occurrence of the pain symptoms, whether it's low

    7   back pain or migraine headaches or something like that?           And

    8   the third dimension is the duration; how long does it last?

    9   Let's say you have a spasm in your back that is debilitating to

  10    you, this will last for five minutes or five hours or five

  11    days.

  12               The question that you asked referred to the variable

  13    nature of pain, that sometimes it's better, sometimes it's

  14    worse.   If an individual can gain some understanding of what

  15    are the events that make the pain worse, then they have some

  16    capacity to manage that.      You know, if they understand that

  17    bending, squatting, lifting, twisting, turning, reaching, or

  18    whatever it is makes the pain worse, then they can make some

  19    adjustments.    Perhaps I shouldn't -- because I have low back

  20    pain, shouldn't lift more than 20 pounds at a time.          And that

  21    allows a person some control.       If, on the other hand, the pain

  22    comes and goes without any identifiable precipitant -- that is,

  23    sometimes it comes on out of the blue, and sometimes it goes

  24    away for no particular reason -- that leaves a person with a

  25    sense of helplessness.      I don't have any control, I'm at the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 122 of
                                     199                                   331
                               John Gustavson - Direct

    1   mercy of this pain, and it creates a condition that we in

    2   psychology refer to as learned helplessness.         It's the feeling

    3   that, I'm at the mercy of my pain, or I'm at the mercy of my

    4   circumstances, or nothing I do makes a difference.          And that is

    5   one of the core features of depression, a sense of

    6   helplessness, a sense of powerlessness.

    7              If a person has a grasp on things that help -- heat

    8   helps, sitting in a hot tub helps, wearing a pressure garment

    9   helps, using a -- what is called a TENS unit -- transcutaneous

  10    electrical nerve stimulating unit -- if that helps, then

  11    they've regained a sense of control.        I can do something that

  12    will promote a positive change with one or more of those three

  13    dimensions that I mentioned, the intensity or the frequency or

  14    the duration.

  15               So, you know, it's a complicated question.        But I

  16    think the short answer is that it is variable, and it affects

  17    different people in different ways.

  18    BY MR. SHAPIRO:

  19    Q.   Did you determine what her motives or goals were in working

  20    with you?

  21    A.   She wanted to return to normal life.

  22    Q.   Did you feel she met her goals -- the goals in working with

  23    you during the time she treated with you?

  24    A.   No.

  25    Q.   Why not?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 123 of
                                     199                                   332
                               John Gustavson - Direct

    1   A.   She was making progress, but she wasn't there yet.

    2   Q.   Was she cured?

    3   A.   No.

    4   Q.   Did you feel Ms. Houston has or had a traumatic brain

    5   injury?

    6   A.   That was not a conclusion that I came to.

    7   Q.   Why not?

    8   A.   There was no evidence to support, in my opinion, that she

    9   had suffered physical or mechanical forces that would have

  10    caused damage to her brain.

  11    Q.   Were you aware -- I want to ask you what these items mean

  12    to you.    If the EMT at the scene said that she was slow to

  13    respond to questions to the point that it had to be repeated?

  14    A.   My reaction to that is that's fairly typical following an

  15    accident that creates trauma.       People are confused, distracted;

  16    and to say that somebody is slow to respond would not

  17    necessarily mean anything in particular, unless it was

  18    something that persisted over time.

  19    Q.   How about light-headed and lethargic?

  20    A.   My answer would be the same.      Again, light-headedness can

  21    be a psychological reaction; it can be a sense that what just

  22    happened is kind of bewildering, and I'm having a hard time

  23    getting my bearings; it can mean several different things.

  24    Lethargic simply means that she seemed tired or worn out.

  25    Q.   Okay.   Did she present with similar symptoms to a traumatic
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 124 of
                                     199                                   333
                               John Gustavson - Direct

    1   brain injury?

    2   A.   Are you talking about on the scene or in the course of my

    3   work with her?

    4   Q.   The course of your work with her.

    5   A.   She had -- I will say that she had cognitive complaints,

    6   symptoms of decreased mental efficiency.

    7   Q.   And is the reason that you are not diagnosing or felt that

    8   there was a traumatic brain injury because she didn't have the

    9   beginning?

  10    A.   Well, there are two things.      One, in order to diagnose TBI,

  11    there has to be a specific event -- a person struck her head on

  12    the steering wheel or she was thrown from the vehicle and hit

  13    her head on a rock or she had an indication of severe whiplash

  14    or -- so there had to be some kind of physical or mechanical

  15    force applied to the head in order for someone to suffer a

  16    concussion.

  17               Secondly, one looks at evidence from radiologic

  18    studies or early workups in the emergency room, maybe a CAT

  19    scan or an MRI scan or something like that that would signify a

  20    person has had brain trauma; and I saw no evidence of that.

  21               And the third was, you know, ongoing symptoms.         You

  22    know, a person that has PTSD will often complain that, I'm not

  23    remembering things, I can't focus, I don't feel as sharp as I

  24    used to, but to recognize that may or may not be related to

  25    brain trauma, per se.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 125 of
                                     199                                   334
                               John Gustavson - Direct

    1   Q.   What about when orthopedic injuries distract a person or

    2   prevent them from using their head for a while, and then they

    3   use their head, let's say, weeks or months later and notice the

    4   cognitive issues, is that uncommon, common, and what does that

    5   mean to you?

    6   A.   First of all, it's not uncommon.       A person has some kind of

    7   major injury, and a person in the aftermath of that injury

    8   focuses on the physical recovery.        You know, I'm waiting for my

    9   leg to heal, or my pelvis was broken, and I'm going to be in a

  10    wheelchair, and I want that to get better; I want to feel

  11    healthier; I want to improve my ability to walk around.           And so

  12    early in the course of an injury, that tends to be the primary

  13    focus, and it's -- after we see an improvement in those

  14    symptoms, then a person may be more aware of lingering

  15    cognitive difficulties, changes in their mental faculties and

  16    so forth.

  17               So let's say, for example, a certified public

  18    accountant, who is used to doing a lot of detailed work and

  19    organizing information, crunching numbers and all of that, has

  20    a head injury, and they are in the hospital, and they've also

  21    broken their leg.     And their initial recovery course focuses on

  22    physical therapy and rehabilitation, and their thinking or

  23    their cognitive functions start to clear up.         Then they go back

  24    to work, and they find that, I'm not concentrating like I used

  25    to, and I'm not putting things together, and I'm not
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 126 of
                                     199                                   335
                               John Gustavson - Direct

    1   remembering the details of conversations on the telephone, and

    2   it -- it is only then that -- it's not that their cognitive

    3   functions have gotten worse -- because we don't expect that,

    4   after a concussive head injury -- but it's that they become

    5   more apparent as a person has engaged in the kinds of tasks

    6   that require a greater sense of mental sharpness and mental

    7   activity.

    8   Q.   Do you need -- do you have to have loss of consciousness or

    9   a head strike to diagnose a TBI?

  10    A.   You don't have to have a head strike, per se, and you don't

  11    have to have loss of consciousness, but the accepted wisdom is

  12    you have to have some alterations in consciousness that result

  13    from some kind of physical activity -- physical force.

  14               For example, shaken baby syndrome.       You know, a baby

  15    may experience brain damage as a result of being shaken

  16    violently.    There is no -- the head didn't strike anything,

  17    it's just that the activity of the shaking caused the brain to

  18    impact parts of the skull and caused the damage.

  19    Q.   What does alteration of consciousness mean?

  20    A.   That means a period of time when they lost their sense of

  21    awareness and their orientation, and they may seem spacy or

  22    delirious, and they may have trouble remembering details of the

  23    event or the accident.

  24    Q.   Doctor, when a patient has post-traumatic stress disorder,

  25    does that create organically based changes with the physiology
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 127 of
                                     199                                   336
                               John Gustavson - Direct

    1   to the brain?

    2   A.   Yes.

    3   Q.   Are those changes similar to a traumatic brain injury?

    4   A.   The changes in terms of the symptoms that a person would

    5   show are very similar.

    6   Q.   Are those changes permanent?

    7   A.   Not necessarily.

    8   Q.   Is post-traumatic stress disorder permanent?

    9   A.   Well, the more complex answer to that question is that if a

  10    person has post-traumatic stress disorder, it has a shaping

  11    influence on the rest of your life.        And a person never -- that

  12    has had that kind of experience never returns to what I would

  13    call their pretrauma state, that there are always going to be

  14    some effects.     On the other hand, people that have PTSD get

  15    better.     And, you know, with the right kind of therapy and

  16    right circumstances, they can return to what I would call near

  17    normal functioning and live fulfilling, productive lives.

  18    Q.   Is there a magic pill that would take care of or cure

  19    post-traumatic stress disorder?

  20    A.   There is not only no magic pill, there is no actual pill to

  21    fix post-traumatic stress disorder.        There are medications that

  22    will help with the mood or the emotional or the personality

  23    changes that enable a person to recover more completely, but

  24    there is no -- there is no pill or potion or procedure that

  25    makes it all better.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 128 of
                                     199                                   337
                               John Gustavson - Direct

    1   Q.   What kind of treatment can assist a patient that has

    2   deficits from post-traumatic stress disorder and the

    3   physiological changes to their brain?

    4   A.   I'm going to clarify your question by saying that the

    5   research is real clear in showing that people who have PTSD as

    6   well as chronic depression or chronic anxiety disorders will

    7   often show changes in brain biology or brain physiology.           And

    8   that's not based on some obscure article in some Scandinavian

    9   neurology journal.     That is replete throughout the literature,

  10    that there are changes that take place in the brain, for

  11    example, in an area called the amygdala, which is the seat of

  12    your flight or fight response, will become overactive with

  13    PTSD, leaving a person hypervigilant and worry filled and

  14    always expecting something bad to happen.

  15               We know that an area of the brain called the

  16    hippocampus, which is responsible for short-term memory, there

  17    are changes that have been documented in the hippocampus of

  18    people that have chronic PTSD or depression; and, therefore, it

  19    seems to correlate with the capacity to retain new information,

  20    to remember things in the short term.        We know that there are

  21    changes that take place to the -- what is called the prefrontal

  22    cortex.    It's at the very front of the brain.        It's the part of

  23    the brain that allows us to plan ahead and think and regulate

  24    our emotions and control our behavior and so forth.          So we know

  25    based on radiologic studies -- these would be things like MRI
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 129 of
                                     199                                   338
                               John Gustavson - Direct

    1   and PET scans and SPECT scans of the brain -- that these

    2   changes take place.

    3              So the conventional thinking is that if you treat the

    4   PTSD where a person is also complaining of these cognitive

    5   difficulties, that as the PTSD improves, that there should be

    6   some improvement in those mental faculties, that attention

    7   should improve.     And the capacity to stay focused and to be

    8   free of distraction and to remember things, those should

    9   improve as, well.     And I think the medical research supports

  10    that, as well.

  11    Q.   Is it a good idea to consider psychostimulants or cognitive

  12    therapy with PTSD where there is cognitive difficulties.

  13    A.   There are medications that are designed -- they have had

  14    their greatest impact on people who have a condition called

  15    attention deficit disorder; and that stimulants, medications

  16    like Ritalin or Adderall or Dexedrine, will improve the

  17    cognitive function of those individuals.         They have also been

  18    used in a clinical setting with patients that have traumatic

  19    brain injury with some benefit.       And for people who are

  20    distracted and unfocused and they feel like their brain is not

  21    firing on all cylinders, taking a stimulant can have beneficial

  22    effects.    I would say that it's typically a trial-and-error

  23    kind of thing, let's see if this works, and some people report

  24    an improvement.

  25               And I would say as an addendum to that, that research
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 130 of
                                     199                                   339
                               John Gustavson - Direct

    1   has shown that any kind of stimulant, even something like

    2   caffeine, can help improve the sharpness of somebody's mental

    3   abilities.    Those of you who are coffee drinkers know that

    4   first thing in the morning you're not up to par until you've

    5   had your first cup of coffee.       And research shows that college

    6   students, if they have a cup of coffee before they go in for a

    7   test will tend to do better than if they don't.

    8              So stimulants, they stimulate the brain; they help the

    9   brain do more efficiently what it may not be doing either as a

  10    result of fatigue or brain injury or emotional issues.

  11    Q.   Now, you've seen Ms. Houston's neuropsychological testing

  12    that was done by Dr. Kalat.       Do you believe that the deficits

  13    that appeared on that testing would benefit from a

  14    psychostimulant and/or cognitive therapy?

  15    A.   I would say that's an empirical question.         I think it would

  16    be a worth a try.

  17    Q.   Okay.

  18    A.   But whether or not it truly makes a difference would have

  19    to be evaluated.

  20    Q.   Thank you.    Did you also consider the amount of gabapentin

  21    that she was taking as a factor in the problems that you were

  22    seeing?

  23    A.   I did not.

  24    Q.   Okay.   Did --

  25    A.   Gabapentin was prescribed for pain management.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 131 of
                                     199                                   340
                               John Gustavson - Direct

    1   Q.   Okay.   Does gabapentin indicate -- cause cognitive issues?

    2   A.   It can, because it works on the central nervous system.

    3   But one must evaluate the costs versus the benefits.           If

    4   gabapentin is helping peripheral nerve pain, then that should

    5   have an enhancing effect on cognitive functioning.          So less

    6   pain, better mental clarity.       On the other hand, some people

    7   say, you know, it sort of makes me feel cloudy or tired or

    8   something when they take it.       Certainly, if that is a side

    9   effect, it would correlate with the administration of the

  10    medication, then one must consider, are the benefits of this

  11    more important than the side effects?

  12    Q.   When you completed your treatment with Ms. Houston, within

  13    a reasonable degree of neuropsychological probability, what was

  14    your prognosis?

  15    A.   I not only was hopeful, I expected she would continue to

  16    make improvement, for a couple of reasons.         One is, this is a

  17    woman who was very health conscious, very concerned with doing

  18    the sorts of things that would promote her health and

  19    well-being.    You know, optimal nutrition, optimal activity.

  20    And she had discussed some other avenues of treatment, a

  21    retreat somewhere, and some kind of healing groups and things

  22    of that nature.     And I thought, this is a woman who is choosing

  23    to take charge of her own wellness; and, you know, more power

  24    to you.

  25               The other thing is that this is a woman who is a
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 132 of
                                     199                                   341
                               John Gustavson - Direct

    1   fairly accomplished professional and in my opinion had a good

    2   grasp of coping tools and strategies for helping people improve

    3   and enhance their lives and that she would certainly be in a

    4   position to apply those to her own life.

    5              And so based on my impression that, as of our last

    6   session, she said, you know, I feel like I'm on a good path,

    7   I'm getting better, and I'm not -- you know, I'm all in favor

    8   of supporting that.     Coupled with the other things that I just

    9   mentioned, I was hopeful that her situation would continue to

  10    improve over time.

  11    Q.   What was the impact or what did you think the impact was

  12    going to be on her continued chronic pain and the levels of

  13    pain that she may or may not continue to have on her cognitive

  14    recovery and her PTSD recovery?

  15    A.   She had explained to me when she first came in that they

  16    expected that it would take a year for her leg to heal.           And by

  17    the time I completed my therapy with her, that year had not

  18    concluded.    I'm not an orthopedist, I'm not a pain management

  19    doctor, so I was not in a position to make a prediction about

  20    the continuing nature of her pain.        But if, indeed, the pain

  21    were to continue to improve over time, I would have expected

  22    her cognitive abilities to improve correspondingly.          If on the

  23    other hand -- although I did not anticipate this -- but if on

  24    the other hand her pain had persisted or failed to improve or

  25    for some reason had gotten worse, I would have expected that to
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 133 of
                                     199                                   342
                               John Gustavson - Direct

    1   have an adverse effect on her mental faculties.

    2   Q.   Doctor, you're aware that after your care and treatment,

    3   Ms. Houston continued care and treatment with Dr. Edith

    4   Johnston?

    5   A.   I am.

    6   Q.   Did you think that was a good idea, for her to continue to

    7   get care with Dr. Johnston?

    8   A.   As I had mentioned earlier, this is a woman who is

    9   concerned with her health and quality of life.          And if she has

  10    continuing problems, then seeking additional mental health

  11    therapy would have been a good idea.

  12    Q.   I want to ask you this about Ms. Houston:         Would you say

  13    she was a skeptic, an optimist, a minimizer, a maximizer in

  14    your experience with her?

  15    A.   My general impression -- and I'm limiting this comment to

  16    the time that I worked with her -- was that she was optimistic.

  17    She seemed to be pretty directed in recovering her health and

  18    was hopeful about the outcome and looked at the future in a

  19    positive way.

  20    Q.   In the testing that you reviewed by Dr. Kalat, was there

  21    any indication of her overpresenting or -- what's the better

  22    word -- maximizing or overshowing her psychological or pain

  23    issues?

  24    A.   He -- Dr. Kalat did some personality testing, which showed

  25    that she tended to focus disproportionately -- that is,
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 134 of
                                     199                                   343
                               John Gustavson - Direct

    1   compared to other people -- on physical symptoms and that

    2   because of her personality makeup or her mood, that her

    3   attention to pain and body and health functions was exaggerated

    4   from the norm.

    5   Q.   Do you agree with that?

    6   A.   I don't disagree with the results of the testing.          The test

    7   measures that Dr. Kalat gave pick up on those kind of qualities

    8   of an individual's personality and thinking.         It was not

    9   consistent with the version of Ms. Houston that I saw when I

  10    was working with her, because she didn't spend a lot of time

  11    complaining and ruminating and bemoaning her physical injury.

  12    Her interest was on getting better.

  13    Q.   What would you expect if years later these problems still

  14    existed in how she would present?

  15    A.   If the problems continued unabated or if they worsen, that

  16    would have a demoralizing effect on an individual's mental

  17    state.   And one may in that situation tend to become more

  18    focused, more preoccupied on physical symptoms -- I'm hurting

  19    all the time; my pain doesn't go away; I don't get any relief;

  20    it's not getting any better -- and that would tend to leave a

  21    person feeling discouraged and frustrated.

  22    Q.   When you do that testing, and a person really is having

  23    those physical issues, and they're continuing at a fairly high

  24    level, isn't that what you would expect from the test results?

  25               MS. BOBET:   Objection, Your Honor.      Leading.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 135 of
                                     199                                   344
                               John Gustavson - Direct

    1              THE COURT:   It is.    He's been doing that, and I'll

    2   overrule it, but no more leading after this.

    3              You can answer the question.

    4              THE WITNESS:    The personality testing that Dr. Kalat

    5   administered measures one's personality makeup and will often

    6   give a conclusion or a likelihood, statistically speaking, that

    7   this person may more than the average individual tend to be

    8   attentive to or focused on or worried about or depressed by

    9   physical symptoms.      The testing does not rule out an organic

  10    cause -- that is, a tissue injury or an orthopedic injury -- so

  11    it becomes a little murky.

  12               I'll give you a for instance.      People that have

  13    multiple sclerosis, which is, you know, a bona fide medical

  14    condition that is very debilitating and can be determined by

  15    medical tests, will often produce a similar profile on those

  16    personality tests of overattention to or maybe what we call

  17    somatization, a tendency to exaggerate the symptoms.           But in

  18    that case, there is clear and compelling evidence of an

  19    underlying organic problem.       So one cannot say on the basis of

  20    personality testing that this person, they're -- they're

  21    exaggerating problems or they're symptom magnifying.           It just

  22    says they are more focused on that than -- statistically so

  23    than age and gender peers.

  24    BY MR. SHAPIRO:

  25    Q.   Within a reasonable degree of medical probability, Doctor,
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 136 of
                                     199                                   345
                               John Gustavson - Direct

    1   what was the cause of Ms. Houston's PTSD, cognitive issues, her

    2   need for treatment, and her psychological difficulties that you

    3   were involved in her care and treatment for?

    4   A.   The accident of December 1, 2016.

    5   Q.   Within a reasonable degree of medical probability, are

    6   those issues that you diagnosed and the problems she was

    7   complaining of permanent?

    8   A.   To some degree she will have permanent difficulties or

    9   conditions as a result of that injury.        Yes.

  10    Q.   What impact, within a reasonable degree of

  11    neuropsychological probability, would these problems and

  12    diagnoses have on her ability to function and live life?

  13    A.   Well, to a degree, we're speculating; so I'm not sure I can

  14    say within a reasonable degree of psychological probability.

  15    We don't know at this point.       She, as I understand, is still in

  16    therapy and getting some rehabilitation.         And my hope on her

  17    behalf is that she will continue to show improvement.           But if

  18    she does not, if things were to remain as they have been, from

  19    my recent reading of medical reports, then it would be

  20    moderately to significantly disruptive to her life, her work,

  21    her capacity to enjoy a satisfying, rewarding life.

  22    Q.   I want to talk about the reports of Dr. Kalat and

  23    Dr. Goldman that you reviewed.       What was your impression,

  24    what -- did you -- did you agree or disagree?          Let's talk about

  25    Dr. Kalat first, evaluation, testing, and assessment?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 137 of
                                     199                                   346
                               John Gustavson - Direct

    1   A.   Dr. Kalat did a very thorough examination.         And his -- the

    2   administration of the tests that he did meets usual standards

    3   of practice in assessing neuropsychological issues.          His report

    4   was detailed and thorough; and he spent time doing things that

    5   a clinician, somebody who is providing treatment doesn't

    6   ordinarily do, which is to annotate his conclusions and cite

    7   research and so forth.      Typically, when we see a patient, we do

    8   a diagnostic workup; and we derive our conclusions.          But he

    9   seemed to be very invested in sort of proving his conclusions,

  10    which is fine.     I know him to be a respected neuropsychologist.

  11               So that said, there were I think three things that

  12    stood out to me when I read his report.         One is that this is a

  13    woman who did show neuropsychological problems on the testing.

  14    She had problems with memory, concentration, visual -- I'm

  15    sorry -- visual-spatial relationships, and that sort of thing.

  16    So they're documented in his report.

  17               Secondarily, he included information in his report

  18    that indicated he made an assessment of her test-taking

  19    effort -- that is, was she giving her best effort, or was she

  20    sandbagging it a little bit, was she underperforming, was she

  21    malingering?    And the information contained in his report said

  22    that he had no evidence that she was engaging in any deliberate

  23    symptom magnification or suboptimal effort.         So that suggests

  24    to me that the findings from his report were valid.

  25               On the personality testing, as I mentioned earlier, he
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 138 of
                                     199                                   347
                               John Gustavson - Direct

    1   said that she tends to be more of a somaticizer; she tends to

    2   focus excessively on physical symptoms; and that in her mind,

    3   that they may take on greater importance than they would for

    4   somebody else.

    5              I think the final issue that stood out at me when I

    6   read his report was that he went to great lengths in several

    7   instances to say, she did not have a brain injury and that

    8   anybody who made the conclusion that she did was probably

    9   creating more problems than being helpful.         He didn't have any

  10    evidence that she had a traumatic brain injury, while at the

  11    same time she did show evidence of what I would consider

  12    cognitive dysfunction.      And I make a distinction between brain

  13    injury and brain dysfunction.       Brain injury is where there has

  14    been tissue damage that can be observed by some method or

  15    means.   Damage to the tissue, bruising, an area of necrosis to

  16    the brain tissue, that's what I would call brain injury or

  17    brain injury damage.      Brain dysfunction simply means that it's

  18    not working properly; it's not firing on all cylinders for

  19    whatever reason.     And those reasons can be the by-product of

  20    mood disorders like depression, anxiety, or post-traumatic

  21    stress disorder.

  22               So I thought it was a reasonable report.        He tended to

  23    emphasize the psychological aspects of her diminished

  24    performance and to emphasize her tendency to focus on somatic

  25    problems.    But it was clear that she gave reasonable effort,
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 139 of
                                     199                                   348
                               John Gustavson - Direct

    1   that she was appropriately motivated, and that the results were

    2   believable.

    3   Q.   It's my understanding that the parts of the brain impacted

    4   by these deficits was the hippocampus and the prefrontal

    5   cortex.     Are those consistent with the post-traumatic stress

    6   disorder that you've diagnosed?

    7   A.   Yes.    The literature says that the areas of the brain that

    8   are most affected with post-traumatic stress disorder are the

    9   two areas you mentioned, plus the amygdala, which is the

  10    arousal, fight or flight center of the brain.

  11    Q.   The other question I have has to do with brain dysfunction

  12    versus brain damage.      You indicated there are brain changes due

  13    to PTSD.     Is there brain damage or brain changes, and what's

  14    the difference?

  15    A.   The research says that there are anatomical changes -- both

  16    anatomical and activation changes that go with these mood

  17    disorders.     I think an analogy may be helpful here.

  18                Let's say you drive your automobile into a brick wall,

  19    causing massive damage to the engine.        In other words there

  20    are -- there is damage to the metal components of your engine,

  21    the wires are broken, and there has been physical damage --

  22    physical injury, if you will -- to the engine of your car.

  23    Obviously, it's not going to work as well as it did before it

  24    got damaged.     On the other hand, let's say you drive a car, you

  25    just don't take care of it -- you don't change your oil, you
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 140 of
                                     199                                   349
                               John Gustavson - Direct

    1   don't take it in for a checkup, you don't change your spark

    2   plugs -- and you find that your car is not operating

    3   efficiently.    Maybe it's missing as you're driving down the

    4   road; maybe its power has diminished; it doesn't have the

    5   pickup that it normally has.       In that case, you've got an

    6   engine that is not functioning properly, but there has not been

    7   any damage to the engine in the way that there would have been

    8   damage if you drove your car into a wall.

    9              So that's the distinction in my mind, that the brain

  10    is not firing on all cylinders as an effect of depression or

  11    PTSD.   But if -- if we went in and checked somehow, say, in a

  12    postmortem study, would we find areas of tissue or structures

  13    that had been damaged?      The answer is probably not.

  14    Q.   So are you saying -- that sounds like a distinction of

  15    degree, since it appears to me that there is both damage.           Am I

  16    hearing you wrong?

  17    A.   Yeah --

  18               MS. BOBET:   Objection, Your Honor.      Leading.

  19               MR. SHAPIRO:    I'll move on.

  20               THE COURT:   Sustained.

  21               THE WITNESS:    I'm sorry?

  22               MR. SHAPIRO:    I'll move on.

  23               THE WITNESS:    Okay.

  24    BY MR. SHAPIRO:

  25    Q.   Can you explain from a psychological or neuropsychological
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 141 of
                                     199                                   350
                               John Gustavson - Direct

    1   reason why Ms. Houston didn't get better or is left with those

    2   residual cognitive problems?

    3   A.   From my reading of the medical information subsequent to my

    4   treatment of her, it sounds as if the symptoms of her

    5   post-traumatic stress disorder have continued and possibly even

    6   worsened; and that as a consequence of that, that she has also

    7   experienced a persistence of these mental difficulties, the

    8   memory and the concentration and capacity to stay focused.

    9   Q.   Doctor, I'm going to ask Ms. Waller to put up Plaintiff's

  10    Exhibit 13 and take us to No. 7, which was your care and

  11    treatment.

  12                It should pop up there any second.

  13    A.   This is the section that includes Tracy Houston medical

  14    expense summary?

  15    Q.   Yes.

  16    A.   Yeah.    I've got it in front of me.

  17    Q.   Okay.    No. 7 is your care for the five visits.       Was that

  18    care reasonable and necessary and causally related to the crash

  19    in question?

  20    A.   Yes.

  21    Q.   Have you also been paid for your time on the medical/legal

  22    portion of this case, as well as for the treatment or the care

  23    that you rendered to Ms. Houston?

  24    A.   Yes.

  25                MR. SHAPIRO:   Thank you.    I have no further questions.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 142 of
                                      199                                  351
                                John Gustavson - Cross

    1               THE COURT:   Cross-examination, please.

    2               MS. BOBET:   Thank you.

    3                              CROSS-EXAMINATION

    4   BY MS. BOBET:

    5   Q.   Good afternoon, Dr. Gustavson.       Nice to see you again.

    6   A.   Good afternoon, Ms. Bobet.

    7   Q.   So I assume you're quite familiar with brain injury; right?

    8   A.   Yes.

    9   Q.   In fact, you specialize in brain injury cases?

  10    A.   Yes.

  11    Q.   And you obviously treated Ms. Houston, and you also signed

  12    or prepared two expert reports.       Is that right?

  13    A.   Yes.

  14    Q.   And in forming your opinions for those reports, you

  15    obviously considered more records than just your own treatment

  16    records; correct?

  17    A.   Obviously.

  18    Q.   Obviously.    And in this case you're only opining on issues

  19    relating to psychology, neuropsychology, your areas of

  20    specialty; correct?

  21    A.   Yes.

  22    Q.   Now, I think you might have covered this, but I just want

  23    to make sure I'm clear.      PTSD can present with cognitive

  24    complaints; right?

  25    A.   Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 143 of
                                      199                                  352
                                John Gustavson - Cross

    1   Q.   And those could include poor concentration?

    2   A.   Yes.

    3   Q.   Deficits in sustained attention?

    4   A.   Yes.

    5   Q.   Deficits in learning and memory?

    6   A.   Yes.

    7   Q.   Deficits in processing speeds?

    8   A.   Yes.

    9   Q.   Deficits in executive function generally?

  10    A.   Yes.

  11    Q.   And depression could present with similar cognitive

  12    complaints; right?

  13    A.   Yes.

  14    Q.   And so could TBIs?

  15    A.   Yes.

  16    Q.   As a general matter, would you agree that it's important

  17    for a patient to be correctly diagnosed?

  18    A.   Yes, it is important.

  19    Q.   And a misdiagnosis is never good?

  20    A.   It's not always bad, but it certainly carries a number of

  21    risks.

  22    Q.   And in particular, someone who has PTSD, if they're

  23    misdiagnosed with something else, that could be detrimental to

  24    them; right?

  25    A.   I'm sorry.    You broke up just a little bit on that
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 144 of
                                      199                                  353
                                John Gustavson - Cross

    1   question.

    2   Q.   Sure.    I'll repeat it.

    3               In particular, someone who has PTSD, if they're

    4   misdiagnosed as having something else, that can be detrimental

    5   to them; right?

    6   A.   It can be; correct.

    7   Q.   And getting the correct diagnosis, that's important for

    8   determining the right treatment; yes?

    9   A.   Yes.

  10    Q.   And so as we've heard a bit, when a person is referred to

  11    you, you typically go through some specific steps to make a

  12    diagnosis; is that right?

  13    A.   Yes.

  14    Q.   You have them fill out a questionnaire?

  15    A.   Yes.

  16    Q.   And do an initial consultation that includes a diagnostic

  17    interview and mental status exam?

  18    A.   Yes.

  19    Q.   And you sometimes administer psychological testing; is that

  20    right?

  21    A.   Yes.

  22    Q.   And that includes the MMPI [sic], which is, if I'm

  23    remembering correctly, Millon Behavioral Medicine Diagnostic?

  24    A.   Yes.

  25    Q.   Is that test widely used in the field of psychology?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 145 of
                                      199                                  354
                                John Gustavson - Cross

    1   A.   Both of them are, yes.

    2   Q.   I want to talk about PTSD, which, obviously, you covered in

    3   your direct testimony.      And just so we're clear, PTSD is

    4   treatable; right?

    5   A.   Right.

    6   Q.   In fact, it's more treatable than TBI; right?

    7   A.   I'm not sure I would say that.

    8   Q.   Do you remember taking your deposition in this case?

    9   A.   It sort of depends on the nature and severity of the TBI

  10    versus the PTSD.     You can have very severe and debilitating

  11    PTSD.   You can have a TBI -- let's say, a concussive head

  12    injury from a sports injury or something like that -- that

  13    doesn't require therapy at all.       Kind of recovers

  14    spontaneously.

  15    Q.   As a general matter, it's your testimony that PTSD is not

  16    more treatable than TBI?

  17    A.   My answer is that it depends on the nature and the severity

  18    of the condition.     Both of them can present with very severe,

  19    debilitating symptoms or may be treatable, one or the other or

  20    both.

  21    Q.   I'll ask again, do you remember taking a deposition in this

  22    case?

  23    A.   I have painful and vivid recollections of that.

  24    Q.   I try not to take that personally.       Do you remember being

  25    under oath for that deposition?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 146 of
                                      199                                  355
                                John Gustavson - Cross

    1   A.   Yes.

    2   Q.   Same as you are here today for your testimony?

    3   A.   Yes.

    4               MS. BOBET:    Ms. Robertson, can you please pull up

    5   Dr. Gustavson's deposition, page 54, line 22 and then on to

    6   page 55, line 1.

    7               Just bear with us a second.     We're going to get it

    8   pulled up electronically.

    9   BY MS. BOBET:

  10    Q.   Can you see that deposition transcript on your screen,

  11    Dr. Gustavson?

  12    A.   It's a little blurry, but I can read it.

  13    Q.   I believe we also sent you a hard copy in a sealed

  14    envelope.     If you've got that, you're welcome to refer to that

  15    as well.     It's all the same.

  16                It's page 54, line 22, then on to page 55, line 1.

  17    A.   So what page are we on?

  18    Q.   We're on page 54, starting on line 22.        Are you there?

  19    A.   54, line 22.    Yes.

  20    Q.   All right.    Okay.    I'm going to read, and I'll ask you if I

  21    read it correctly.

  22                "Whereas, PTSD is thought to be more amenable to

  23          treatment."

  24                Question:    "So just to sort of sum up, fair to

  25          say that PTSD is more treatable than TBI?"
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 147 of
                                      199                                  356
                                John Gustavson - Cross

    1               Answer:   "After -- yeah, after a period.      Yes."

    2               Did I read that right?

    3   A.   You read that correctly.

    4               THE COURT:   Counsel, it's not an impeachment of what

    5   he just testified to.      He testified to something entirely

    6   different than that question.

    7               MS. BOBET:   My understanding of his testimony, Your

    8   Honor, was that he was saying that PTSD is not necessarily more

    9   treatable than TBI.      I think it's somewhat different.

  10                THE COURT:   Sometimes there are TBI cases which are

  11    not as serious as PTSD cases, and sometimes there are PTSD

  12    cases which are far more serious than TBI cases, and it depends

  13    upon the individual cases to which one is more treatable.

  14    That's not inconsistent with his testimony in the deposition.

  15                MS. BOBET:   I'll move on.

  16    BY MS. BOBET:

  17    Q.   With the right treatment for PTSD, would you accept that

  18    the associated cognitive difficulties would improve?

  19    A.   Yes.

  20    Q.   And people with PTSD need to be treated for PTSD; is that

  21    right?

  22    A.   Yes.

  23    Q.   And so some treatment for PTSD can include medications, I

  24    believe you mentioned; is that right?

  25    A.   That's correct.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 148 of
                                      199                                  357
                                John Gustavson - Cross

    1   Q.   And those could include antidepressants?

    2   A.   Yes.

    3   Q.   And that would be SSRI or SNRI antidepressants; right?

    4   A.   Yes.

    5   Q.   And that could include mood stabilizers, too; right?

    6   A.   Yes.

    7   Q.   Or something like prazosin?

    8   A.   Prazosin is not a mood stabilizer, if that's your question.

    9   Q.   No.    My question was, treatment for PTSD, could that

  10    include prazosin?

  11    A.   Prazosin is actually a heart medicine, but it's found -- it

  12    has been found to have a beneficial effect on the nightmares

  13    that patients experience after PTSD, so that would be included

  14    in the list of possible treatment options.

  15    Q.   And you have seen success in patients with PTSD using all

  16    of these medications; is that right?

  17    A.   Yes.

  18    Q.   While we're on the subject of medications, I want to make

  19    sure I understand your testimony before.         Is it correct that a

  20    stimulant could be helpful for virtually anyone with their

  21    focus?

  22    A.   Yes.

  23    Q.   So it wouldn't just be helpful for someone with a TBI?

  24    A.   When I say "helpful," what I mean is that taking a

  25    stimulant helps, you know, perk us up and be more alert and
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 149 of
                                      199                                  358
                                John Gustavson - Cross

    1   attentive.    And so at moderate doses, in isolated cases, a

    2   stimulant can help anybody, even people who don't have a TBI or

    3   a mood disorder.     But I have seen cases with people that have

    4   moderate or severe brain injury benefit from taking a

    5   stimulant, not only in helping their mental abilities, but

    6   helping their behavior control.       It's like it awakens the brain

    7   and helps them to be more cognizant and more aware of the

    8   effects of their behavior and people around them.          So it

    9   certainly can be beneficial.

  10    Q.   And then continuing on with the treatments available for

  11    PTSD -- sorry to switch around on you -- but those treatments

  12    for PTSD also include psychological treatment; is that right?

  13    A.   Yes.

  14    Q.   They would include something like cognitive behavioral

  15    therapy?

  16    A.   Yes.

  17    Q.   And desensitization?

  18    A.   Yes.

  19    Q.   What is desensitization therapy?

  20    A.   It is a procedure that enables a patient to approach a

  21    situation or a stimulus that is upsetting or threatening or

  22    bothersome to them in some way on a gradual basis, that they

  23    become more accustomed to it so it no longer affects them.            The

  24    parallel in medicine would be giving an individual low doses of

  25    something that they may be allergic to in order to build up the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 150 of
                                      199                                  359
                                John Gustavson - Cross

    1   immune system so that they're no longer allergic to it -- or

    2   they have less of a response.       That's called -- that's also

    3   called desensitization.

    4   Q.   And for desensitization, there are specific steps that a

    5   treatment provider would go through as part of that therapy;

    6   right?

    7   A.   Yes.

    8   Q.   And those would include relaxation procedures and then

    9   introducing anxiety provoking --

  10    A.   Yes.

  11    Q.   I'm sorry.    Relaxation procedure; is that right?

  12    A.   Yes.

  13    Q.   And then introducing anxiety-provoking stimuli?

  14    A.   Yes.

  15    Q.   Another type of therapy for PTSD is reprocessing; is that

  16    right?

  17    A.   Yes.

  18    Q.   What does that entail?

  19    A.   Typically, we use the word "reprocessing" in combination

  20    with some other words.      There is a therapy called eye movement

  21    desensitization and reprocessing; and it is a procedure that

  22    exposes a patient to the event or situation which was most

  23    closely associated with the trauma while engaging in some

  24    activities like alternating eye movements or tapping or

  25    something that allows the brain -- and this is somewhat
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 151 of
                                      199                                  360
                                John Gustavson - Cross

    1   theoretical -- but it allows the brain to digest, if you will,

    2   the event that happened, and so that it ceases to have the

    3   traumatizing effect that it did before -- let's say a combat

    4   veteran who had some terrible wartime experience, where they

    5   have to think about and remember and relive the event while

    6   engaging in these other activities -- and it allows the brain

    7   to kind of make peace with all of it so it doesn't affect them

    8   in the adverse ways it did previously.

    9   Q.   And that's -- the EMDR process that you mentioned as a type

  10    of reprocessing, that's guided by a therapist or a

  11    psychologist; right?

  12    A.   Yes.

  13    Q.   Another type of therapeutic treatment for PTSD would be

  14    exposure therapy?

  15    A.   Yes.

  16    Q.   What does that involve?

  17    A.   Exposure therapy -- there is some crossover between all of

  18    these -- but exposure -- what is sometimes referred to as

  19    prolonged exposure therapy, it's a therapeutic technique that

  20    involves requiring the patient to remember and visualize and

  21    reexperience the event or the situation that caused the trauma

  22    and to feel the emotions that went along with it and to

  23    consider the way that's affected their thinking.          And by the

  24    intensive exposure, gradually they experience a remission -- a

  25    reduction, that is -- of the traumatizing effects.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 152 of
                                      199                                  361
                                John Gustavson - Cross

    1   Q.   And that exposure therapy involves the treatment provider

    2   facilitating the patient encountering the traumatic thing;

    3   right?

    4   A.   Yes.   And it can be done on an individual basis, one on

    5   one; or it can be done in a group setting.

    6   Q.   So these psychological treatments for PTSD that we've

    7   discussed -- desensitization, cognitive behavioral therapy,

    8   reprocessing, and exposure therapy -- those are often done in

    9   conjunction with one another; right?

  10    A.   Yes.

  11    Q.   And that is specifically done with the help of a

  12    psychologist?

  13    A.   Yes.

  14    Q.   And the treater or the psychologist would repeat those

  15    techniques with the patient over a number of sessions; right?

  16    A.   Yes.

  17    Q.   And you have seen success in patients with PTSD using all

  18    of those therapeutic methods; is that correct?

  19    A.   That's correct.

  20    Q.   As far as psychological treatments for PTSD, the

  21    therapeutic treatments you've mentioned -- cognitive therapy,

  22    exposure, desensitization, and reprocessing -- those things

  23    together are the gold standard for treating PTSD; are they not?

  24    A.   Yes.

  25    Q.   That is the first-line treatment for people with PTSD?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 153 of
                                      199                                  362
                                John Gustavson - Cross

    1   A.   Yes.

    2   Q.   So in general, fair to say they're effective for treating

    3   PTSD?

    4   A.   Yes.

    5   Q.   I believe you mentioned before that another thing that can

    6   be helpful in treating PTSD is antidepressants.          Would that be

    7   as a supplement to those first-line therapeutic treatments?

    8   A.   Yes.

    9   Q.   How about something like flower essences, would that be a

  10    valid treatment for PTSD?

  11    A.   I am not familiar with that type of care.

  12    Q.   You say it's detrimental to the patient if their PTSD is

  13    not treated properly; right?

  14    A.   It can be.    Yes.

  15    Q.   Because the PTSD could persist?

  16    A.   Yes.

  17    Q.   The idea being that PTSD doesn't go away on its own; it

  18    requires specific treatment of the type that you laid out.

  19    Right?

  20    A.   It would not be fair to say that it never goes away on its

  21    own.    I mean, there are lots of people that have had traumatic

  22    events who never seek therapy, and they somehow find a way of

  23    getting better.     So time, you know, is -- the tincture of time

  24    is a great therapeutic device.       But for someone who has PTSD

  25    that has become disruptive or debilitating to their life, it's
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 154 of
                                      199                                  363
                                John Gustavson - Cross

    1   not getting better on its own, then some kind of intervention

    2   is warranted, to be sure.

    3   Q.   Now, we talked a bit about TBI; and I'll do my best not to

    4   retread ground where we don't need to.

    5               Are you aware of the Veterans Administration,

    6   Department of Defense guidelines for a concussion?

    7   A.   Yes.

    8   Q.   And those are a valid tool for diagnosing a concussion?

    9   A.   Yes.

  10    Q.   And just want to be clear, the term "concussion" is used

  11    sort of interchangeably with mild TBI; is that right?

  12    A.   Those terms are used synonymously.

  13    Q.   How about the World Health Organization's TBI diagnostic

  14    criteria, are you familiar with those?

  15    A.   Yes.

  16    Q.   And are those valid criteria for diagnosing TBI?

  17    A.   Yes.

  18    Q.   And you yourself typically take certain specific steps to

  19    diagnose a TBI; right?

  20    A.   I do.

  21    Q.   That would include getting a complete history of the event

  22    that is suspected to have caused the TBI?

  23    A.   Yes.

  24    Q.   And getting an understanding of the patient's symptoms?

  25    A.   Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 155 of
                                      199                                  364
                                John Gustavson - Cross

    1   Q.   And if necessary, you'll administer psychological tests?

    2   A.   Yes.

    3   Q.   You've never relied solely on a patient's self-reporting to

    4   diagnose a TBI; would you?

    5   A.   I would try not to.

    6   Q.   And if another provider has diagnosed a TBI solely on what

    7   a patient told them, you would say they're on professionally

    8   shaky ground; right?

    9   A.   I would say that it is professionally unwise to make a

  10    diagnosis only on the basis of a patient's self-report.

  11    Q.   But I understood your earlier testimony that diagnosing a

  12    patient with a TBI requires that their change in mental status

  13    must immediately relate to some trauma to the head.          Am I

  14    characterizing that accurately?

  15    A.   Yes.

  16    Q.   So a patient who first develops TBI-like symptoms several

  17    months after the claimed incident is likely not suffering from

  18    a TBI?

  19    A.   That is correct.

  20    Q.   So, for example, a patient who first complains of symptoms

  21    of a TBI a few months after an accident, it's fair to assume

  22    that person did not suffer a TBI in the accident?

  23    A.   That is correct.

  24    Q.   So some of the -- we discussed some of the overlapping

  25    symptoms between PTSD and TBI; but, specifically, those would
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 156 of
                                      199                                  365
                                John Gustavson - Cross

    1   include symptoms of mood and personality changes.          Is that

    2   right?

    3   A.   Yes.

    4   Q.   And then certain symptoms present more commonly in PTSD

    5   than TBI; right?

    6   A.   Right.

    7   Q.   Including something like disrupted sleep?

    8   A.   Yes.   That could be an example.

    9   Q.   And TBI is treated differently than PTSD; right?

  10    A.   Yes.

  11    Q.   For example, you might recommend rehabilitational or speech

  12    therapy for a patient with a TBI; but you wouldn't recommend

  13    that to a patient with just PTSD?

  14    A.   Probably not.

  15    Q.   Now, obviously, the focus of the therapy that a patient

  16    gets would be different depending on the diagnosis, TBI versus

  17    PTSD; is that right?

  18    A.   Yes.

  19    Q.   If a person who has not suffered from a TBI believes for

  20    whatever reason that, in fact, she has suffered from a TBI,

  21    could that belief itself potentially be detrimental?

  22    A.   Yes.

  23    Q.   And detrimental in that it could cause the patient to

  24    conclude there is nothing she can do to fix what is wrong with

  25    her?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 157 of
                                      199                                  366
                                John Gustavson - Cross

    1   A.   That would be a possibility.      Yes.

    2   Q.   Or believe that she's permanently disabled?

    3   A.   Yes.

    4               MS. BOBET:   I'm cognizant of our time, and we have

    5   another witness, and we need to take a break.          Your Honor,

    6   would you prefer that I continue questioning Dr. Gustavson?            I

    7   have a bit more.     I'll try to keep it short, but we do --

    8               THE COURT:   It's 10 after 3:00.     She's supposed to

    9   testify at 3:30.     How much more time do you want to spend on

  10    this witness?

  11                MS. BOBET:   I'll try to get it done -- I know Your

  12    Honor had mentioned taking a break, I believe, before

  13    Dr. Price.    I want to make sure we have time for everything,

  14    but I'm happy to keep going.

  15                THE COURT:   Well, let's go for another ten minutes,

  16    and then we'll take a recess.

  17                MS. BOBET:   All right.

  18    BY MS. BOBET:

  19    Q.   Dr. Gustavson, just so I'm clear -- and I apologize if I am

  20    going over it again -- you didn't diagnose Ms. Houston with a

  21    TBI; right?

  22    A.   That is correct.

  23    Q.   That was because there wasn't sufficient evidence to

  24    diagnose her with a TBI?

  25    A.   Right.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 158 of
                                      199                                  367
                                John Gustavson - Cross

    1   Q.   And, of course, in your treatment of her, you didn't see

    2   any indication that she sustained a TBI in the accident; right?

    3   A.   There was no information that would have led me to change

    4   my impression that she did not have a TBI.

    5   Q.   And I've heard from Ms. Houston that her impression was

    6   that you might have dismissed some cognitive complaints that

    7   she brought to you.     Would you have dismissed those cognitive

    8   complaints in your treatment of her?

    9   A.   Looking through the record, I was aware that she was

  10    complaining of some cognitive problems.         I did not dismiss them

  11    as if they didn't matter; but my focus was, let's rehabilitate

  12    the PTSD.     And as she improves, I would expect her cognitive

  13    difficulties to improve over time.        So I didn't pay them as

  14    much attention as she may have preferred.

  15    Q.   Now, you discussed earlier about -- that Ms. Houston may

  16    have been referred to you by her attorney.         Is it correct that

  17    Ms. Houston's attorney was copied on the records of your

  18    treatment of Ms. Houston?

  19    A.   Yes.    Yes.

  20    Q.   After your last session with Ms. Houston in September of

  21    2017, you understood that she would not be continuing with

  22    PTSD-specific treatment; is that right?

  23    A.   No.    She just said that she wanted to try out some

  24    different forms of healing.

  25    Q.   And those would be options for self-healing?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 159 of
                                      199                                  368
                                John Gustavson - Cross

    1   A.   Self-initiated measures.

    2   Q.   And she was interested in trying something called a --

    3   excuse me -- something called somatic experiencing technique?

    4   A.   Is that in my report?

    5               MS. BOBET:   Sure.   We can pull it up.     Ms. Robinson,

    6   it's Exhibit 60, page Gustavson 10.

    7   BY MS. BOBET:

    8   Q.   Can you see that, Dr. Gustavson?

    9   A.   Yes.   Somatic experiencing techniques.

  10    Q.   So that was something that Ms. Houston was looking into

  11    doing after she finished treating with you; right?

  12    A.   Yes.

  13    Q.   Are you familiar with that treatment?

  14    A.   Not per se, although I would surmise that somatic

  15    experiencing refers to the fact that stress affects the soma --

  16    that is, the body -- mind-body connection, and that I imagine

  17    it would involve some kind of therapy that was focused on that.

  18    Q.   I see here in that same discussion paragraph, second to the

  19    last line, that the treatments Ms. Houston was looking for

  20    after she finished her treatment with you also included

  21    attending a healing retreat at a monastery?

  22    A.   Yes.

  23    Q.   In your view, were those treatment options likely to be

  24    effective specifically in treating her PTSD?

  25    A.   My impression was that she was taking charge of her own
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 160 of
                                      199                                  369
                                John Gustavson - Cross

    1   wellness; and when a person does that, they get benefits out of

    2   those kind of procedures or those kinds of treatments.           I was

    3   not of the opinion that those things were specifically designed

    4   to treat PTSD.     On the other hand, I felt that we made some

    5   headway in therapy so that she was on the road to recovery from

    6   the early effects of her PTSD.

    7   Q.   I want to talk a little bit about the treatment that

    8   Ms. Houston had gotten from Dr. Johnston.         And she started

    9   treating with Dr. Johnston after she commenced treating with

  10    you; right?

  11    A.   That's right.

  12    Q.   And you're not able to determine whether Dr. Johnston had

  13    done any of the kind of psychological treatments for PTSD that

  14    we discussed earlier, are you?

  15    A.   I have not reviewed Dr. Johnston's records in detail, no;

  16    so I don't know what exactly she was doing.

  17    Q.   So you reviewed a more recent record since you last saw

  18    Ms. Houston; right?

  19    A.   Yes.

  20    Q.   As well as the report and testing data from the

  21    United States' expert, Dr. Kalat?

  22    A.   Yes.

  23    Q.   And having reviewed this updated information and having

  24    treated Ms. Houston for a time, is it your view that

  25    Ms. Houston needs ongoing treatment for her PTSD?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 161 of
                                      199                                  370
                                John Gustavson - Cross

    1   A.   The bulk of the information that I have available to me

    2   suggests that she is having some ongoing issues that warrant

    3   some kind of treatment.      Having been out of touch with her for

    4   as long as I have, I am not prepared to say anything about the

    5   seriousness or magnitude of those problems or the extent that

    6   she requires ongoing treatment; but it appears to me that she

    7   is not well.     She is continuing to have problems.

    8   Q.   And to the extent that she would benefit from further

    9   treatment for her PTSD, those would be the types of front-line

  10    treatments we discussed earlier, like exposure therapy,

  11    desensitization; is that right?

  12    A.   Yes.

  13    Q.   Could Ms. Houston also benefit from being on an

  14    antidepressant?

  15    A.   Possibly.    Again, that would hinge on the severity of her

  16    depression, whether or not she's tried any.         My impression of

  17    Ms. Houston from when I worked with her, that she was of the

  18    mindset that, I want to do this on my own.         You know, I don't

  19    want to have to rely on medicine.        But if therapy is not

  20    helpful or if a person's emotional problems get worse in spite

  21    of therapy, then you start looking at more aggressive

  22    interventions like medication.

  23    Q.   I'm at another break in my outline.        I want to check in on

  24    the timing to make sure we're not running into our next

  25    witness.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 162 of
                                      199                                  371
                                  Lynn Price - Cross

    1              THE COURT:   Doctor, the difficulty we have is that

    2   another doctor was testifying yesterday and did not complete,

    3   and she has to come back, and she had to rearrange her

    4   schedule.    And, unfortunately, I'm going to have to do the same

    5   with you to complete your examination.        Counsel will get in

    6   touch with you as to when is a time that we can schedule the

    7   completion of your examination.       I apologize for that, but the

    8   scheduling is beyond my control.

    9              We'll be in recess for ten minutes.       Please make

  10    contact with Dr. Gustavson and arrange a convenient time.

  11               (Recess at 3:19 p.m.)

  12               (In open court at 3:35 p.m.)

  13               THE COURT:   Please be seated.

  14               Dr. Price, you're already under oath in this case.

  15    It's not necessary to readminister the oath.         We're simply

  16    going to continue with the examination of your testimony.

  17               MS. BOBET:   Thank you, Your Honor.

  18           (LYNN PRICE, PLAINTIFF'S WITNESS, PREVIOUSLY SWORN)

  19                         CROSS-EXAMINATION CONTINUED

  20    BY MS. BOBET:

  21    Q.   Thank you, Dr. Price, for coming back to us to finish your

  22    testimony.    We appreciate it.

  23    A.   Not a problem.

  24    Q.   You discussed yesterday that in January 2020 you prescribed

  25    Ms. Houston Cymbalta; is that right?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 163 of
                                      199                                  372
                                  Lynn Price - Cross

    1   A.   Yes.

    2   Q.   And after that January 2020 visit, she began taking the

    3   Cymbalta?

    4   A.   Yes.

    5   Q.   And she had improvement while she was taking that medicine;

    6   yes?

    7   A.   I believe she did.     Yes.

    8   Q.   So I'd like to refer to a page from your medical records,

    9   which --

  10                Can you pull that up?

  11    A.   What was the date on that?      April --

  12    Q.   It's a record dated February 20, 2020 -- it should be up on

  13    your screen shortly, so --

  14                MR. SHAPIRO:   Jane, what exhibit and page number?

  15                MS. BOBET:   Yeah.   That's Exhibit 55, Primary Care

  16    Partners page 214.

  17                MR. SHAPIRO:   Thank you.

  18                MS. BOBET:   Sure.   It should be up on everyone's

  19    screens now or shortly.

  20    BY MS. BOBET:

  21    Q.   Can you see that, Dr. Price?

  22    A.   Yes, I can.

  23    Q.   Okay.   So in that paragraph on that page that says, "chief

  24    complaint," towards the beginning of that paragraph, I just

  25    want to walk through some of those notes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 164 of
                                      199                                  373
                                  Lynn Price - Cross

    1               It says, "Patient is here for a four-week follow-up.

    2   At her last visit we started her on Cymbalta, 20 milligrams at

    3   bedtime."     Are you following me okay?

    4   A.   Yes.

    5   Q.   And then after that it says, "The patient tells me that she

    6   is doing really well.      She feels more like herself.      She is a

    7   published write, and she has not done any writing for the last

    8   several years, but she has started writing again."          Am I

    9   reading that right?

  10    A.   Yeah.    I think that should say she's a published writer.

  11    Q.   I suspected as much.     Are those some of the improvements

  12    that Ms. Houston saw while she was taking the Cymbalta?

  13    A.   Yes.

  14    Q.   And then further down, sort of halfway through that same

  15    paragraph, "She feels that she is getting a better sense of

  16    herself.     She tells me that she has not slept well in the last

  17    three years, but now she is sleeping really well.          She is not

  18    having any night terrors."       Did I read that right?

  19    A.   Yes.

  20    Q.   So would those have been some more of the improvements that

  21    Ms. Houston saw while she was on the Cymbalta?

  22    A.   Yes.

  23    Q.   Okay.   We touched on this in your testimony yesterday, but

  24    I want to fill in some details on the topic of TBI.          You don't

  25    ordinarily diagnose traumatic brain injury yourself, do you?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 165 of
                                      199                                  374
                                  Lynn Price - Cross

    1   A.   No, not generally.     People usually come to me with the

    2   diagnosis already.

    3   Q.   And you're not an expert on traumatic brain injury; right?

    4   A.   No.

    5   Q.   You rely on a neuropsychologist or a neurologist to

    6   identify a TBI in general; right?

    7   A.   Yes.    I usually have specialists involved.       It depends on

    8   the degree of severity and how specific you are.          So I

    9   frequently diagnose people as having concussion, which is a

  10    mild traumatic brain injury; and I don't usually get

  11    specialists involved in that situation unless somebody is

  12    having prolonged symptoms or difficulty returning to normal.

  13    Q.   Okay.    So if a neuropsychologist said that someone had a

  14    traumatic brain injury, you would rely on their opinion for

  15    that diagnosis?

  16    A.   Yeah.    I mean, it would inform my feelings on that, as

  17    well.   Yes.

  18    Q.   So --

  19    A.   So --

  20    Q.   I'm sorry.    Go ahead.

  21    A.   No.    I was -- so when you send somebody to a specialist,

  22    they are -- you can -- I might have them help me confirm what I

  23    already believe; or they might help me find different diagnoses

  24    if -- if there was some suspect that that wasn't the right

  25    diagnosis.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 166 of
                                      199                                  375
                                  Lynn Price - Cross

    1   Q.   Symptoms of traumatic brain injury overlap with depression;

    2   right?

    3   A.   Yes.

    4   Q.   And they can overlap with symptoms of PTSD?

    5   A.   Yes.

    6   Q.   In fact, the symptoms of PTSD can be very similar to the

    7   symptoms of TBI; is that right?

    8   A.   Yes.

    9   Q.   And a patient could be misdiagnosed with a TBI because of

  10    those overlapping symptoms?

  11    A.   I suppose so.    Yeah.

  12    Q.   Now, referring you again to that same exhibit, 65, let's go

  13    towards the beginning of the exhibit, the page marked Primary

  14    Care Partners 16.

  15                This is a record of your visit with Ms. Houston of

  16    November 8, 2017.

  17                MR. SHAPIRO:   Jane, can you repeat that, where you

  18    are?   Sorry.

  19                MS. BOBET:   Exhibit 55, page Primary Care Partners 16.

  20    It should be on your screen, as well.

  21                MR. SHAPIRO:   Thank you.

  22                MS. BOBET:   Sure.

  23    BY MS. BOBET:

  24    Q.   Dr. Price, this is a record from your visit with

  25    Ms. Houston on November 8, 2017; right?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 167 of
                                      199                                  376
                                  Lynn Price - Cross

    1   A.   Yeah.    I think this was my first visit with her.

    2   Q.   And in the paragraph beginning on that same page, the first

    3   sort of full paragraph, beginning "The patient tells me."           The

    4   second line of that paragraph it reads, "She also sustained a

    5   closed-head injury."      Did I read that correctly?

    6   A.   Yes.

    7   Q.   And so this record reflects that Ms. Houston told you that

    8   she sustained a closed-head injury in the accident in 2016;

    9   right?

  10    A.   Yes.

  11    Q.   So you didn't independently diagnose her with that head

  12    injury; is that correct?

  13    A.   No.    That was -- that would have been before I met her.

  14    Q.   And correspondingly, you didn't independently diagnose her

  15    with a TBI; right?

  16    A.   I don't know if I independently diagnosed her with a TBI.

  17    I -- as far as I understood, she has that diagnosis, based on

  18    what I have seen and her symptomatology.         I've also seen it on

  19    the diagnosis on -- from the -- that have come from other

  20    providers, so that is my presumptive diagnosis.          Whether I was

  21    originally the one that used that term or whether it was used

  22    by other providers before me, I can't tell you 100 percent.

  23    Q.   You haven't definitively diagnosed Ms. Houston with a TBI

  24    yourself, have you?

  25    A.   That's my working diagnosis, along with her other diagnoses
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 168 of
                                      199                                  377
                                  Lynn Price - Cross

    1   that I'm trying to treat.

    2   Q.   Is it your testimony that you have definitively diagnosed

    3   Ms. Houston with a TBI?

    4   A.   Well, your question is difficult, because, again, I am --

    5   I'm not trying to be evasive here, but it's just difficult for

    6   me to answer that question as a yes or no.         She has multiple

    7   symptoms which I am trying to treat.        There are several

    8   possible diagnoses with overlapping symptomatology that I am

    9   trying to treat from a practical standpoint.         And in many ways,

  10    to me -- you're trying to tie me down to this diagnosis, and I

  11    understand that, but that's not really what informs my

  12    treatment.    So I would say a working diagnosis for her is TBI;

  13    a working diagnosis for her is PTSD; a working diagnosis is

  14    depression and anxiety.      And I'm trying to treat the symptoms

  15    that she is presenting with, with those possible diagnoses in

  16    mind.   Whether it's definitively TBI, whether it's definitively

  17    PTSD, whether it's definitively depression and anxiety is -- is

  18    difficult to say and in many respects, from my standpoint,

  19    somewhat irrelevant.

  20               But I don't mean -- again, I don't want that to sound

  21    evasive, but that's where I'm coming from is trying to treat

  22    the symptoms that she's presenting with.         So I don't spend a

  23    lot of time worrying about whether she definitively has the TBI

  24    or whether she definitively has PTSD.        What I am trying to do

  25    is making sure that she gets the care that she requires for the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 169 of
                                      199                                  378
                                  Lynn Price - Cross

    1   symptoms that she's presenting with.        If that makes sense.

    2   Q.   And to do that, to give her the care for the symptoms she's

    3   presenting with, you look at what you call a working diagnosis,

    4   which is a possible diagnosis?

    5   A.   Yes.

    6   Q.   Okay.    So, then -- just so I understand, is a patient's

    7   diagnosis irrelevant to the kind of treatment that you provide

    8   to them?

    9   A.   No.    I mean, it gives you -- it gives you a place to start.

  10    Right?     So if I didn't -- if it didn't occur to me that she

  11    might have PTSD, then it would never have occurred to me to try

  12    her on prazosin, for example.       But her being on prazosin and it

  13    working for her doesn't necessarily prove that she has PTSD; it

  14    just helps me decide what kind of things that we might try for

  15    her.   So it's not irrelevant in that sense; it just gives you a

  16    place to start.

  17                And, you know, you keep -- there is value in

  18    reassessing whether you have the right diagnosis, because,

  19    again, it presents you with different treatment options that

  20    you might not otherwise think of.        So if while I'm assessing

  21    her I come up with, oh, well, maybe it's this, and I come up

  22    with another potential diagnosis, it gives me another treatment

  23    avenue to go down to try.      But, again, if I came up with some

  24    medical diagnosis, then it gives me a starting point to try

  25    some different things that we might not otherwise have tried;
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 170 of
                                      199                                  379
                                  Lynn Price - Cross

    1   but it would still be a working diagnosis.         Because, you know,

    2   there is not really definitive testing that is completely

    3   foolproof for any of these diagnoses.

    4               In medicine, you will always -- I can't say always --

    5   you are often treating what you think somebody has.          I mean,

    6   for example, Alzheimer's.       The only definitive test for

    7   Alzheimer's is a brain biopsy, but we don't -- that's something

    8   you're going to do at autopsy.       You still try and work on the

    9   symptoms and make a presumed diagnosis and choose your

  10    medications based on what is most likely, given those symptoms.

  11    Q.   Understood.    Let's refer back to that record from November

  12    of 2017, which is your first visit with Ms. Houston.           To your

  13    knowledge, was that the first time that she had reported

  14    sustaining a head injury?

  15    A.   I actually -- I don't know.      I don't know the answer to

  16    that.   These are things that she told me at her first visit, so

  17    I -- I don't know if that had been reported elsewhere.

  18                MS. BOBET:    So, Ms. Robinson, can you skip a few pages

  19    later to -- in that same exhibit, Primary Care Partners

  20    page 022.     That one.

  21    BY MS. BOBET:

  22    Q.   So this is another record from your practice dated

  23    August 22, 2017; is that right?

  24    A.   Yes.

  25    Q.   So that would have been Ms. Houston seeing another provider
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 171 of
                                      199                                  380
                                  Lynn Price - Cross

    1   in your practice shortly before she started treating with you?

    2   A.   Yes.

    3   Q.   Now, if we go -- scroll down to chief complaint, that

    4   section, about halfway down the page.        I see that paragraph

    5   discusses an MVA -- motor vehicle accident -- as well as leg

    6   and ankle surgeries; is that correct?

    7   A.   Yes.

    8   Q.   There is no mention here of a head injury in the accident;

    9   right?

  10    A.   No.

  11    Q.   Would you expect that if Ms. Houston had reported a head

  12    injury to your colleague at the time, that that would be

  13    reflected here in these notes?

  14    A.   I don't know, because I don't know whether she was there

  15    just to address the pain or whether to -- she was there to

  16    address other symptoms that she was having.

  17    Q.   But if Ms. Houston had reported a head injury on that date,

  18    you would expect it to be reflected in the record; right?

  19    A.   I mean, it's hard for me to discuss somebody else's record.

  20    If she had told me at this visit that she had had a head

  21    injury, I would have recorded it.        It's hard for me to comment

  22    on what Dr. Klemmetsen would have done.         My guess would be, if

  23    she would have been told that, she would have recorded it; but

  24    it's only a guess.

  25    Q.   So going back to the November 2017 visit, your first visit
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 172 of
                                      199                                  381
                                  Lynn Price - Cross

    1   with Ms. Houston.     She told you that she sustained a head

    2   injury in the accident; right?

    3   A.   Yes.

    4   Q.   And that's why you wrote it in your record; right?

    5   A.   Yes.   I wrote it because my -- my HPI is -- a lot of that

    6   is what the patient is telling me.        And I think I indicated

    7   that "patient tells me."

    8               MS. BOBET:   If we can pull that back up.

    9   BY MS. BOBET:

  10    Q.   While we're doing that, you said HPI.        What does that for?

  11    A.   Oh, history of present illness.       So that's -- everything

  12    between the chief complaint and the allergy list is the history

  13    of present illness -- actually on this one, it's everything

  14    from chief complaint down to past medical history would be what

  15    we call the HPI, the history of present illness.

  16    Q.   And that all comes from the patient themselves?

  17    A.   Well, usually I put in my notes "patient tells me,"

  18    "patient says this," if I'm trying to indicate that I am

  19    getting that information from the patient.         Otherwise, I might

  20    put stuff in there that I've read elsewhere, but usually I

  21    would indicate that I got it from a particular record or

  22    perhaps there is something that I already knew.

  23    Q.   And I see here you did say, "the patient tells me" at the

  24    beginning of that paragraph; right?

  25    A.   Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 173 of
                                      199                                  382
                                  Lynn Price - Cross

    1   Q.   So the information in that paragraph was information that

    2   Ms. Houston told you?

    3   A.   Yes.

    4   Q.   And you prescribed -- at some point you prescribed

    5   Ms. Houston Adderall; is that right?

    6   A.   Yes.    I think that's -- I'm not sure exactly when I started

    7   that, but that's been this year.

    8   Q.   And Adderall is a similar medication to Ritalin?

    9   A.   Yes.    It's a stimulant medication that we use for

  10    inattentiveness or concentration.        I started that -- actually,

  11    it was November of 2019 that we started her on that medication.

  12    Q.   And just for the record, is what you're referring to your

  13    notes of your treatment of Ms. Houston on the computer?

  14    A.   Yes.    I'm looking -- I've got the chart open on this

  15    computer to the side here.

  16    Q.   Thank you.    So am I correct that one would not prescribe a

  17    patient both Ritalin and Adderall; it would be one or the

  18    other?

  19    A.   Yeah.   They're too similar to be used concurrently.

  20    Q.   And you prescribed Ms. Houston the Adderall to treat a

  21    suspected TBI; right?

  22    A.   I used the Adderall to treat her inattentiveness.          The

  23    cause of the inattentiveness, again, is -- could be TBI, could

  24    be some underlying inattentiveness because of her depression,

  25    anxiety, PTSD.     Again, it's not -- it's not all that important
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 174 of
                                      199                                  383
                                  Lynn Price - Cross

    1   to me why she has the inattentiveness.        I mean, it is.     I

    2   don't -- it's so hard to -- I mean, I think that the

    3   possibility of TBI causing inattentiveness was why I chose this

    4   particular medication; but I may have tried it for other causes

    5   of inattentiveness equally.

    6   Q.   In this particular case, why you chose to prescribe that

    7   medication was because of a concern of a TBI; am I right?

    8   A.   I'm sorry.    I didn't catch what you said exactly.

    9   Q.   I want just to make sure I'm understanding.         In this case,

  10    why you chose to prescribe this medication was because of

  11    concerns of a TBI?

  12    A.   Potentially.    I used the medication to treat -- yes, I

  13    think it's reasonable to say that I used it for -- because of

  14    my belief that she has a TBI which is causing her

  15    inattentiveness.     But, again, if somebody is complaining about

  16    inattentiveness, regardless of having the TBI, even if she

  17    hadn't had a TBI, if this was a major symptom that she was

  18    having, I would have opted to try this medication anyway.

  19    Q.   And while we're discussing Ms. Houston's cognitive issues,

  20    inability to concentrate is one of her cognitive issues; is

  21    that right?

  22    A.   Yes.

  23    Q.   And those issues could have been caused by a TBI, or they

  24    could have been caused by something else; right?

  25    A.   Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 175 of
                                      199                                  384
                                  Lynn Price - Cross

    1   Q.   In fact, they might have been attributable to her PTSD?

    2   A.   Yes.

    3   Q.   Let's talk about chronic pain.       You see a lot of cases with

    4   chronic pain; right?

    5   A.   Yes.

    6   Q.   And just so we're clear on the terminology, when you say

    7   "chronic pain," that just refers to pain that is ongoing?

    8   A.   Yes.

    9   Q.   So is it fair to say that chronic pain is fairly common?

  10    A.   Yes.

  11    Q.   And contrasting that with something like complex regional

  12    pain syndrome, or CRPS -- CRPS is quite rare; is that right?

  13    A.   Yes.   I think in my career, I've seen two maybe three

  14    patients with CRPS; whereas, I see people with chronic pain if

  15    not on a daily basis, certainly on a weekly basis.

  16    Q.   And for chronic pain, there are a variety of options to

  17    treat that; right?

  18    A.   Yes.

  19    Q.   One option for treating chronic pain is physical therapy?

  20    A.   Yes.

  21    Q.   Another option is something like pool therapy?

  22    A.   Did you say cool therapy?

  23    Q.   Pool, P-O-O-L.

  24    A.   Yes.   That would be an option.

  25    Q.   Another option is acupuncture?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 176 of
                                      199                                  385
                                  Lynn Price - Cross

    1   A.   Yes.

    2   Q.   Generally, if someone has benefited from, let's say,

    3   physical therapy -- if someone has benefited from physical

    4   therapy in the past, it's probably worth them trying again;

    5   right?

    6   A.   Yes.   I mean, I think it's worth trying it more than one

    7   time.    Although, sometimes you see that somebody gets to a

    8   point where they've got to maximum benefit in some situations;

    9   but I think it's always worth trying it more than one time.

  10    Q.   And that would be generally particular courses of physical

  11    therapy for a specified amount of time; right?

  12    A.   So usually if I refer somebody to physical therapy, I leave

  13    it open as to how long they are going to have that course of

  14    physical therapy, based on what is happening on a week-to-week

  15    basis with the physical therapist.        Often we have a prescribed

  16    amount of time just to satisfy insurance requirements.

  17    Q.   But whatever the end date is, whether it's something you

  18    recommend or the physical therapist, with a course of physical

  19    therapy, there is an end date to it; correct?

  20    A.   Yeah, I believe so.

  21    Q.   A person could continue with these exercises or strategies

  22    they get from the physical therapist on their own

  23    independently; is that right?

  24    A.   Well, so physical therapy is more than just a course of

  25    exercises.    There is more that goes on in a physical therapy
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 177 of
                                      199                                  386
                                  Lynn Price - Cross

    1   visit than just teaching somebody exercises.         But, yes, I do

    2   encourage people to -- I think that's the benefit of a physical

    3   therapist over a chiropractor, is that they are taught to do

    4   exercises that they can continue at home.

    5   Q.   You mentioned the max benefit of physical therapy.          When

    6   someone reaches that maximum potential of the benefit they're

    7   going to get from physical therapy, is the idea, then, they

    8   would not continue to go to physical therapy?

    9   A.   Yes.   There comes a point where the physical therapist may

  10    say that -- I mean, usually, the initial physical with physical

  11    therapy, they set goals of what they want the patient to

  12    achieve.    And they may discontinue physical therapy to the

  13    point they have achieved those goals.        Or it may just be that

  14    they have been sent there for six weeks of physical therapy,

  15    and the six weeks has come to an end.

  16    Q.   When you recommend that a patient go to physical therapy,

  17    about how many times per week or per month do they go?

  18    A.   Sometimes -- sometimes I see people going twice a week;

  19    other times it's once a week; sometimes it can be a couple

  20    times a month.     That's something I think is negotiated between

  21    the patient and the physical therapist and, again, somewhat

  22    dictated by insurance coverage.

  23    Q.   You wouldn't expect that when you recommend physical

  24    therapy for a person, that they'll necessarily have that

  25    physical therapy for the rest of their life; right?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 178 of
                                      199                                  387
                                  Lynn Price - Cross

    1   A.   No.   I mean, in most instances you would not expect that.

    2   Q.   Let's talk about post-traumatic arthritis.         You see a lot

    3   of patients with general arthritis; is that right?

    4   A.   Yeah, osteoarthritis.

    5   Q.   And so post-traumatic arthritis is sort of a subset of

    6   arthritis that just has a specific cause; right?

    7   A.   Yeah.    It's a subset of arthritis caused by trauma --

    8   trauma to the bone.     It's very commonly seen.

    9   Q.   There are various treatments available for arthritis,

  10    including post-traumatic arthritis; is that right?

  11    A.   Yeah, there are some treatments available.

  12    Q.   And it would also include physical therapy?

  13    A.   Yeah.    It's one of the first things that I recommend to

  14    people with either osteoarthritis or post-traumatic arthritis.

  15    Q.   And you see some effectiveness in your patients in general

  16    with physical therapy for arthritis?

  17    A.   I mean, not every patient, by no means; but, yes, I do see

  18    benefit.     Although I wouldn't continue to prescribe that as a

  19    course of treatment.

  20    Q.   Let's talk about treatment for Ms. Houston in particular.

  21    You recently recommended that she undergo some additional

  22    physical therapy; is that right?

  23    A.   I probably did.    I don't recollect -- I'm sorry.        I'm

  24    distracted by the fact that you've all seized up for the last

  25    several minutes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 179 of
                                      199                                  388
                                  Lynn Price - Cross

    1   Q.   You're not able to see us?

    2   A.   Well, I can hear you perfectly well; but you've all just

    3   frozen.    But I don't know that that really matters.        I just

    4   can't see your mouth moving.

    5   Q.   I see you quite well.

    6   A.   Okay.   Well, that's okay, then.

    7   Q.   Please let me know if you can't hear me or understand what

    8   I'm asking.

    9   A.   Yeah.   Can you just repeat your last question?        I think you

  10    asked me if I prescribed physical therapy at her last visit; is

  11    that right?

  12    Q.   Yeah.   I asked if you recently referred Ms. Houston for

  13    physical therapy?

  14    A.   I think I -- well, she is getting physical therapy right

  15    now with Laurel and Tara; and I think that I recommended that

  16    at her last visit.     Actually, I didn't recommend it at her last

  17    visit, I commented at her last visit that she was -- seemed to

  18    be getting benefit from that.       And so it was probably the

  19    previous visit that I had recommended it.

  20    Q.   All right.    You've anticipated my next question, which was,

  21    you saw some improvement from that physical therapy; is that

  22    right?

  23    A.   Yes, she did.    I put in my note that she's finding it

  24    really helpful.

  25    Q.   So could Ms. Houston benefit from continued physical
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 180 of
                                      199                                  389
                                  Lynn Price - Cross

    1   therapy in the future?

    2   A.   Again, there may come a point where she's got to -- as much

    3   benefit as she's going to get; or she may get continued benefit

    4   by continuing to go.      It's difficult to predict.      But -- I

    5   mean, she might -- I mean, there is three possible scenarios:

    6   That she gets benefit from one course of treatment and doesn't

    7   get any further benefit; she could potentially get benefit from

    8   continuing to do that lifelong; or she might be somebody who

    9   would benefit from it and doing it intermittently, six weeks

  10    here, six weeks next year, you know, six weeks down the road.

  11    It's difficult to predict that.       But certainly when somebody

  12    has found benefit from physical therapy, and then that is

  13    interrupted because they feel at that time that they've got

  14    maximum benefit, doesn't preclude me from trying it again.

  15    Q.   Do you think Ms. Houston could benefit from something like

  16    pool therapy?

  17    A.   Potentially, yes.

  18    Q.   How about orthotic inserts for her shoes, could that

  19    benefit her?

  20    A.   I think she tried that.      I think she saw Dr. Terri Schmitt,

  21    the podiatrist, for this.      And I actually -- I don't know the

  22    outcome of that.     I don't know that she got benefit from that

  23    or not, whether -- whether she pursued it.

  24    Q.   Do you think she could benefit from trying it again?

  25    A.   Possibly.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 181 of
                                      199                                  390
                                  Lynn Price - Cross

    1   Q.   When we're talking about the benefits of these various

    2   things, would those be benefits for both her functioning and

    3   her pain?

    4   A.   Yes.    Because I -- she has had a foot drop, and an orthotic

    5   can help with function when there is a foot drop, as well as

    6   for the pain.

    7   Q.   I want to ask you in general, what, if any, value do you

    8   see in sort of continuity in medical care?

    9   A.   What benefit do I see in continuity of medical care?

  10    Continuing to come and see her regular doctors rather than

  11    going to see somebody completely different?

  12    Q.   Yeah.    What benefit is there to that?

  13    A.   So -- I mean, statistically, we know that there are

  14    benefits from the patient seeing -- following up with the same

  15    family practice doctor, likely because you are not trying to

  16    reinvent the wheel.     I mean, when you meet a new patient,

  17    you're not really sure exactly what is going on; and so

  18    probably at the first visit, they don't get necessarily the

  19    best care.     But as you get to know somebody, you understand

  20    what problems they have and what needs to be addressed.           And so

  21    I think continuity of care is very important.          I see that from

  22    a family practice standpoint.

  23                Having said that, sometimes there is benefit from

  24    having a fresh pair of eyes taking a look to make sure that

  25    you're not missing anything, because it's easy to -- to think
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 182 of
                                      199                                  391
                                  Lynn Price - Cross

    1   that you have the diagnosis and you're -- once you're sure of

    2   your diagnoses, you're less likely to entertain new ones.           So I

    3   think there is benefit in both respects; but I think

    4   statistically you'll find that there is -- it has been shown

    5   that there is better care with continuity.

    6   Q.    Now, as a general matter in your treatment of Ms. Houston,

    7   have you found her able to ask informed questions about her

    8   medical care?

    9   A.    Yes.

  10    Q.    And she's able to keep track of her own medications?

  11    A.    Yes.

  12    Q.    And she's able to keep track of her own medical

  13    appointments?

  14    A.    Yes.

  15                 MS. BOBET:   I'd like to refer to Exhibit 55,

  16    page Primary Care Partners 123.

  17                 It will come up shortly.

  18    BY MS. BOBET:

  19    Q.    What is this?

  20    A.    That's a good question.     This looks like -- so I think this

  21    is a portal message.       It's basically a secure email that the

  22    patient has sent me.       I don't see -- I don't see my response to

  23    it.

  24    Q.    So it's a message from Ms. Houston to your office that is

  25    sent electronically?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 183 of
                                      199                                  392
                                  Lynn Price - Cross

    1   A.   Yes.

    2   Q.   And she sent quite a few of these over the course of her

    3   treatment with you; right?

    4   A.   Yes.    I'm just looking in my chart, because I can see them

    5   more easily on the electronic record, I think.          March --

    6   3/19/19.

    7               Just indulge me for a moment.

    8   Q.   Sure.

    9   A.   I don't -- that's not actually helping me.         Sorry.

  10    Q.   We can just stick with this page that's up.

  11    A.   Yeah.    Okay.   Because I can't see a corresponding message

  12    in the chart.

  13    Q.   I'll just ask you about this document that is up right now.

  14    I'll direct your attention to that?

  15    A.   Yeah.

  16    Q.   The types of questions that she's asking here -- looks like

  17    in that first paragraph, she says, "I need to have a telephonic

  18    consult on pain management.       I called with this request last

  19    week but did not hear from you."       Did I read that right?

  20    A.   Yes.

  21    Q.   Those types of questions about her ongoing care and

  22    following up with your office, is that pretty typical of her

  23    interactions with you?

  24    A.   Yes.    I get -- we get quite a bit of portal messaging from

  25    Tracy.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 184 of
                                      199                                  393
                                  Lynn Price - Cross

    1                MS. BOBET:   Let's go to page 189 in that same exhibit.

    2                Bear with us one moment.    All right.    This one here.

    3   BY MS. BOBET:

    4   Q.    Is this another portal message from Ms. Houston to your

    5   office?

    6   A.    Yeah, I believe so.

    7   Q.    I think you discussed this with Mr. Shapiro yesterday, but

    8   this -- a request from her for a note excusing her from jury

    9   service; is that right?

  10    A.    Yes.

  11    Q.    If you look down at the sent message on August 16, 2019,

  12    5:29:17, that paragraph reads, "I need a written note from you

  13    that I am unfit for jury service."        Is that right?

  14    A.    Yes.

  15    Q.    And that's an excuse from federal jury service.        I don't

  16    know if you know that, but is that -- do you have an

  17    understanding on that?

  18    A.    Not really.   It was just jury service, whatever that might

  19    be.

  20    Q.    Do you see towards the last paragraph, before where it

  21    says, "Thank you, Tracy," there is an email address listed

  22    there that you can email the excusal to.         Do you see that?

  23    A.    Yes.

  24    Q.    That address is @cod.uscourts.gov?

  25    A.    Yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 185 of
                                     199                                   394
                                Lynn Price - Redirect

    1   Q.   After you received this message, your office did provide

    2   the note excusing her from jury duty?

    3   A.   Yes.

    4               MS. BOBET:   Just give me one moment.      I want to check

    5   that I asked you everything I need to, here.         One second

    6   please.

    7               All right.   Those are the questions I had for you,

    8   Mr. Shapiro may have some additional questions.          Thank you very

    9   much for your time, Dr. Price.

  10                THE WITNESS:    You're welcome.

  11                THE COURT:   You're not on.

  12                THE WITNESS:    I don't have any pictures or anything

  13    right now.    I can hear everybody, but I can't see anybody.

  14                               REDIRECT EXAMINATION

  15    BY MR. SHAPIRO:

  16    Q.   Can you hear me?

  17    A.   Yes, I can.

  18    Q.   Okay.   I want to talk about prazosin.       Is that how you say

  19    that?

  20    A.   Yes.

  21    Q.   Doctor, are you familiar with the research articles about

  22    that PTSD drug causing more harm than good?

  23                MS. BOBET:   Objection.   Foundation.

  24                THE COURT:   Overruled.

  25                THE WITNESS:    No.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 186 of
                                     199                                   395
                                Lynn Price - Redirect

    1   BY MR. SHAPIRO:

    2   Q.    Are you familiar with the research that points out that it

    3   doesn't help the nightmares and insomnia and in fact increases

    4   that -- the insomnia and nightmares?

    5              MS. BOBET:   Objection.    Foundation.    It's talking

    6   about evidence -- something not in evidence.

    7              THE COURT:   He's just asking if she's familiar with

    8   it.    That's -- I need a foundation; that's what he's doing.

    9   The objection is overruled.

  10               Go ahead, please.

  11               THE WITNESS:    I've -- the research I did on prazosin

  12    is a few years old, and at that time it was recommending that

  13    this be used.     If there is anything newer, then I'm not aware

  14    of it.

  15    BY MR. SHAPIRO:

  16    Q.    Do you respect a patient like Ms. Houston who does her

  17    research before accepting a prescription?

  18    A.    Absolutely.   I think it's very important for patients to be

  19    informed about their diseases and medications and how they

  20    might affect them.      I applaud it.

  21    Q.    And if there is research that supports that, and she

  22    decided against using this because of that, do you fault her

  23    for that?

  24    A.    Absolutely not.   And because I can't do research -- because

  25    I take care of so many patients, there is -- you know, you're
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 187 of
                                     199                                   396
                                Lynn Price - Redirect

    1   mentioning some recent research that shows that these

    2   medications might not work.       I might not be privy to the most

    3   recent research because I'm not a specialist in this issue.

    4   And patients are, you know -- they're doing research, they're

    5   looking at things that are perhaps more up to date than me.            So

    6   it wouldn't be the first time that somebody has come to me with

    7   suggestions of how to take care of their problem.

    8               I think you asked me -- what did you ask me again?

    9   Q.   I've forgotten by now, Doc.      Sorry.

  10    A.   I think you asked me whether I think it's unreasonable for

  11    her to discontinue the medication if her research found that

  12    there was problems with the medication.         And in that case,

  13    certainly no, I wouldn't.

  14    Q.   Okay.    I understand that there are numerous choices for

  15    depression or PTSD, such as -- I want to ask you a question --

  16    is Zoloft a reasonable choice?

  17    A.   Yes.    It's a good SSRI.    I use it quite frequently.

  18    Q.   How about Paxil?

  19    A.   It's another reasonable choice.       I rarely use it because

  20    it's difficult for patients to get off it.         It's not something

  21    I generally prescribe, unless somebody comes to me already on

  22    that medication and it's already working.

  23    Q.   How about Prozac?

  24    A.   I use Prozac a lot.

  25    Q.   How about Effexor?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 188 of
                                     199                                   397
                                Lynn Price - Redirect

    1   A.   Again, Effexor is one of the ones that I try to avoid using

    2   because it's difficult to discontinue.        But I have prescribed

    3   it in multiple occasions with patients.         It's just not my first

    4   line.

    5   Q.   I notice in your record from November 8, 2017, that you

    6   also were trying Lexapro with Ms. Houston, or giving her an

    7   opportunity to try that.      What is Lexapro, and what were you

    8   thinking?

    9   A.   Lexapro is another SSRI.      It's one -- I don't use Lexapro

  10    as commonly as citalopram, but they are very similar

  11    medications.    Citalopram is one I use very commonly.         It's

  12    almost my first-line antidepressant.        It is an SSRI.     Lexapro

  13    is a very close cousin.

  14    Q.   Okay.   But you chose Cymbalta for her, that she try.         Why?

  15    What was the reasoning with that one, as opposed to all of the

  16    others?

  17    A.   Cymbalta was my choice because it -- in addition to being a

  18    good medication for depression, it's also a good medication for

  19    pain management; and I was trying to kill two birds with one

  20    stone.

  21    Q.   If you were going to choose another antidepressant to

  22    assist her with her PTSD or depression and anxiety, what would

  23    be your next line of attack?

  24    A.   Well, I would consider some of the ones you've suggested.

  25    Sertraline, Lexapro, citalopram would all be good options.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 189 of
                                     199                                   398
                                Lynn Price - Redirect

    1   There is also some evidence for use of the mood stabilizers,

    2   which are the atypical antipsychotics, things like Seroquel,

    3   Zyprexa.

    4   Q.   Which of those would have the least impact on potential

    5   seizure activity?

    6   A.   I'm sorry.    I didn't catch what you said.

    7   Q.   Which of those would be least likely to trigger any seizure

    8   activity in a patient like Ms. Houston?

    9   A.   I mean, I think that they all have that potential, or the

  10    potential is relatively small.        The fact that she has had a

  11    seizure or seizure-like activity after starting the Cymbalta

  12    makes me a little gun shy.        So I would be careful, but -- it's

  13    difficult to pick out any one that would be less likely.

  14    Q.   Okay.   Can you pull up your record from February 1, 2017,

  15    from your office?

  16               And Ms. Bobet, it is Primary Care Partners 002.

  17    A.   February 1 of what year?

  18    Q.   2017.

  19               MS. BOBET:   I don't see that page in the exhibit.

  20               MR. SHAPIRO:    It's not in your exhibit, but it's

  21    Primary Care Partners 002.        And her appointment -- not her

  22    appointment, but Dr. Klemmetsen from that date.

  23               MS. BOBET:   Are you able to share that on the screen

  24    so that we can see what the witness is looking at, please?

  25               MR. SHAPIRO:    Yes.    Sure can.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 190 of
                                     199                                   399
                                Lynn Price - Redirect

    1               THE WITNESS:   I don't see -- February 1, 2017?

    2               MR. SHAPIRO:   Yes, ma'am.

    3               We'll pop it up, but then can you see it?       You won't

    4   be able to see it.

    5               THE WITNESS:   Yeah, this is not -- I don't think there

    6   is an office visit.     There is a notation of test results.

    7   BY MR. SHAPIRO:

    8   Q.   That is correct.      That is it.   And I'm going to ask you

    9   about that task created.       Do you see that?

  10                We have it on the screen.

  11    A.   Okay.

  12    Q.   Can you see --

  13    A.   I've got the same thing.      It's -- there is a task has been

  14    created.

  15    Q.   Okay.

  16    A.   Yeah.

  17    Q.   This appointment date or task note occurred less than two

  18    months post-crash; fair?

  19    A.   Yes.    Because the crash was December 2016; right?

  20    Q.   Correct.    December 1.

  21    A.   Yeah.

  22    Q.   Okay.    And Ms. Waller just highlighted a section.        Can you

  23    read that?

  24    A.   Yes.    "Shelly from Home Care of the Grand Valley called

  25    stating patient is having a hard time mentally since the
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 191 of
                                     199                                   400
                                Lynn Price - Redirect

    1   accident."

    2   Q.   And what is -- sorry.     What is HCGV?

    3   A.   That's Home Care of the Grand Valley.        It would have been

    4   her home care agency that was taking care of her home health

    5   when she came home from the hospital.

    6   Q.   So it appears that Ms. Houston was complaining of mental

    7   issues within a couple of months of the crash?

    8   A.   Yes.

    9               MR. SHAPIRO:   Okay.   We can take that down,

  10    Ms. Waller.

  11    BY MR. SHAPIRO:

  12    Q.   So one of the notes that I wanted to go over with you that

  13    Ms. Bobet raised was the visit from November 8, 2017, Primary

  14    Care Part 016.

  15    A.   That's my first visit with her, November 8, 2017?

  16    Q.   Correct -- no, that actually is not the one.         I wanted to

  17    go to -- pardon me -- page 214, which is your visit of

  18    February 20.

  19    A.   Yes.   I've got that up here.

  20    Q.   Got that?

  21    A.   Yes.

  22    Q.   So at that point in time, were there a number of things

  23    going on?    And what I mean -- let me ask it more specifically.

  24    Was she feeling the positive effects of the sympathetic nerve

  25    blocks at that time?
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 192 of
                                     199                                   401
                                Lynn Price - Redirect

    1               MS. BOBET:   Objection.   Foundation.    Mischaracterizing

    2   the evidence.

    3               THE COURT:   Why -- why does it misinterpret the

    4   evidence?

    5               MS. BOBET:   Well, it assumes the fact that she was

    6   feeling the effect of the sympathetic block, and I don't know

    7   that there is a foundation for Dr. Price to speak to that.

    8               THE COURT:   Overruled.

    9               THE WITNESS:    I'm not sure -- did I refer to the

  10    sympathetic -- I don't know at what point she had -- what was

  11    the date of the sympathetic nerve block, and I don't think --

  12    let me read this.

  13                She had shots by Dr. Lewis at this point.       She is

  14    getting benefit, so it's difficult to know whether it's the

  15    shots, whether it's the physical therapy, whether it's the

  16    Cymbalta, several things that have -- that she's gone through

  17    at that point that could have contributed to her improved sense

  18    of self.

  19    BY MR. SHAPIRO:

  20    Q.   It was a really good visit, wasn't it?        This was the most

  21    optimistic I think I've seen one of your notes in all your

  22    treatment.

  23    A.   Yes.    I -- it was.    It's the point at which I really felt

  24    that we could -- had the potential to make some improvements in

  25    her life with treatment options.       So, yeah, this was the first
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 193 of
                                     199                                   402
                                Lynn Price - Redirect

    1   visit where -- it was the first time I have seen her really

    2   smile and seemed quite positive and energized.

    3   Q.   Then we know -- and I want to go through the emergency room

    4   visit with the Cymbalta.      We have marked that as Exhibit 82.

    5              And Ms. Waller, I would ask that you bring up SMMC

    6   20004.

    7              MS. BOBET:    I don't see an Exhibit 82.

    8              MR. SHAPIRO:    What was that, Ms. Bobet?

    9              MS. BOBET:    I don't see an Exhibit 82.      I think ours

  10    ended --

  11               MR. SHAPIRO:    We added it to utilize the records from

  12    the St. Mary's Hospital emergency department.          So it is the

  13    St. Mary's Hospital emergency department record of 2/24/20.

  14               MS. BOBET:    This is the first we're hearing of a new

  15    exhibit.

  16               MR. SHAPIRO:    Yes, but you certainly have had the

  17    records for some time.      And in your direct examination, you

  18    were raising the issue about dehydration as being a cause of

  19    this syncope or seizure episode.

  20               Here we go.

  21               THE WITNESS:    I can't see it on the screen, but I

  22    actually do have it in my -- I've got it pulled up from my

  23    office -- my office --

  24               MR. SHAPIRO:    We'll try one more time, and other than

  25    that, we'll just utilize your record for my one question.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 194 of
                                     199                                   403
                                Lynn Price - Redirect

    1               MS. BOBET:   Your Honor, we don't have a copy of this

    2   in front of us.     I take Mr. Shapiro at his word that it has

    3   been disclosed to us.      So without being able to see it, you

    4   know, we would have an objection.

    5               MR. SHAPIRO:   There it is.

    6               Can you go to SMMC 20004, please.

    7               Is that it, Ms. Waller?    Scroll down to the bottom.

    8   Right there.     Thank you.

    9               Can you highlight that "patient presents" paragraph,

  10    please.

  11    BY MR. SHAPIRO:

  12    Q.   The point I wanted -- the question I wanted to ask, did it

  13    appear that the emergency room physicians indicated, "she does

  14    not appear dehydrated"?

  15    A.   I see that.    You asked me a question?

  16    Q.   Yes.    Is that what their impression was?

  17    A.   Yes.    Yes.

  18    Q.   Thank you.

  19    A.   So when she presented at the emergency room, she did not

  20    appear dehydrated, per this report.

  21    Q.   Now let's go to Dr. Burnbaum's note --

  22                Which we've marked that as Exhibit 81, Ms. Bobet; so I

  23    think you have that.

  24                MS. BOBET:   We do not have it.     Can we wait until it's

  25    up so --
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 195 of
                                     199                                   404
                                Lynn Price - Redirect

    1               MR. SHAPIRO:   Yes, we're going to pull it up.

    2   WCN 002.

    3               THE WITNESS:   That's the 3rd of April, right?       Yes.

    4               MR. SHAPIRO:   That is 3rd of April.     Correct.

    5               If you could scroll down to the assessment and plan on

    6   WCN 002.

    7               MS. BOBET:   Your Honor, before Mr. Shapiro questions

    8   the witness further on this, could we have a bit of voir dire

    9   about her -- to lay foundation of her knowledge of these

  10    records.

  11                MR. SHAPIRO:   Certainly.    I'm happy to, Your Honor.

  12                THE COURT:   Go ahead.

  13    BY MR. SHAPIRO:

  14    Q.   Doctor, did you receive copies of these from the hospital

  15    and from Dr. Burnbaum, and are they in your file and have been

  16    in your file?

  17    A.   Yes.   Both of the things that you just referred to, this

  18    neurology consult and the ER report, are things that I have at

  19    some point reviewed and are in the electronic medical record.

  20    Q.   And that would be done in the ordinary course of your

  21    practice, that if one of your patients goes to the emergency

  22    room or sees a specialist, that you would receive copies of

  23    those records?

  24    A.   We endeavor to always get them in.       They don't always get

  25    in; but, yes.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 196 of
                                     199                                   405
                                Lynn Price - Redirect

    1   Q.   Thank you.    In this situation, you did get them; right?

    2   A.   Yeah.   Both of them, yes.

    3               MR. SHAPIRO:   All right.    Ms. Waller, can you just

    4   highlight that first sentence under plan.

    5   BY MR. SHAPIRO:

    6   Q.   Doctor, when you received this assessment plan from

    7   Dr. Burnbaum about the syncope or seizure episode and you saw

    8   what he said in this paragraph, particularly the first

    9   sentence, what was your understanding or belief as to what

  10    likely occurred?

  11    A.   Well, my impression was that -- I mean, he's put here that

  12    it's very possibly due to the Cymbalta.         So, certainly, that

  13    was my concern.     He also refers to missed sleep; and we know

  14    that poor sleep, again, is a factor in having seizures.           In

  15    fact, if you send somebody for a seizure study, an EEG, you

  16    usually deliberately sleep deprive them ahead of time so that

  17    you can try and get a positive result.

  18    Q.   Did you have that concern about the Cymbalta after seeing

  19    the emergency room records and seeing Dr. Burnbaum's assessment

  20    evaluation?

  21    A.   Yes.

  22    Q.   Do you still have concerns about an antidepressant because

  23    of that?

  24    A.   Yes, I do.    I mean, it doesn't mean that I would not think

  25    it worth trying something else; but that would be my concern,
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 197 of
                                      199                                  406
                                 Lynn Price - Recross

    1   is that she have another seizure.        And if she declined to try

    2   another antidepressant, I could not fault her for that.

    3   Q.   Doctor, I have one last question.       Is Ms. Houston's case

    4   complex?

    5   A.   Absolutely.

    6              MR. SHAPIRO:    Thank you very much, Doctor.      Have a

    7   good day.

    8              THE WITNESS:    Thank you.

    9              MS. BOBET:   Your Honor, could I -- my apologies.        I

  10    was going to ask one question of recross, if Your Honor will

  11    permit me.

  12               THE COURT:   All right.    Go ahead.

  13               MS. BOBET:   Ms. Waller, can you leave that document

  14    up, actually?     We don't have it in our exhibit binder.

  15                              RECROSS-EXAMINATION

  16    BY MS. BOBET:

  17    Q.   I just want to make clear, we heard the word "seizure":

  18    But in the first line in this record, Dr. Price, Dr. Burnbaum

  19    refers to what happened as a syncopal episode; is that correct?

  20    A.   It's -- is that the word -- "very likely had a syncopal

  21    convulsion."

  22    Q.   The part that Ms. Waller has highlighted up on the screen

  23    right now.

  24    A.   I can't see anything on the screen.        I have to look on my

  25    record.
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 198 of
                                     199                                   407


    1   Q.   Okay.

    2   A.   The chief complaint it says, "Tracy Houston is in to see me

    3   today for a syncopal episode and concussion."

    4              MS. BOBET:   Thank you very much.      That was my only

    5   question.

    6              THE COURT:   Dr. Price, this is the judge talking to

    7   you.   I want to thank you very much.       I think you've gone above

    8   and beyond the call of duty to reschedule your day in order to

    9   complete this examination, and we are all grateful for your

  10    contribution and know it was a sacrifice.         Thank you for that.

  11               We will be in recess until 9:00 a.m. tomorrow morning.

  12               MR. SHAPIRO:    Judge --

  13               THE COURT:   Yes.

  14               MR. SHAPIRO:    -- we have the ability to put

  15    Dr. Gustavson back on if the Court would like that.

  16               THE COURT:   How long -- for what period of time?

  17               MR. SHAPIRO:    I don't know.

  18               Ms. Bobet, what do you think?

  19               MS. BOBET:   I think we probably have another 20 to

  20    30 minutes with Dr. Gustavson.

  21               THE COURT:   We don't have that time.       We'll be in

  22    recess.

  23               MR. SHAPIRO:    Thank you.

  24               (Recess at 4:40 p.m.)

  25
Case No. 1:18-cv-02914-JLK-MEH Document 75 filed 10/07/20 USDC Colorado pg 199 of
                                     199                                   408


    1                                  I N D E X

    2   Item                                                                Page

    3        KENNETH LEWIS
                  Direct Examination By Mr. Shapiro                         212
    4             Cross-examination By Mr. Scarpato                         263
                  Redirect Examination By Mr. Shapiro                       288
    5        DAVID LESTER
                  Cross-examination By Ms. Bobet                            298
    6             Redirect Examination By Mr. Ogborn                        302
             JOHN GUSTAVSON
    7             Direct Examination By Mr. Shapiro                         304
                  Cross-examination By Ms. Bobet                            351
    8        LYNN PRICE
                  Cross-Examination Continued By Ms. Bobet                  372
    9             Redirect Examination By Mr. Shapiro
                  Recross-examination By Ms. Bobet                          407
  10

  11

  12                            REPORTER'S CERTIFICATE

  13             I certify that the foregoing is a correct transcript
        from the record of proceedings in the above-entitled matter.
  14
                   Dated at Denver, Colorado, this 29th day of September,
  15    2020.

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                                             ______________________________
  20                                         Therese Lindblom,CSR,RMR,CRR

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